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         EXPERT REPORT OF ROB WALLACE IN THE MATTER OF
          THRIVE NATURAL CARE, INC. V. LE-VEL BRANDS, LLC

  I.    Introduction
        1.     I was engaged by The McArthur Law Firm, P.C. of Beverly Hills, CA
  to provide my expert opinion in the matter of Thrive Natural Care, Inc. (“the
  Plaintiff”) versus Le-Vel Brands, LLC., (“the Defendant”). More specifically, I
  was asked to conduct an empirical study designed to examine whether or not
  consumers, or potential consumers of skin care products who purchase such items
  on the Internet would be confused between “Thrive” branded skin care products
  manufactured by the Plaintiff and “Thrive Skin” branded skin care products
  manufactured by the Defendant. The Plaintiff’s and Defendant’s products are
  hereafter referred to as “the products in question.”
        2.     The survey methodology involved the use of a “test” versus “control”
  experimental design where the products of two companies other than the Plaintiff’s
  or Defendant’s products served as controls. The use of two different control
  products (i.e., Wldkat and Ursa Major) served to extend the generalizability of the
  findings. That is, examining the degree to which two different “control” skin care
  products are confused with the Plaintiff’s products allows stronger validity and
  reliability in the test method. This is because the degree to which two non-
  infringing brands are confused with the Plaintiff’s “Thrive” products can be
  compared to the degree to which the Defendant’s “Thrive Skin” products are
  confused with the Plaintiff’s products to derive a measure of the relative degree of
  confusion between the two brands.
        3.     The results of this survey are outlined in Appendix 1 of this report and
  attached as separate documents to this report. The findings of the study show a
  degree of average net confusion of 55.6% between the Plaintiff’s “Thrive”

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  products and the Defendant’s “Thrive Skin” products, after being corrected for the
  average level of confusion observed between the Plaintiff’s products and the two
  control brands.
         4.    I was also asked to provide my expert opinions from a branding
  industry perspective on the issues in this matter, specifically if the Plaintiff followed
  all branding industry practices in properly marketing and promoting its Thrive®
  brand and if the Defendant properly promoted and proliferated its products in
  question.
         5.    My opinions consider the information provided to me, the survey
  findings, and my over 35 years of brand identity and brand valuation experience for
  a large number of consumer brands.
         6.    This report constitutes my findings after review of the materials
  provided to me. I reserve the right to supplement my opinions based any additional
  information that would affect the outcome of my work or provide greater insight
  into the matters examined.


  II.    Summary of Opinion
         7.    Based on my thorough study of the matter, including the results of a
  court-compliant survey, it is my conclusion that there is significant actual confusion
  by consumers confusing the Plaintiff’s well-established “Thrive” brand with the
  Defendant’s “Thrive Skin” brand.


  III.   Summary of Qualifications
         8.    I was the Managing Partner for more than 30 years of one of the
  branding industry’s most respected brand identity strategy and design firms,
  Wallace Church & Co., where I had specific and significant experience with the

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  skin care market. I am currently the Managing Partner of Best of Breed Branding
  Consortium, an omni-channel branding consultancy that also focuses on all the
  branding issues involved in this case.
        9.     Based on this experience, I have highly specialized knowledge of how
  marketers create and establish brands, how consumers interpret brand messaging,
  how they develop awareness and perceptions of brands and all the other
  marketing/branding issues in this case.
        10.    As outlined in my Curriculum Vitae, in Appendix 3 of this report, I
  have been actively involved in hundreds of brand naming, brand identity, brand
  messaging, product design, package design and web development assignments for
  dozens of leading consumer product and service companies. For example, my firm
  and I have developing brand messaging for such companies as Coca-Cola, Procter
  & Gamble, PepsiCo, Pfizer, Nestle, Johnson & Johnson, PNC Bank, Target and
  more than 100 additional national and global brand owners.
        11.    Of specific relevance to the products in question, I have also been
  involved in consulting with numerous skin care and personal care brands such as
  L’Oréal, Revlon, Dove, Jergens, and several other skin care companies of equal
  caliber. In these assignments my team and I created the brand identities in the for of
  their graphic package design. We also provided strategic direction on their brand
  messaging that was then used to integrate advertising, social media, promotion and
  all other brand messaging.
        12.    As part of these assignments, I participated in developing, fielding
  and/or analyzing well over one thousand consumer surveys and research projects.
  As a result, I have unique knowledge of how brand identity, package design and
  brand messaging affect consumer perceptions, how they shape consumer
  relationships with brands and how they drive consumer purchasing.

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        13.    I served on the Board of Directors of The Design Management
  Institute, the largest global organization in the brand design and strategy industry,
  for 10 years. There I founded and co-chaired the Design Value Project, which
  focused on determining the return on investment of brand messaging and brand
  identity. As such I have been referred to as “the thought leader in quantifying brand
  design’s value.” I have delivered keynote presentations on this topic at more than
  50 branding industry symposia across the US, Canada, Europe, Latin America and
  Asia. I have lectured at the graduate level of The Columbia School of Business, The
  SVA Masters in Branding Program, Georgetown University, University of Texas,
  Seton Hall and other educational institutions. My full Curriculum Vitae is attached
  in Appendix 3 of this report.


  IV.    Investigation Performed
        14.    I have received and reviewed the documents outlined in Appendix 1 of
  this report. I also designed, oversaw the implementation and analyzed the results of
  a consumer survey outlined in Appendix 2 of this report.


  V.     Compensation
        15.    I am being compensated in connection with my engagement in this
  proceeding at the rate of $400 per hour for report writing and $500 per hour for
  deposition and trial testimony. I have received no additional compensation for my
  work in this proceeding. My compensation is in no way dependent upon the
  outcome of this proceeding.


  VI.    Previous Testimony and Expert Opinons
        16.    My testimony and opinions have been accepted by and admitted in

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  proceedings both before the U.S. District Courts and also the USPTO Trademark
  Trial and Appeal Board (also known as the “TTAB”). I have served as an expert
  witness on more than 60 cases concerning intellectual property infringement,
  trademark and trade dress infringement, marketing research, false or deceptive
  advertising and brand messaging, and other marketing/branding industry issues. In
  such capacity I have designed and conducted court-compliant surveys for many of
  these cases. I have been deposed and/or testified in court as an expert witness more
  than 30 times. My substantial experience in branding, marketing and survey
  development provides me with the background necessary to prepare and analyze the
  survey described in this declaration. A listing of my recent legal expert witness
  cases is attached as Appendix 4 of this report.


  VII.   Summary of the Case
         A.    The Plaintiff filed for and received registration of its THRIVE
               trademark years before the Defendant’s infringing products were
               launched.
         17.   I understand Plaintiff created its Thrive brand of skin care products in
  or about 2012-2013, applied for federal trademark protection of the term
  “THRIVE” on September 11, 2012, and in January of 2014 the first of two federal
  trademarks was registered under U.S. Trademark Reg. No. 4,467,942 for THRIVE
  in International Class 003 for “Non-medicated skin care preparations, namely,
  facial lotions, cleansers and creams, creams and oils for cosmetic use, skin
  moisturizers; pre-shaving preparations; after shave lotions and creams.”
         18.   In September of 2020, the Plaintiff received an additional registration,
  U.S. Trademark Reg. No. 6,164,303 for the additional products of “Body and non-
  medicated soaps and skin cleansing gels; cosmetic sun care preparations and
  sunscreens; shaving creams and gels; pre-shaving preparations; after shave lotions

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  and creams.” The Plaintiff has also applied for a third trademark application, U.S.
  Serial No. 90/198,496, to officially register other skincare products that it already
  sells or which are within the natural zone of expansion of its current registered and
  common law trademark rights.
        19.    To my knowledge the Defendant began using the term “Thrive Skin”
  for the products in question in or about April of 2019, a full five years after the
  Plaintiff had registered the first of their trademarks.
        20.    In my view the Defendant’s products in question are targeted to the
  same relevant consumer and directly compete in the same class of trade with the
  Plaintiff’s products. The products are identical in nature. The Plaintiff sells face
  wash, body scrub, face lotion, body soap, and moisturizer under its “Thrive” brand.
  The Defendant sells the exact same types of products under its “Thrive Skin” brand.
  I note that both parties market their skincare products as containing functional plant
  derivatives, with the Plaintiff’s packaging referring to “powerful plants” and the
  Defendant’s packaging referring to the product being “[e]nriched with CBD Oil.”
  The parties both advertise on-line and on the same social media sites such as
  Instagram. They both sell through their online stores, their websites appear near
  each in Google search results, and their products can be found together on eBay.
  Based on these facts, it is my opinion that these products provide the same
  consumer benefit, they are positioned to and targeted at the same consumer, and
  they directly compete with one another for sales and recognition.


        B.     The Plaintiff followed branding industry accepted practices in
               establishing and building the recognition of its Thrive® brand.
        21.    Based on my analysis of the Plaintiff’s branding practices as outlined
  in the documents reviewed, I find that the Plaintiff has adhered to industry-accepted
  practices in establishing, promoting and protecting their Thrive® brand.
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        22.    Since the time of its creation, the Plaintiff has used its “Thrive”
  trademark consistently in all of its brand communications including on product
  packaging, promotional material and on the Plaintiff’s website. The brand name
  has never varied from its trademarked term. The Plaintiff has invested a substantial
  amount of money, time and resources into promoting its Thrive® brand. The
  Plaintiff has communicated its unique brand via marketing agencies, public
  relations firms, social media such as Instagram and Facebook, and through the
  company’s website blog and online articles. As outlined in the complaint, the brand
  has been promoted through numerous media channels. As a result of these efforts,
  the Plaintiff has secured partnerships with retailers such as Amazon, Whole Foods
  and others to sell their products. It currently generates approximately $1 million in
  annual sales, despite being a small company with few employees. Based on my
  expertise in the skin care category, all of these accomplishments prove the success
  of the Plaintiff’s brand.


  VIII. Survey Design
        23.    In order to form and substantiate an opinion on the likelihood that the
  relevant consuming public might confuse the products in question, I conducted a
  court-compliant survey. The design and results of the survey conducted for this
  report are discussed in detail in the following pages. Please see the full survey and
  its tabulated results and raw data in Appendix 1 and the additional documents filed
  with this report. The survey was conducted between February 8 and 20, 2021.
        24.    The empirical study was designed to measure confusion between the
  Plaintiff’s Thrive products and the Defendant’s Thrive Skin products, inclusive of
  source and association or connection. Overall confusion was measured by adding
  these two empirical estimates together while subtracting the average of two controls

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  that examined confusion between the Plaintiff’s products and products (controls)
  that were not the focus of this dispute. The approach required two separate events to
  occur before a given individual could be classified as confused. First, the individual
  respondent had to indicate that either they believed that (1) the products came from
  the same manufacturer; or respectively that (2) they came from two different
  manufacturers who had some association or connection with one another.
          25.      I designed the survey screener and questionnaire. The survey was
  conducted under my direction in accordance with the principles and standards
  delineated in the Manual for Complex Litigation, Fourth Edition, 2004, prepared for
  the Federal Judicial Center. These principles provide the best assurance that the
  data collected is valid and can be relied upon to draw conclusions regarding
  consumer opinions. These principles provide that:

                a) The proper universe(s) should be properly chosen and defined;
                b) The sample of respondents chosen from the proper universe should be
                   representative of that population;
                c) The questions asked should be clear and not leading;
                d) The data gathered should be accurately reported;
                e) The data should be analyzed in accordance with accepted statistical
                   principles;
                f) The surveys should be conducted by qualified persons following
                   proper interview procedures;
                g) The surveys should be conducted in anticipation of litigation and by
                   persons not connected with the parties or counsel or by persons aware
                   of its purpose in the litigation.1

          26.      The survey is based on the “Squirt methodology”2 found acceptable by

  1
   Reference Manual on Scientific Evidence, Third Edition West Group, St. Paul,
  MN, 2011
  2
      Squirtco v. Seven-Up Co., 628 F.2d 1086 (8th Cir. 1980).

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  the Ninth Circuit and designed to conform to the survey design preference of the
  Patent and Trademark Office Trademark Trial and Appeal Board. This survey
  format seeks to “replicate the consumer experience.” It allows the consumer to see
  examples of both products in question concurrently – among a line-up of additional
  control products – as if these consumers were able to engage both products in
  question during the same purchase experience, which is the case here. In this case,
  both the Plaintiff and Defendant sell the products directly to consumers on their
  websites: https://thrivecare.co/products/restoring-face-balm-for-sensitive-skin and
  https://le-vel.com/Products/THRIVE/Skin.
        27.    If a consumer shopping for skin care products online had two web
  browser tabs open, which is a common experience, they could engage both products
  in question adjacent to one another, which qualifies this case to use the Squirt
  methodology.
        28.    The sample selection, questions, questionnaire design, and
  interviewing procedures employed in the surveys are designed in accordance with
  the generally accepted standards and procedures to meet the criteria for survey
  trustworthiness detailed in the Manual for Complex Litigation. This includes the
  choice of close-ended answers in the screener so as not to bias the respondent or
  make them aware of the screener criteria.
        29.    This test includes primary and control questions where the infringing
  material is eliminated so as to determine the level of confusion specifically caused
  by the infringing brand name and to extract any predetermined perceptions, or what
  the survey industry refers to as “survey noise.” As mentioned, all respondents saw
  the products in question in a lineup of four products including two control products,
  which are manufactured and sold by unrelated third parties. All four product, the
  products in question and the two control products, were then analyzed in

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comparison to one another. All stimuli was randomized to prevent order bias.
      A.     Proper Qualifying Universe
      30.    Addressing operational issues, the Reference Manual on Scientific
Evidence, Third Edition West Group, St. Paul, MN, 2011 (“Reference Manual”),
prepared for the Federal Judicial Center, states on page 376, “One of the first steps
in designing a survey or in deciding whether an existing survey is relevant is to
identify the target population (or universe). The target population consists of all
elements (i.e., objects, individuals, or other social units) whose characteristics or
perceptions the survey is intended to represent.”3
      31.    Given the products at issue, I determined that the appropriate universe
for this survey would be comprised of 600 men and women between 18 and 65 who
(a) have purchased skin care products on the internet within the last 6 months, (b)
plan to do so again within the next 6 months, (c) have used the Internet to search for
products or services within the last month, (d) did not work in a related industry or
have a close relative that did so, and (e) speak fluent English.
      32.    I determined that that questions below were proper screening questions
for this survey. The type in bold and parenthesis indicates direction on if these
responses qualify the respondent to proceed with the survey. Respondents did not
see these instructions. Please see the document listed in Appendix 1 for “screen
grabs” of what the respondents actually saw.

      1. What is your age?
          18 or younger (Terminate interview)
          18-20
          21-29
          30-39

3
 Reference Manual on Scientific Evidence, Third Edition West Group, St. Paul,
MN, 2011
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               40-49
               50-59
               60-65
               66 or older (Terminate interview)

      2. In the last 6 months have you purchased skin care products for your own
      use?
          Yes (Proceed)
          No (Terminate interview)

      3. In the past 6 months, where have you purchased skin care products?
      (check all that apply)
          Internet
          Beauty supply store
          Retail outlet
          Other
         (Terminate if the user does not select Internet)

      4. In the next 6 months do you plan to purchase skin care products for your
      own use?
          Yes (Proceed)
          No (Terminate interview)

      5. In the next 6 months, where do you plan to purchase skin care products?
      (check all that apply)
           Internet
           Beauty supply store
           Retail outlet
           Other
          (Terminate if the user does not select Internet)

      33.       A series of control questions were then asked of all participants so as
not to bias their responses by thinking that this survey was only about skin care
products. All responses to these control questions qualified the respondent to
proceed with the survey.


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      7. In the last 6 months, where did you purchased dental care products?
      (check all that apply)
           Internet
           Beauty supply store
           Retail outlet
           Other

      8. In the next 6 months do you plan to purchase dental care products for
      your own use?
          Yes
          No

      9. In the next 6 months, where do you plan to purchase dental care products?
      (check all that apply)
           Internet
           Beauty supply store
           Retail outlet
           Other

      34.   A final follow up question further confirmed that all qualified
respondents had recently purchased products or services on the internet:

      10. In the past month have you used the Internet to search for products or
      services?
          Yes (Proceed)
          No (Terminate interview)

      35.   Respondents who were likely to have atypical knowledge of these
brands or this industry were excluded, including individuals employed by an
advertising agency, a consumer research firm, or a personal care product
manufacturer, retailer, or distributor. Respondents whose family members were
employed in these occupations were also excluded. Because the stimuli should be
viewed at an appropriate size, anyone who was taking the survey on a tablet or a
phone was disqualified and only those taking the survey on a laptop or desktop


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computer were permitted to proceed.
      36.    Based on my experience and credentials as a survey expert, it is my
opinion that the respondents meeting this survey’s screening requirements are
representative of the relevant consuming public for both the Plaintiff’s and the
Defendant’s products.

      B.     Sample Size
      37.    The Reference Guide to Survey Research states on page 377 that, “The
surveyor’s job generally is easier if a complete list of every eligible member of the
population is available so that the sampling frame lists the identity of all members
of the target population.”4 A sample drawn at random from such a list would be a
true probability sample. A complete list of all members of the universe for this
inquiry was obviously not available, which means that a true probability sample
was not possible. That is, there does not exist an exhaustive list of every person
over the age of 18 who meet all of the occupational screening requirements.
      38.    Therefore, a non-probability sample of 600 qualified respondents was
used for the survey. Non-probability samples of this size are and have been used to
make consequential academic and business decisions and are also accepted into
evidence in courts throughout the country.


      C.     Interviewing Medium – On-Line Survey
      39.    The Council of American Survey Research Organizations reported that
in 2012 their members conducted more surveys via the Internet than by all other
methods combined. As an example of its pervasiveness, Internet surveys were
conducted 10 times more often than mall intercept surveys. The use of Internet

4
 Reference Guide on Survey Research, Shari Seidman Diamond, West Group, St.
Paul, MN, 2011, pp 377
                                          13
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surveys is thus “in accordance with generally accepted standards of procedure in the
field.”5
       40.   The Internet was an especially appropriate interviewing medium for
the inquiries in this survey because it required showing specific stimuli in a specific
order to a representative sample of respondents meeting the screening requirements
previously discussed. Additionally, and importantly: (a) personal interviews would
have been prohibitively expensive, time consuming, and dangerous to perform
during a worldwide pandemic, (b) telephone interviews would not have been
possible because of the previously noted requirement to present visual stimuli, and
(c) both the Plaintiff and Defendant use the Internet as a vehicle for advertising and
promoting their products/services.


       D.    Sophistication of the Respondent Paneling and Survey Fielding
             Teams
       41.   The survey was fielded by the internet survey firm, Illume, Inc. Illume
is widely respected in the marketing research industry and has created hundreds of
surveys that have been accepted by the courts and more than one thousand surveys
for the marketing and branding industries. Illume programmed the study using the
Sawtooth Software’s Lighthouse Studio software suite as it does to program all of
its surveys. Sawtooth Software has been providing market research data collection
and analysis software since 1983. It uses IBM’s SPSS software for data analysis.
SPSS has been widely used for over 50 years and recognized as the forerunner in
data analysis software. Illume also uses Sawtooth Software’s web hosting services
for hosting all of their surveys. All surveys are secure using TLS 1.2, AES with 128

5
 https://www.insightsassociation.org/issues-policies/glossary/council-american-
survey-research-organisations-casro

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bit encryption (High); ECDH_P256 with 256 bit exchange, which ensures optimal
security.6
        42.      Illume coordinated the respondent recruitment using the paneling firm
Innovate MR. Innovate MR recruited respondents from a diverse blend of channels
to ensure representativeness, including both online and offline publishers, social
networks like Facebook, web and SMS databases, advertising networks, and
television ad placement. They uses a dynamic profiling system that captures and
localizes data points based on geography and tracked respondent behavior
longitudinally using advanced algorithmic solutions designed to evaluate their
profile on an ongoing basis, which ensures accuracy and authenticity is maintained.7


        E.       “Double Blind” Protocol
        43.      Because of the way the questions were crafted and because at no time
were the parties’ names or identities disclosed or revealed to Illume or Innovate
MR, neither the survey programmer nor the respondents knew the purpose of the
survey. That is, no question suggested the survey’s sponsor or purpose. This
“double blind” protocol means that neither the programmer nor the respondents
could intentionally or unintentionally influence the results.
        44.      In my expert opinion, all seven of the standards delineated in the
Manual for Complex Litigation, Fourth Edition, 20048 were observed in this survey.
Furthermore, the following additional safeguards were observed:

              a. Respondents were told to view the stimuli as if they were considering

6
    http://www.illume-research.com/aboutus.html
7
    https://www.innovatemr.com/panels/consumer-panel/
8
    Manual for Complex Litigation, Fourth Edition, 2004
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                 buying it; that is, it was presented in a purchasing context.
            b.   Respondents were told that it was permissible to have no opinion about
                 a subject, and thus that they should not feel the need to guess at an
                 answer.
            c.   Persons who had potentially atypical knowledge because of their
                 occupation were excluded from the survey.
            d.   A control protocol was used to account for survey “noise.”
            e.   Finally, the survey was “double blinded”: neither the survey company
                 nor the respondents knew the sponsor or the purpose of the study; thus,
                 neither could influence the results, if even unwittingly.


      F.         Qualifying Questions
      45.        The survey begins with a welcome statement that ensures the
respondent that their responses will be kept confidential.

      “Welcome and thank you for agreeing to take part in our survey! Please be
      assured that all of your answers will be kept strictly confidential and are
      reported in aggregate only.”

      46.        Qualifying questions continued to ensure that all responses were
genuine, honest and not aided by outside knowledge.

      “Will you agree to answer the questions without help or assistance, answer
      truthfully and do not guess?
          Yes
          No
Those who answered “No” were terminated from the interview and their responses
were not tabulated in the results.
      47.        Two qualifying questions ensured that the responses were wearing
contacts or eyeglasses if they needed them:

      “Do you need contacts or glasses for reading?”
         Yes
         No

      “If so, will you be wearing them when completing the survey?”
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             Yes
             No
Those who responded that they needed contacts or glasses but would not guarantee
that they would be wearing them during the test were terminated from the survey
and their responses were not tabulated in the results.
      48.     Lastly, a final qualifying question further ensured the honesty of the
responses and prevented guessing, acknowledging that it was appropriate to state
that you don't know the answer rather than guess.

      “Please understand that we are only interested in your opinions or beliefs;
      and if you don’t have an opinion or belief or don’t know the answer to a
      question, that is an acceptable answer. Do you agree not to guess or get
      information from anyone else, from the internet or any other source?”
          Yes
          No

Those who answered “No” were terminated from the interview and their responses
were not tabulated in the results.


      G.      Likelihood of Confusion Questions
      49.     Respondents were then provided with a lead-in statement encouraging
respondents to view the following imagery as if they were shopping for the products
shown, so as to best replicate the purchase experience.

      You are about to see images of four products, each featured as you would see
      them when purchasing them.

      Please view the following images as if you were shopping for these products
      with the possible intent to purchase them. For the questions, if you do not
      have an opinion or are unsure of your opinion, it’s perfectly all right to say
      so.

After reading the text above, when respondents clicked on the “Continue” button,
                                           17
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all 600 respondents were presented with the following images, consisting of
screenshots of the product manufacturer’s point of sale website, in random order to
prevent order bias.


                                     Image 1




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                                  Image 2




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                                  Image 3




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                                  Image 4




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      50.    This was followed by an additional screening question to ensure that
respondents were paying full attention and taking the survey in earnest.

      What type of products were shown in the images you just
      reviewed?
             Detergent
             Shampoo
             Skin care products
             Pet food
             Don’t know/no opinion

Any responses that did not check skin care products were terminated from the
survey.
      51.    This attention-check question was followed by the primary statement:

      All of these products can be purchased online, but we are interested in who
      you believe makes each of these products, meaning their manufacturer or
      source.

After reviewing this statement, images of two of the four products were then shown
in a pair, adjacent to one another. This was repeated until each respondent had the
opportunity to compare each of the four products to the other three products on a
one-to-one basis. This allowed respondents to directly compare all four products to
one another. These pairings of imagery were done in random order to prevent order
bias. After each pair of images were shown, respondents were asked:

      Do you believe that these two products come from the same
      company/manufacturer/source?
            Yes, same company/manufacturer/source?
            No, different companies/manufacturers/sources?
            Not sure/ don't know

      52.    The survey then asked the open-ended question, “Why do you say
that?” so as to get a better understanding of the rationale behind the respondent’s
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earlier answer and to serve as a way of extracting survey noise or nonsensical
answers.
      53.    Those who answered “Different companies/manufacturers/sources” to
the prior question were then asked a follow up question:

      If you said different companies, do you believe that these companies are
      affiliated, connected, or associated with each other?
           Yes, companies are affiliated, connected or associated
           No, companies are not affiliated, connected or associated
           Not sure/ don't know

Again, this was followed by the open-ended question, “Why do you say that?” so as
to get a better understanding of the rationale behind their earlier answer.
      54.    The questions regarding point-of-sale images of the products were
followed by a written scenario and follow-up question, which was presented to the
respondents as follows:

      Please read the scenario below and answer the question that follows.

             After ordering a skin care product, you receive an email with
             prominent text stating “Welcome to the Thrive Tribe”. After ordering a
             second skincare product, you receive a second email with prominent
             text stating “Welcome to the Thrive Tribe”.

      Based on these emails, do you believe that the two products you ordered are
      from the same company or companies that are affiliated, connected or
      associated or from different companies that are not affiliated, connected, or
      associated?
             Yes, the products I ordered are from the same company or
                companies that are affiliated, connected, or associated
             No, the products I ordered are from different companies that are
                not affiliated, connected, or associated
             Not sure/ don't know

This scenario is based on facts specific to the way the term “Thrive Tribe” is used

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by both the Plaintiff and the Defendant. At the time respondents received this
scenario and question, they were not able to go back to prior questions they had
already answered. This prevented respondents from revising their answers
regarding the product images after they had received additional information about
the “Thrive Tribe” usage.
      55.    After having completed the product-specific questions, the respondent
was provided with a request which directed them to enter the number 865 into the
space below the request. This was yet another check for the integrity and
trustworthiness of the responses, since if the individual queried did not do as
requested, they were eliminated from the sample due to an attention deficit rationale
which could have adversely reflected the quality of the answers previously given.
      56.    Lastly, all respondents were asked a series of demographic questions
about their gender, the highest level of schooling they had achieved, what state they
lived in, and their approximate household income level.


      H.     Use of Controls and Net Confusion Scores
      57.    Specific effort was made to be objective by recognizing potential,
albeit inadvertent, biases and accounting for each of them beforehand. These
responses are what researchers refer to as “noise,” that is, any exogenous and
difficult-to-measure issues such as respondents’ preconceived opinions and/or those
who had recently encountered the stimuli and have an unnaturally heightened
awareness of it beyond the general public, and so forth.
      58.    The Reference Guide on Survey Research states, that the control group
view the same stimuli without the allegedly deceptive material.9 As mentioned

9
 Reference Guide on Survey Research, Shari Seidman Diamond, Third Edition
West Group, St. Paul, MN, 2011, pg. 398.

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earlier, there were two images of two control products that did not feature the
Thrive brand name. The survey was able to determine the level of confusion that
these control products had with the Plaintiff’s product. This level of confusion as
then subtracted from the confusion reported between the products in question to
result in net confusion.” This is further described in the following section.


IX.   TABULATED RESPONSES
      A.     A significant majority of respondents believed that the products in
             question are from the same company, manufacturer, or source

      59.    The tabulated results in the chart below compare the level of confusion
reported among each of the four pairs of products. Of specific interest, the products
in question indicate a level of perceived confusion among 397 of the 600
respondents or 66% of all respondents.




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      60.    This measure is accurate at the 99% level of confidence, meaning if
this survey were taken 100 times, 99 of those surveys would show the same result.
This reaffirms the significance of this finding and its strong support for the
conclusion that the Defendant’s products cause actual confusion among the relevant
public.
      61.    Additional proof of actual confusion can be found in the responses to
the follow up question where those who answered different companies where then
asked if they believed that these companies/manufactures/sources were affiliated,
connected or associated with one another.




      62.    Here again, among those 100 respondents, 14 of them believed that the
companies who manufacture the Plaintiff’s and the Defendant’s products in
question are affiliated. This finding is accurate at the 95% level of confidence
      63.    When the 397 respondents who believe that the products in question
are from the same source are added to the 14 who believe that they are from
affiliated sources are added, it results in 411 of the 600 total respondents or

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68.5% of respondents who report actual confusion among the products in question.
This is an exceptionally high level of confusion, in fact, in my experience, it is
among the highest level of confusion in any survey that I have performed as an
expert witness.

      B.     Net confusion scores also show an exceptional level of confusion
      64.    As mentioned, in order to extract the level of confusion caused
exclusively by the Defendant’s use of the “Thrive” name at issue, the average
confusion scores from the control set are subtracted from the primary set scores to
result in what the industry refers to as an average “net confusion” score.10
      65.    The survey results report a level of confusion between the Plaintiff’s
product and the Ursa Major product of 66 respondents of the 600 questioned or
11% of all respondents who believed that these products come from the same
source or from different but affiliated sources. The results show a level of
confusion between the Plaintiff’s product and the Wldkat product of 89 respondents
of the 600 questioned or 14.8% of all respondents who believed that these products
come from the same source or from different but affiliated sources. When these
numbers are averaged, the resulting average level of control confusion is 12.9%.
      66.    When this 12.9% is subtracted from the primary set’s 68.5% level of
confusion, it results in an average net confusion score of 55.6%, or a clear majority
of all respondents who believe that the products in question are confusingly similar.
Again, this measure refers only to the net confusion when compared to the highest
level of confusion with a control product. The other control products show less
confusion, and therefore, a higher net confusion score.



10
 Reference Guide on Survey Research, Shari Seidman Diamond, Third Edition
West Group, St. Paul, MN, 2011
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      C.     Typical open-ended responses indicate that the Thrive name
             causes this significant confusion
      67.    As mentioned, responses to the open-ended questions, “Why do you
say that?” further confirm the rationale behind the respondents’ answers. Typical
responses to these questions include reference the name of the products in question,
Thrive, as driving this confusion. The following direct quotes are indicative of the
very many responses that reference the products’ name, Thrive, as causing this
confusion:

             - They both say Thrive.

             - They were both from Thrive

             - Both manufacturered [sic] by "thrive"

             - They have same name

             - both the websites said Thrive

             - They both say "Thrive" at the top of the bottles, which seems to
               indicate that is who made them.


      D.     Extracting possibly questionable responses still indicates
             exceptional levels of confusion.
      68.    I reviewed all of the open-ended questions to determine if any of them
were nonsensical or communicated an extraordinary knowledge of this case so as to
be termed survey noise. I found only two responses that possibly could be
indicative of a respondent not taking the survey in earnest. Respondent 75
indicated a response of “cbd” and respondent 596 indicated a response of “premium
quality”. I believe that these two responses could prove to be authentic, in that the
Defendant’s product promoted its use of “CBD” which corresponds to Plaintiff’s
“plant powered” Thrive product. Furthermore, Defendant’s product could have been
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perceived by the second respondent to be a higher priced “premium quality” version
of the Plaintiff’s brand.
      69.    However, even if out of an abundance of caution I extract these two
respondents’ data from the overall data findings, it results in two fewer respondents
showing “same company” confusion or 68.39% rather than 68.5% primary
confusion or 52.49% rather than 55.6% net confusion. Regardless of whether
these two responses were either genuine or not, their impact on the overall level of
confusion is negligible.


XII. CONCLUSION
      70.    The results of a well-conducted experimental design with the
appropriate controls revealed a significant degree of confusion between the
Plaintiff’s “Thrive” branded products and the Defendant’s “Thrive Skin” branded
products. The level of confusion amongst the target market was shown to be 55.6%.
It is my professional opinion that this level represents significant confusion above
the noise level and suggests that, when purchasing, consumers are likely to confuse
the Plaintiff’s skin care products with the Defendant’s skin care products.
      71.    I hold these opinions within a reasonable degree of certainty based on
the survey results, and my 35-plus year experience in the branding industry. I
respectfully reserve the right to amend this declaration with further comments in the
event that additional information becomes available.
      I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed on March 2, 2021.



                                               ______________________________
                                               Rob Wallace

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Appendix 1: Survey Data – filed as separate documents with this report

The spreadsheets of the raw data and tables were too large to include in this report.
The following separate documents were attached to this report when filed:

       Thrive Survey Printout.pdf

       Thrive Final Raw Data.xlsx

       Thrive Tabs.xlsx

       Thrive Compare Tabs




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Appendix 2: Documents Reviewed

Level Thrive Complaint

Reference Manual on Scientific Evidence, Third Edition West Group, St. Paul, MN,
2011

Squirtco v. Seven-Up Co., 628 F.2d 1086 (8th Cir. 1980).

Reference Guide on Survey Research, Shari Seidman Diamond, West Group, St.
Paul, MN, 2011

https://www.insightsassociation.org/issues-policies/glossary/council-american-
survey-research-organisations-casro

http://www.illume-research.com/aboutus.html

https://www.innovatemr.com/panels/consumer-panel/

Manual for Complex Litigation, Fourth Edition, 2004




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Appendix 3: Curriculum Vitae of Robert Wallace

Rob Wallace Expert Witness: Brand identity
917-860-0319
Rob@bestofbreedbranding.com
www.RobWallaceExpert.com

As the former managing partner of Wallace Church, Inc., one of the most recognized and
accomplished brand identity strategy and design consultancies, I have more than thirty years of
expertise in all aspects of branding strategy and design analysis for national and global brands.
My core expertise is the ability to create and differentiate brand experiences that drive consumer
awareness and purchase behavior.

Clients include Procter & Gamble, Coca-Cola, Unilever, Pfizer, Dell, Pepsico, Revlon, Target,
The Home Depot, Johnson & Johnson, Bacardi, E&J Gallo, Mattel, Anheuser Busch, PNC Bank,
Kroger, L’Oreal, Scotts/Miracle Gro and more than 40 national/global consumer product
marketers of equal caliber.

Areas of Expertise:
Trademark/Trade Dress
Package/Product Design
Licensing
Intellectual Property Marketing Strategy
Brand Communications
Visual Brand identity
Advertising Claims
Consumer Research
Copyright Damages
Consumer Research
Planning/Analysis

Industry Experience:
Food                                         Personal Care
Beverage                                     OTC and Rx Drugs
Home Products                                HBA/Beauty Care
Wellness                                     Technology Brands
Toys/Sporting Goods                          Hard Goods
Beer/Wine/Spirits                            B to B
Apparel                                      Retailer Brands
Financial Services

Background:
Best of Breed Branding Consortium, LLC                     June 2014 – Present
Managing Partner
  • Actively manage a consortium of branding communications consultancies.
  • Provide strategic consulting on all branding issues including brand name development,
      brand identity, graphic and structural package design, trademark and copyright
      development, and integration across advertising and all other brand communications.



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Wallace Church, Inc.,                                     1985 – June 2014
Managing Partner, Strategy
 • Actively manage one of the world's most respected brand identity design consultancies.
 • Provide strategic consulting on all branding issues including brand name development,
     brand identity, graphic and structural package design, trademark and copyright
     development, and integration across advertising and all other brand communications.

Peter Cris Advertising, Inc., New York, NY                  1984 – 1985
Vice President, Marketing
  • Provided both the strategic and creative force for this regional advertising agency.
  • Acted as primary liaison between clients and creative department.
Modular Marketing, Inc., New York, NY                     1982 – 1984
Senior Account Manager
 • Managed select client relationships through all creative and strategic aspects of project
     management for this marketing communications consultancy.
 • Designed and developed brand promotion programs, corporate communications and brand
     identity assignments.

Grey Advertising, Inc., New York, NY                        1981 – 1982
Senior Account Manager
  • Actively participated in one of the world's largest advertising agencies through the Market
     Horizons function, consulting with core clients on advertising and new brand
     communications opportunities.

Education:
MBA coursework, The New School, New York, NY               1981 – 1983
BA, English, Gettysburg College, Gettysburg, PA            1977 – 1981

Professional Activities:
  • Expert speaker on brand identity design at more than 40 marketing, design and research
     industry events across the US, UK, Europe, Latin America and Asia
  • Author of numerous articles and published case histories on brand identity design in the
     Wall Street Journal, Forbes, Marketing Week, Design Management Journal, Package
     Design Magazine and numerous other publications,
  • Co-Author “Really Good Package Design Explained,” Rockport Press, 09
  • Lecturer on brand identity at Columbia Business School, Georgetown University, Seton
     Hall, University of Texas, School of Visual Arts Masters in Branding and other MBA
     programs of leading universities
  • Board of Directors, Design Management Institute, 2010-Current
  • Co-Chair of the Design Management Institute Design Value Project, 2012-Current
  • Distinguished Faculty Member, Path to Purchase Institute, speaker at national conference
     for the last 8 years
  • Founder “The Strategic Design Firm Leadership Summit” attached to the BXP Live event



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Professional Memberships:

Board of Directors, the Design Management Institute,
Co-Chair Design Value Project, the Design Management Institute
Distinguished Faculty, Path to Purchase Institute
American Marketing Association
Color Marketing Group
American Institute of Graphic Arts




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Appendix 4: Partial List of Prior Cases

I have served as an expert witness on branding related issues on more than 65 prior occasions.
In the last four years, I have been served on:


     • Anti-Aging Essentials, Inc., v. Trufood MFG, INC. F/K/A Tsudis Chocolate Co and
     Belmont Confection.,U.S. District Court, District of Pennsylvania, 2016

     • Pur Beverages v. Pom Wonderful, U.S. District Court, Southern District of California, 2016

     • Fireclean, LLC v. George Fennell and Steel Shield Technologies, Inc., U.S. District Court,
     Eastern District of Virginia, 2016

     • Smart Vent Products Inc v. Crawl Space Door Systems, Inc, U.S. District Court, New
     Jersey, 2016

     • SC Johnson & Sons, Inc. v. Minigrip, LLC U.S. District Court, Western District of
     Wisconsin, 2017

     • Gunterville Breathables, INC. v. Global Glove and Safety Manufacturing, Inc., U.S.
     District Court, Northern District of Alabama, 2017

     • Texas Outhouse, Inc. and The           Gainsborough Corporation v. Fresh Can, LLC., U.S.
     District Court, Southern District of Texas, 2017

     • StudioThink, LLC v. Unitrex, LTD., Court of Common Pleas, Cuyahoga County Ohio,
     2017

      • Lokai Holdings, LLC v. Twin Tiger USA, LLC, Southern District of New York, 2017

      • K&M International, Inc, v. Rhode Island Novelty, Inc., U.S. District Court, District of
      Rhode Island, 2017

      • Simon Nicholas Richmont, Patent No: 7,429,827 Re-examination Control Number
      90/013,860, U.S. Patent and Trademark Office, 2017

      • Turn Key Wine Brands LLC v. CustomVine, et al, U.S. District Court, Central District of
      California, 2017

      • CNY, LLC v. CCNY Inc., U.S. District Court, Southern District of New York, 2017

      • Redbox Automated Retail, LLC v. Xpress Retail LLC., U.S. District Court, Northern
      District of Illinois, 2018

      • Simon Nicholas Richmond in two Reexamination proceedings in the United States Patent
      and Trademark Office (USPTO), Reexamination Control No. 90/013,860 and 90/013,861,
      2018



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     • Roger Cofelt Jr., et als, v. The Kroger Company, et al, U.S. District Court, Central District
     of California, 2018

     • Quality Products, Inc., v. Verka Food Products LTD et al, U.S. District Court, Western
     District of Washington, Seattle, 2018

     • Shaya Eidelman v. Sun Products Corp and Costco Wholesale Corp, U.S. District Court
     Southern District of New York, 2018

     • Flying Nurses International LLC v. Flyingnurse.com et al. U.S. District Court, Eastern
     District of Virginia, 2018

     • GDM Enterprises, LLC (Pure Cosmetics) v Astral Health & Beauty, INC., (PUR
     Cosmetics),U.S. District Court, Western District of Missouri, 2019

     • BAMA ICEE LLC et al v J&J Snack Foods Corp et al., US District Court, Northern District
     Of Alabama, 2019

     • The Black & Decker Corporation, et al v HARBOR FREIGHT TOOLS USA, INC., Report
     for Mediation, 2019

     • 1231 Barrage Inc et al v. Automobile Dealers Assoc of Greater Philadelphia et al,
     Philadelphia County Court of Common Pleas, 2019

     • Christopher Hayden v. Eagles Nest Outfitters, Inc. et al US District Court
     Western District of North Carolina, 2019

     • Chantel Ray Finch v Weigh Down Workshop Ministries, Inc. et al, US District Court,
     Eastern District Of Virginia, Norfolk Division, 2019

    • Mambu Bayoh v. AfroPunk Fest 2015, et al., U.S. District Court, Southern District of New
    York, 2019

    • Scorocs LLC v. Innovations for Poverty Action Inc., US District Court, Western District Of
    Missouri, At Kansas City, 2019

    • Good L Corp v. Fasteners for Retail, Inc., US District Court, Middle District of Tennessee,
    2019

    • Sunny Days Entertainment LLC v. Traxxas L.P., US District Court, District of South
    Carolina Greenville Division, 2019

    • Venus Et Fleur, LLC v. Affordable Luxury NY, Inc dba Pret A Fleur, et al, US Court,
    Southern District of New York, 2019

    • Rhino Metals Inc, v Sturdy Gun Safe Inc, US District Court, District Idaho, 2019

    • American Customer Satisfaction Index, LLC v Genesys Telecommunications
    Laboratories, et al, US District Court, Eastern District of Michigan, Southern Division, 2020


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    • I.M. Wilson, Inc v Obchtchestvo S Ogranitchennoy Otvetsvennostyou “Grichko”, et al, US
    Distinct Court, Eastern District of Pennsylvania, 2020

    • Country Life v. The Hain Celestial Group, Inc, US District Court, Eastern District of New
    York, 2020

    • New NGC, Inc, et al v. Alpinebay, Inc, US District Court, For the Northern District of
    Illinois, Eastern Division, 2020

    • P&P Imports v. Johnson Enterprises, LLC et al, US District Court for the Central District of
    California, 2020

    • New NGC, Inc, et al v. Alpinebay, Inc, US District Court, for the Northern District of
    Illinois, Eastern Division, 2020

    • Otter Products, LLC et al v. Bigbirds, LLC et als , US District Court, for the District of
    Colorado, 2020

    • Sulzer Mixpak, A.D. v. DXM Co LTD et als , US District Court, for the Southern District of
    New York, 2020

    • Jalinski Advisory Group, Inc. v. JBL Financial Services, Inc., US District Court, for the
    Eastern District of Missouri, Eastern Division, 2020

    • American Medical Experts, LLC v. Ronny Nizar Hamad, Prime Medical Experts, LLC et al,
    US District Court, for the Eastern District of Virginia, 2020

    • Restoration Hardware, Inc., et al., , v. Bungalow Home, LLC, US District Court, for the
    Southern District of Ohio, Eastern Division, 2020

    • American Customer Satisfaction Index, LLC v ForeSee Results, et al, US District Court,
    Eastern District of Michigan, Southern Division, 2020




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Appendix 5: Partial List of Authored Books and Articles

      I have written a number of brand identity articles, contributed to branding texts, and have
been interviewed by The Wall Street Journal, The New York Times, and more than a dozen
branding and marketing communications industry publications. I have spoken at more than 30
marketing communications and design industry events across North and South America, the UK,
and Europe and Asia. I have lectured on brand identity at Columbia Business School,
Georgetown, The University of Texas, and other leading universities. I have conducted webinar
events with more than 1,600 participants on the topic of design process and design thinking.

       I am on the Board of Directors of the Design Management Institute, the most prominent
global design industry association, and I co-chair its Design Value Project. I am a Distinguished
Faculty Member of the Path to Purchase Institute. Please see my current CV for a listing of
these and other accomplishments.

      I coauthored a book entitled “Really Good Packaging Explained”, released in 2009 by
Rockport Publishers. I was also a contributing author with Robin Landa and the book ”Build Your
Own Brand”, Rockport, 2013. I also wrote the forward to Christopher Durham’s book, “52 The
My Private Brand Project”, Folio28, 2014

       In the past 15 years I have written the following articles:

      “The Tropicana Trouble and How It May Have Been Prevented”, Package Digest, 2009
      “Blood, Sweat and Tiers, Building Optimal Brand Identity Architectures”, GAIN, AIGA
               Journal of Business and Design, June 2008
      “Heinz Turns Iconic Authenticity Into Fresh Relevance”, The Hub, September 2007
      “Design ROI Envisioned”, Step Inside Design, July/August 2007
      “Be Smart Be Simple”, Design Management Review, Spring 2006
      “Proving our Value: Measuring Package Design’s Return on Investment”, Design
               Management Journal, Summer 2001
      “The High Cost of Saving Money”, Package Digest, Summer 2000
      “Icons, Your Brand’s Visual Essence, Brandweek, Spring 2000

      I have coauthored an article with Pamela De Cesare, former Associate Director of
Package Communications, Kraft Foods, Inc., entitled “Amazing Pace, Shared Views on the
Design Process”, Design Management Journal, Spring 2000.

     In the past several years I have posed more than two dozen articles and posts on Wallace
Church’s web site: http://wallacechurch.tumblr.com/ these include but are not limited to:

           • “Quantifying Design’s Value”

           • “Design RI Re-Envisioned”,

           • “Cutting through the Sea of Sameness”

           • “Architecting a Brand Experience”



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          • “The National Color” and more

       I am the founder of the Linked In Group- “Relevant Disruption in Branding”
https://www.linkedin.com/groups?home=&gid=7422931 where I have posted more than 10
articles including:

          • “Right Here, Right NOW!”

          • “Fashion Touchdown”

          • “Color is Key”

          • “Cool Customization”

          • “Relevance for Right Now”

          • “Shape Language”

          • “Visual Vampires”




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                           Wallace Report
                       Appendix 1 Data Files
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 Intro


Thank you for taking time to participate in our survey.




                             0%                           100%




                                                                 Thrive Survey Printout.pdf
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 Q1


  What is your age?


      Q1=1
             Younger than 18


      Q1=2
             18-20


      Q1=3
             21-29


      Q1=4
             30-39


      Q1=5
             40-49


      Q1=6
             50-59


      Q1=7
             60-65


      Q1=8
             66 or older




                           0%                        100%




                                                            Thrive Survey Printout.pdf
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 QA


  Are you fluent in English?


      QA=1
             Yes


      QA=2
             No




                               0%                    100%




                                                            Thrive Survey Printout.pdf
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 Q2


  In the last 6 months have you purchased skin care products for your own use?


      Q2=1
             Yes


      Q2=2
             No




                          0%                                            100%




                                                                                 Thrive Survey Printout.pdf
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 Q3


  In the past 6 months, where have you purchased skin care products?

  (Select all that apply.)


      Q3_1
             Internet


      Q3_2
             Beauty supply store


      Q3_3
             Retail outlet


      Q3_4
             Other




                             0%                                        100%




                                                                              Thrive Survey Printout.pdf
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 Q4


  In the next 6 months do you plan to purchase skin care products for your own use?


      Q4=1
             Yes


      Q4=2
             No




                           0%                                            100%




                                                                                 Thrive Survey Printout.pdf
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 Q5


  In the next 6 months, where do you plan to purchase skin care products?

  (Select all that apply.)


      Q5_1
             Internet


      Q5_2
             Beauty supply store


      Q5_3
             Retail outlet


      Q5_4
             Other




                             0%                                         100%




                                                                               Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 48 of 160 Page ID
                                  #:311



 Q6


  In the last 6 months have you purchased dental care products for your own use?


      Q6=1
             Yes


      Q6=2
             No




                          0%                                            100%




                                                                                   Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 49 of 160 Page ID
                                  #:312



 Q7


  In the last 6 months, where did you purchased dental care products?

  (Select all that apply.)


      Q7_1
             Internet


      Q7_2
             Beauty supply store


      Q7_3
             Retail outlet


      Q7_4
             Other




                             0%                                         100%




                                                                               Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 50 of 160 Page ID
                                  #:313



 Q8


  In the next 6 months do you plan to purchase dental care products for your own use?


      Q8=1
             Yes


      Q8=2
             No




                          0%                                            100%




                                                                                 Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 51 of 160 Page ID
                                  #:314



 Q9


  In the next 6 months, where do you plan to purchase dental care products?

  (Select all that apply.)


      Q9_1
             Internet


      Q9_2
             Beauty supply store


      Q9_3
             Retail outlet


      Q9_4
             Other




                             0%                                         100%




                                                                               Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 52 of 160 Page ID
                                  #:315



 Q10


  In the past month have you used the Internet to search for products or services?


       Q10=1
               Yes


       Q10=2
               No




                           0%                                             100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 53 of 160 Page ID
                                  #:316



 Q11


Have you or anyone in your household ever worked for...


                                                            Yes                  No

                                                          Q11_r1=1           Q11_r1=2
 An advertising agency



                                                          Q11_r2=1           Q11_r2=2
 A consumer research firm



 A personal care product manufacturer, retailer or        Q11_r3=1           Q11_r3=2
 distributor


                                                          Q11_r4=1           Q11_r4=2
 A dental care product manufacturer or retailer




                            0%                                       100%




                                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 54 of 160 Page ID
                                  #:317



 Q12


  Are you taking this survey on...


       Q12=1
               A laptop or desktop computer


       Q12=2
               A tablet


       Q12=3
               A phone




                            0%                       100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 55 of 160 Page ID
                                  #:318



 Q13


  Will you agree to answer the questions without help or assistance, answer truthfully and do not
  guess?


       Q13=1
               Yes


       Q13=2
               No




                           0%                                             100%




                                                                                   Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 56 of 160 Page ID
                                  #:319



 Q14


  Do you need contacts or glasses for reading?


       Q14=1
               Yes


       Q14=2
               No




                           0%                        100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 57 of 160 Page ID
                                  #:320



 Q15


  If so, will you be wearing them when completing the survey?


       Q15=1
               Yes


       Q15=2
               No




                           0%                                   100%




                                                                       Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 58 of 160 Page ID
                                  #:321



 Q16


  Please understand that we are only interested in your opinions or beliefs. If you don’t have an
  opinion or belief or don’t know the answer to a question, that is an acceptable answer. Do you
  agree not to guess or get information from anyone else, from the internet or any other source?


       Q16=1
               Yes


       Q16=2
               No




                           0%                                             100%




                                                                                   Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 59 of 160 Page ID
                                  #:322



 Intro1


  You are about to see images of four products, each featured as you would see them when
  purchasing them.

  Please view the following images as if you were shopping for these products with the possible
  intent to purchase them. For the questions, if you do not have an opinion or are unsure of your
  opinion, it’s perfectly all right to say so.




                           0%                                             100%




                                                                                   Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 60 of 160 Page ID
                                  #:323



Image1


 PRODUCT ONE




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 61 of 160 Page ID
                                  #:324



Image2


 PRODUCT TWO




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 62 of 160 Page ID
                                  #:325



Image3


 PRODUCT THREE




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 63 of 160 Page ID
                                  #:326



Image4


 PRODUCT FOUR




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 64 of 160 Page ID
                                  #:327



 Q17


  What type of products were shown in the images you just reviewed?


       Q17=1
               Detergent


       Q17=4
               Pet food


       Q17=2
               Shampoo


       Q17=3
               Skin care products


       Q17=5
               Don’t know / No opinion




                            0%                                        100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 65 of 160 Page ID
                                  #:328



 Intro2


  All of these products can be purchased online, but we are interested in who you believe makes
  each of these products, meaning their manufacturer or source.




                           0%                                            100%




                                                                                  Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 66 of 160 Page ID
                                  #:329



Rot1




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 67 of 160 Page ID
                                  #:330



Rot2




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 68 of 160 Page ID
                                  #:331



 Q18a


  Do you believe that these two products come from the same company/manufacturer/source?


    Q18a=1
              Yes, same company/manufacturer/source


    Q18a=2
              No, different companies/manufacturer/source


    Q18a=3
              Not sure / Don't know




                          0%                                        100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 69 of 160 Page ID
                                  #:332



 Q19a


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 70 of 160 Page ID
                                  #:333



 Q20a


  If you said different companies, do you believe that these companies are affiliated, connected, or
  associated with each other?


    Q20a=1
               Yes, companies are affiliated, connected or associated


    Q20a=2
               No, companies are not affiliated, connected or associated


    Q20a=3
               Not sure / Don't know




                            0%                                              100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 71 of 160 Page ID
                                  #:334



 Q21a


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 72 of 160 Page ID
                                  #:335



Rot3




                     0%                             100%




                                                           Thrive Survey Printout.pdf
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                                  #:336



Rot4




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 74 of 160 Page ID
                                  #:337



 Q18b


  Do you believe that these two products come from the same company/manufacturer/source?


    Q18b=1
              Yes, same company/manufacturer/source


    Q18b=2
              No, different companies/manufacturer/source


    Q18b=3
              Not sure / Don't know




                          0%                                        100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 75 of 160 Page ID
                                  #:338



 Q19b


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 76 of 160 Page ID
                                  #:339



 Q20b


  If you said different companies, do you believe that these companies are affiliated, connected, or
  associated with each other?


    Q20b=1
               Yes, companies are affiliated, connected or associated


    Q20b=2
               No, companies are not affiliated, connected or associated


    Q20b=3
               Not sure / Don't know




                            0%                                              100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 77 of 160 Page ID
                                  #:340



 Q21b


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 78 of 160 Page ID
                                  #:341



Rot5




                     0%                             100%




                                                           Thrive Survey Printout.pdf
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                                  #:342



Rot6




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 80 of 160 Page ID
                                  #:343



 Q18c


  Do you believe that these two products come from the same company/manufacturer/source?


    Q18c=1
             Yes, same company/manufacturer/source


    Q18c=2
             No, different companies/manufacturer/source


    Q18c=3
             Not sure / Don't know




                         0%                                         100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 81 of 160 Page ID
                                  #:344



 Q19c


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 82 of 160 Page ID
                                  #:345



 Q20c


  If you said different companies, do you believe that these companies are affiliated, connected, or
  associated with each other?


    Q20c=1
               Yes, companies are affiliated, connected or associated


    Q20c=2
               No, companies are not affiliated, connected or associated


    Q20c=3
               Not sure / Don't know




                            0%                                              100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 83 of 160 Page ID
                                  #:346



 Q21c


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 84 of 160 Page ID
                                  #:347



Rot7




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 85 of 160 Page ID
                                  #:348



Rot8




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 86 of 160 Page ID
                                  #:349



 Q18d


  Do you believe that these two products come from the same company/manufacturer/source?


    Q18d=1
              Yes, same company/manufacturer/source


    Q18d=2
              No, different companies/manufacturer/source


    Q18d=3
              Not sure / Don't know




                          0%                                        100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 87 of 160 Page ID
                                  #:350



 Q19d


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 88 of 160 Page ID
                                  #:351



 Q20d


  If you said different companies, do you believe that these companies are affiliated, connected, or
  associated with each other?


    Q20d=1
               Yes, companies are affiliated, connected or associated


    Q20d=2
               No, companies are not affiliated, connected or associated


    Q20d=3
               Not sure / Don't know




                            0%                                              100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 89 of 160 Page ID
                                  #:352



 Q21d


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 90 of 160 Page ID
                                  #:353



Rot9




                     0%                             100%




                                                           Thrive Survey Printout.pdf
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                                  #:354



Rot10




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 92 of 160 Page ID
                                  #:355



 Q18e


  Do you believe that these two products come from the same company/manufacturer/source?


    Q18e=1
              Yes, same company/manufacturer/source


    Q18e=2
              No, different companies/manufacturer/source


    Q18e=3
              Not sure / Don't know




                          0%                                        100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 93 of 160 Page ID
                                  #:356



 Q19e


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 94 of 160 Page ID
                                  #:357



 Q20e


  If you said different companies, do you believe that these companies are affiliated, connected, or
  associated with each other?


    Q20e=1
               Yes, companies are affiliated, connected or associated


    Q20e=2
               No, companies are not affiliated, connected or associated


    Q20e=3
               Not sure / Don't know




                            0%                                              100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 95 of 160 Page ID
                                  #:358



 Q21e


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 96 of 160 Page ID
                                  #:359



Rot11




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 97 of 160 Page ID
                                  #:360



Rot12




                     0%                             100%




                                                           Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 98 of 160 Page ID
                                  #:361



 Q18f


  Do you believe that these two products come from the same company/manufacturer/source?


    Q18f=1
             Yes, same company/manufacturer/source


    Q18f=2
             No, different companies/manufacturer/source


    Q18f=3
             Not sure / Don't know




                         0%                                         100%




                                                                             Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 99 of 160 Page ID
                                  #:362



 Q19f


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 100 of 160 Page ID
                                  #:363



 Q20f


  If you said different companies, do you believe that these companies are affiliated, connected, or
  associated with each other?


    Q20f=1
              Yes, companies are affiliated, connected or associated


    Q20f=2
              No, companies are not affiliated, connected or associated


    Q20f=3
              Not sure / Don't know




                            0%                                              100%




                                                                                     Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 101 of 160 Page ID
                                  #:364



 Q21f


  Why do you say that?




                         0%                          100%




                                                            Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 102 of 160 Page ID
                                  #:365



 Q21g




  Please enter the number 865 in the box below.




                          0%                         100%




                                                            Thrive Survey Printout.pdf
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                                  #:366



 Q21h


  Please read the scenario below and answer the question that follows.



        After ordering a skin care product, you receive an email with prominent text stating
        “Welcome to the Thrive Tribe”. After ordering a second skincare product, you receive a
        second email with prominent text stating “Welcome to the Thrive Tribe”.



  Based on these emails, do you believe that the two products you ordered are from the same
  company or companies that are affiliated, connected or associated or from different companies
  that are not affiliated, connected, or associated?


    Q21h=1     Yes, the products I ordered are from the same company or companies that are
               affiliated, connected, or associated

    Q21h=2     No, the products I ordered are from different companies that are not affiliated,
               connected, or associated

    Q21h=3
               Not sure / Don't know




                            0%                                             100%




                                                                                    Thrive Survey Printout.pdf
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                                  #:367



 Q22


  Are you...


       Q22=1
               Male


       Q22=2
               Female


       Q22=3
               Rather not say




                            0%                       100%




                                                            Thrive Survey Printout.pdf
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                                  #:368



 Q23


  What is the highest level of school you have completed or the highest degree you have received?


       Q23=1
               Less than high school degree


       Q23=2
               High school degree or equivalent (e.g., GED)


       Q23=3
               Some college but no degree


       Q23=4
               Associate degree


       Q23=5
               Bachelor degree


       Q23=6
               Graduate degree




                            0%                                           100%




                                                                                  Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 106 of 160 Page ID
                                  #:369



  Q24


 What state do you live in?




                              0%                     100%




                                                            Thrive Survey Printout.pdf
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                                  #:370



 Q25


  What is your approximate average household income?


       Q25=1
                $0-$24,999


       Q25=2
                $25,000-$49,999


       Q25=3
                $50,000- $74,999


       Q25=4
                $75,000- $99,999


       Q25=5
                $100,000- $124,999


       Q25=6
                $125,000- $149,999


       Q25=7
                $150,000- $174,999


       Q25=8
                $175,000- $199,999


       Q25=9
                $200,000 and up


       Q25=10
                 Rather not say




                             0%                        100%




                                                              Thrive Survey Printout.pdf
Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 108 of 160 Page ID
                                  #:371



 Ending


          Those are all the questions we have. Thank you for your time and cooepration.




                            0%                                         100%




                                                                                Thrive Survey Printout.pdf
                                                         Case 2:21-cv-02022-DOC-KES Document 8-4 Filed 03/05/21 Page 109 of 160 Page ID
                                                                                           #:372

ID        Q1 QA Q2 Q3_1 Q3_2 Q3_3 Q3_4 Q4 Q5_1 Q5_2 Q5_3 Q5_4 Q6 Q7_1 Q7_2 Q7_3 Q7_4 Q8 Q9_1 Q9_2 Q9_3 Q9_4 Q10 Q11_r1 Q11_r2 Q11_r3 Q11_r4 Q12 Q13 Q14 Q15 Q16 Q17 Q18a Q19a                                                                    Q20a Q21a                                                       Q18b
     20    4 1 1       1    0    3    0 1     1    2    3    0 1     1    0    3    0 1     1    0    3    0  1       2      2      2      2  1   1   1   1   1   3    1 They have the same brand name                                                                                                              3

     23    3   1   1   1    2    3     0   1   1    2    3    0   1    0    0    3    0   1    1    2    3    0   1      2      2     2      2   1    1   1   1   1   3     1 they are both products made and labeled under the brand thrive                                                                        2

     30    6   1   1   1    0    0     0   1   1    0    0    0   1    1    0    0    0   1    1    0    0    0   1      2      2     2      2   1    1   1   1   1   3     1 thrive skin, and thrive face balm.                                                                                                    3

     32    4   1   1   1    0    0     0   1   1    0    0    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     1 They are both from Thrive.                                                                                                            2


     33    4   1   1   1    2    3     0   1   1    2    3    0   1    1    2    3    0   1    1    2    3    0   1      2      2     2      2   1    1   2       1   3     1 because they both have the thrive brand                                                                                               2
     34    3   1   1   1    2    3     0   1   1    2    0    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     2 they look like two completely different products                      1 they have similar concepts                                    2
     35    4   1   1   1    0    3     0   1   1    0    3    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 Same names on packaging                                                                                                               2

     37    6   1   1   1    0    3     0   1   1    2    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     3 stress defence and a correcting serum                                                                                                 3
     40    3   1   1   1    2    3     0   1   1    2    3    0   1    1    2    3    0   1    1    2    3    0   1      2      2     2      2   1    1   2       1   3     1 They both were made by Thrive                                                                                                         2

     44    4   1   1   1    2    0     0   1   1    2    0    0   1    1    2    3    0   1    1    2    3    0   1      2      2     2      2   1    1   2       1   3     2 they are completely labeled different                                 2 i dont see any signs of them being from the same company      2

     58    3   1   1   1    2    3     0   1   1    2    3    0   1    1    2    3    0   1    1    2    3    0   1      2      2     2      2   1    1   2       1   3     3 I didn't find any evidence that they belong to the same brand                                                                         2
     64    5   1   1   1    2    0     0   1   1    2    3    0   1    1    2    3    0   1    1    2    3    0   1      2      2     2      2   1    1   2       1   3     1 they have the same name                                                                                                               2

     66    7   1   1   1    0    0     0   1   1    0    0    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 Very similar packaging. Same outcome.                                                                                                 3


     67    3   1   1   1    2    0     0   1   1    2    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     1 They are both packed with the Thrive brand.                                                                                           2

     81    5   1   1   1    0    0     0   1   1    0    0    0   2                       2                       1      2      2     2      2   1    1   2       1   3     2 The packaging and name appear to be very different.                   3 I have no way of knowing that information.                    2

     90    4   1   1   1    0    3     0   1   1    2    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     2 they have different ingredients                                       2 they seem like compatiton                                     3


     93    3   1   1   1    0    3     0   1   1    0    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 Both Thrive                                                                                                                           2

     95    7   1   1   1    0    0     0   1   1    0    0    0   1    0    0    0    4   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 Both manufacturered by "thrive"                                                                                                       1

 102       5   1   1   1    0    3     0   1   1    0    3    0   1    0    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 They have same name                                                                                                                   2
 104       6   1   1   1    0    0     0   1   1    0    0    0   1    1    0    0    0   1    1    0    0    0   1      2      2     2      2   1    1   1   1   1   3     1 not sure                                                                                                                              1

 105       7   1   1   1    0    3     0   1   1    0    3    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     3 Same.                                                                                                                                 3
 108       5   1   1   1    2    0     0   1   1    2    0    0   1    1    0    0    0   1    1    0    0    0   1      2      2     2      2   1    1   1   1   1   3     1 Both are thrive                                                                                                                       2

 110       4   1   1   1    0    0     0   1   1    0    0    0   1    1    0    0    0   1    1    0    0    0   1      2      2     2      2   1    1   1   1   1   3     3   I cannot decide                                                                                                                     3
 112       4   1   1   1    2    3     0   1   1    2    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1   They were both from Thrive                                                                                                          2
 114       5   1   1   1    0    0     0   1   1    0    0    0   2                       1    1    0    0    0   1      2      2     2      2   1    1   2       1   3     2   looks diffrent                                                      3 i dont know thats why                                         2
 117       3   1   1   1    0    3     0   1   1    0    0    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1   It states in both descriptions that it is made by Thrive.                                                                           2

 118       7   1   1   1    0    3     0   1   1    0    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     1 They both say Thrive.                                                                                                                 2

                                                                                                                                                                              They both have the "Thrive" branding which leads me to believe
 121       3   1   1   1    0    3     0   1   1    0    3    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 these companies are the same/affiliated.                                                                                              3

 124       4   1   1   1    0    3     0   1   1    0    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 Both products were from the same brand.                                                                                               2
 129       5   1   1   1    0    3     0   1   1    2    3    0   1    1    2    3    0   1    1    0    0    0   1      2      2     2      2   1    1   1   1   1   3     2 diffrent company doffrent oriducy=t                                   2 diffrent company                                              2
                                                                                                                                                                              they have different names but they could be owned by the same
 142       4   1   1   1    0    0     0   1   1    0    0    0   1    0    0    0    4   1    0    0    0    4   1      2      2     2      2   1    1   2       1   3     3 company                                                                                                                               3

 147       3   1   1   1    0    3     0   1   1    0    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     1 they look nice                                                                                                                        2

 152       5   1   1   1    2    3     0   1   1    2    3    0   1    1    2    3    0   1    1    2    3    0   1      2      2     2      2   1    1   2       1   3     1 they both say they come from Thrive                                                                                                   2


 159       4   1   1   1    0    0     0   1   1    0    0    0   1    1    0    0    0   1    1    0    0    0   1      2      2     2      2   1    1   2       1   3     1 they both had the same company name                                                                                                   2
                                                                                                                                                                              They both say "Thrive" at the top of the bottles, which seems to
                                                                                                                                                                              indicate that is who made them. Also, Thrive is pretty well
 160       4   1   1   1    0    3     0   1   1    2    3    0   1    0    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     1 known for wellness and beauty.                                                                                                        2
 161       6   1   1   1    0    3     0   1   1    0    0    0   1    1    0    3    0   1    1    0    0    0   1      2      2     2      2   1    1   2       1   3     2 The products are different                                            3 I can not tell either way                                     3

 166       4   1   1   1    0    3     0   1   1    0    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     2 Different websites and ingredients                                    3 Because I don't know                                          2




 167       4   1   1   1    2    3     0   1   1    2    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     1 They are both by a brand called THRIVE.                                                                                               2

 169       6   1   1   1    0    3     0   1   1    0    3    0   1    0    0    3    0   1    0    0    3    0   1      2      2     2      2   1    1   1   1   1   3     3 the package is very different on each one                                                                                             3
 171       3   1   1   1    2    0     0   1   1    2    0    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     3 same name different logos                                                                                                             2

 175       5   1   1   1    2    0     0   1   1    2    0    0   1    1    0    0    0   1    1    0    0    0   1      2      2     2      2   1    1   1   1   1   3     1 They were both Thrive                                                                                                                 2
 181       5   1   1   1    0    0     0   1   1    2    0    0   1    1    2    3    0   1    1    0    3    0   1      2      2     2      2   1    1   1   1   1   3     2 have a some different that's why i say                                2 have a some different that's why i say                        1

 182       5   1   1   1    0    3     0   1   1    2    3    0   1    1    0    3    0   1    1    0    3    0   1      2      2     2      2   1    1   2       1   3     1 They are both from the Thrive brand                                                                                                   2




                                                                                                                                                                                                                                                                             Thrive Final Raw Data.xlsx
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183   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They have the same name.                                                                                             2
184   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 these are two different products                                   2 products are produced by different companies    2

186   3   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 The title Thrive is on both of the products                                                                          3
198   6   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same name                                                                                                            2
202   4   1   1   1   0   3   0   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 thats what i believe                                               2 different brand                                 1

205   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   3 it's still hard to tell                                                                                              2
212   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3 No reasoning                                                                                                         3
215   7   1   1   1   0   0   0   1   1   0   0   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 I seen the brand                                                                                                     3
                                                                                                                                            I saw that they both have Thrive in their branding but the pages
                                                                                                                                            look a bit different. They may or may not be from the same
217   5   1   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 company.                                                                                                             3

218   2   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   4   1   1   0   3   4   1   2   2   2   2   1   1   2       1   3   1 They both have the label thrive skin                                                                                 2
220   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both the websites said Thrive                                                                                        2


221   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 It looks to be under the same brand according the bottles.                                                           1
306   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 same name thrive                                                                                                     2
367   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 both say thrive                                                                                                      2

392   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 both named Thrive                                                                                                    3


588   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 they feature the same brand name.                                                                                    2
                                                                                                                                            These products although have the same name a different feel
589   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 and look                                                           2 The products are totally different              2

621   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 I am going by what the name is on the products.                                                                      2


627   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 it says they are both from Thrive.                                                                                   2

                                                                                                                                            They are both labeled as being from the "Thrive" company
647   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 (brand name).                                                                                                        2
650   2   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They look more in line with each other                                                                               2

651   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   3   I CAN'T TELL IF THEY ARE MADE FROM THE SAME COMPANY                                                                3
653   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   both are same brand                                                                                                2
654   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3   It's hard to tell from just a picture.                                                                             3
656   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   they have "thrive" on the label                                                                                    2
658   5   1   1   1   2   3   4   1   1   2   3   4   1   1   0   3   4   1   1   2   3   4   1   2   2   2   2   1   1   2       1   3   1   Both are named Thrive.                                                                                             3


660   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They are both literally made by the same brand ‐ THRIVE                                                              2
662   4   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Their name is the same                                                                                               2

664   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1   they both share the same brand name                                                                                2
667   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2   because they look diffrent                                       2 because its not the same                        2
674   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1   cbd                                                                                                                2
677   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1   their both with thrive                                                                                             2

678   3   1   1   1   2   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Because both of them have the same brand name.                                                                       2
683   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 I have no idea.                                                                                                      2
684   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 I'm neutral about it                                               3 I'm neutral about it                            2

689   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 i cannot say if they are affiliated with each other                                                                  2
691   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 Need more info                                                                                                       3

707   4   1   1   1   0   0   0   1   1   2   3   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They both have thrive on their label                                                                                 3

708   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 They both said Thrive.                                                                                               3
715   5   1   1   1   0   0   4   1   1   0   0   4   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1 It says it's from Thrive                                                                                             2
722   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                            2


725   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Because they both have Thrive as the brand name.                                                                     3

742   2   1   1   1   2   3   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 They have the same brand name ‐ Thrive                                                                               2


744   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They're both branded as Thrive                                                                                       2

745   3   1   1   1   2   3   4   1   1   2   3   0   1   1   2   3   4   1   1   2   3   4   1   2   2   2   2   1   1   2       1   3   1 Both products come from the same company in the image.                                                               3


764   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 The brand is Thrive on both                                                                                          3

770   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 Again they appear quite different but its hard to say                                                                2
775   3   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   2 the company description                                            2 the didn't seem to be                           2




                                                                                                                                                                                                                                        Thrive Final Raw Data.xlsx
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 776   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Look like two similiar vendors                                                                                                              2
                                                                                                                                             I see that Thrive is 'powered by Regenerative Plants'. I will now
                                                                                                                                             assume that this is the name of the company. This is a different
 779   7   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 way to show manufacture name.                                                                                                               3
                                                                                                                                             BOTH PRODUCTS HAS THE SAME COMPANY BRAND NAME ON
 780   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 PACKAGING                                                                                                                                   2


 790   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They were both by Thrive according to visuals                                                                                               2




 800   4   1   1   1   2   0   0   1   1   2   0   4   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They are both from the same company                                                                                                         2

                                                                                                                                             They both save Thrive, but they have completely different logos       It is a possibility, but from looks alone, I do not believe so. The
 801   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   2 and websites.                                                       3 price point also plays a part in this decision.                       2
 803   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 Because I am not sure.                                                                                                                      3

 811   3   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They are both Thrive Products                                                                                                               3
 814   3   1   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 they have diffrent logos                                            1 they have simmlar products                                            1
 818   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 you can never sure these days                                                                                                               2


 823   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 I was able to noticed Thrive and Thriver in both of the products.                                                                           2

 824   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same website.                                                                                                                               2
 828   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same brand name                                                                                                                             2
 838   5   1   1   1   2   0   0   1   1   2   3   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   1 same company name                                                                                                                           2

 842   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They are both Thrive products                                                                                                               2
 844   3   1   1   1   2   0   0   1   1   2   0   0   1   0   2   3   0   1   0   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both are from thrive                                                                                                                        2

 855   5   1   1   1   0   0   0   1   1   2   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 they both say Thrive but packaging and symbol are different                                                                                 2
 856   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   3 i could not tell, nothing to indicate it                                                                                                    2




 868   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   used different website style and packaging                                                                                                3
 869   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2   differant type product                                            2 no reason                                                             2
 870   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1   They both are from Thrive                                                                                                                 2
 871   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2   because they are                                                  3 because i dont know                                                   2
 872   4   1   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3   it might be                                                                                                                               3

                                                                                                                                             The branding appears to be completely different, including the        I feel like parent companies usually have somewhat similar
                                                                                                                                             package design, website design, and price points for the              products/branding/price points. These just feel completely
 882   3   1   1   1   0   0   0   1   1   2   3   0   1   1   0   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2 products and ingredients.                                           2 different.                                                            3

 892   4   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both say thrive and both agree cbd                                                                                                     2
 896   4   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 both by thrive                                                                                                                              2

 901   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   3   because i do                                                                                                                              2
 917   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1   same name thrive                                                                                                                          3
 924   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2   the look is so different                                          3 I am not sure if they have any connection, it's possible              2
 927   3   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2   they look different.                                              2 they don't look similar.                                              2
 929   4   1   1   1   0   0   0   1   1   2   0   0   1   1   0   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   2   for the name                                                      1 Why do you say that?                                                  1

 932   4   1   1   1   2   0   0   1   1   2   0   0   1   1   2   3   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   1 it made by THRIVE                                                                                                                           3

 944   5   1   1   1   0   0   4   1   1   0   0   4   1   0   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   2       1   3   3   Cannot tell if the same company produces these products.                                                                                  3
 954   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   Thrive is on both Labels.                                                                                                                 3
 967   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   3   does not say                                                                                                                              3
 977   6   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1   both are labeled "Thrive"                                                                                                                 2

 983   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both are called Thrive.                                                                                                                2
                                                                                                                                             They both say Thrive, but they don't have the same company
1000   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   2                   1   2   2   2   2   1   1   1   1   1   3   3 symbol.                                                                                                                                     2
1004   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 same name: Thrive                                                                                                                           3

1019   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both are branded to thrive                                                                                                                  2
1027   2   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Because it looks like it.                                                                                                                   2
                                                                                                                                                                                                                   I am not for sure and I didn't want to guess so I chose I didn't
1030   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 I couldn't find any similarities in the product branding            3 know                                                                  2

1039   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They're the same brand name.                                                                                                                2


1044   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both seem to have the same philosophical purpose                                                                                       2

1045   7   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They are both from Thrive!                                                                                                                  2

1064   3   1   1   1   2   0   0   1   1   2   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 It shows on the website and packaging they are from Thrive.                                                                                 1




                                                                                                                                                                                                                                          Thrive Final Raw Data.xlsx
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1069   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 I saw the word Thrive on both ads                                                                                   2
1092   2   1   1   1   0   0   0   1   1   0   0   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 The shape                                                                                                           1

                                                                                                                                             The two products share a name, Thrive, so I believe they're
                                                                                                                                             made by the same company. They look pretty similar from a
1167   3   1   1   1   0   3   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   1   1   1   1   1   1   3   1 packaging perspective as well.                                                                                      2

                                                                                                                                             They both have the brand name "Thrive" on it. That leads me to
1168   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 believe there the same brand for that sole reason.                                                                  2

1169   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They're both by a brand called Thrive                                                                               2
1170   4   1   1   1   0   0   0   1   1   2   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 company names are same                                                                                              2

                                                                                                                                             it shows clearly on both bottles that the brand is the same that
1172   4   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 which is thrive                                                                                                     2
1175   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   0   2   0   0   1   2   2   2   2   1   1   2       1   3   2 different products                                                 2 seems like that                                2

1178   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3   Not sure                                                                                                          2
1179   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1   thrive                                                                                                            2
1180   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2   one has CBD the other one does not                               3 I am not sure                                  3
1185   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3   not sure if it was the same                                                                                       2

1187   5   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 Yes it's possible that these two companies are working together                                                     2

1189   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 i dont see any information that says one way or another.                                                            3

1191   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 No they are not from the same production                           2 both products use different ingredients        2

1194   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 the same brand name                                                                                                 2

1199   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 The name on the package is the same                                                                                 2

1201   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 I saw the brand name and company name.                                                                              2

1204   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They had the same name and logo look                                                                                3


1206   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 They are both from Thrive                                                                                           2
1208   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same brand                                                                                                          2
1215   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They have the same brand name.                                                                                      2

1218   3   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 The website page looks different for each of the products.         3 They could be, the could not be.               2
1219   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                           2


                                                                                                                                             I think both product have different benefits but maybe have
1221   5   1   1   1   0   0   4   1   1   0   0   4   1   1   0   0   4   1   1   2   0   4   1   2   2   2   2   1   1   2       1   3   3 some similarity but I don't think is own by the same brand.                                                         3
1223   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same name on label                                                                                                  2
1228   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Same name of Thrive.                                                                                                2


1231   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                           2

1232   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both said Thrive                                                                                                    2

1248   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They look like they would offer the same stuff.                                                                     2
                                                                                                                                             One was only $17 and the other one for half the size was $62.
                                                                                                                                             Hard to believe the huge price difference if it was made by the
1261   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 same manufacturer.                                                 3 The huge price difference.                     2
1269   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 They look similar                                                                                                   2

1275   7   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                           2
1280   7   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 SEEM COMPATABLE PRODUCTS                                                                                            2

1296   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 different brands                                                   2 different brands                               2
1303   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2 Many things                                                        3 many reasons                                   1

1315   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They appear to be similar                                                                                           1

1322   7   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   2   3   0   1   2   2   2   2   1   1   2       1   3   1 I guess the company's name is Thrive                                                                                3


                                                                                                                                             both product have the same product company/brand name
1334   6   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Thrive and both sites have a Thrive product                                                                         2
1344   7   1   1   1   0   0   0   1   1   2   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Both are Trive.                                                                                                     2
1353   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same website                                                                                                        3
                                                                                                                                             even though same name Thrive ‐ first product produced by LV
1364   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 and 2nd no mention of LV                                           2 same as last reason                            2

1365   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                           3




                                                                                                                                                                                                                                        Thrive Final Raw Data.xlsx
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1428   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   2 The language and product designs are different                     2 The products appear like they have a very different heritage     2


1433   7   1   1   1   0   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1   They have the same name.                                                                                                            2
1459   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1   SAME NAME                                                                                                                           2
1479   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1   same name                                                                                                                           2
1519   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1   both say 'thrive'                                                                                                                   2

1525   4   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   2 they have different brand names.                                   3 i don't know that they dont belong to the same parent company.   2


1542   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 Same name                                                                                                                             2

1566   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 thrive produced these products                                                                                                        2

1575   4   1   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   2                   1   2   2   2   2   1   1   2       1   3   3 I don't have enough information to make an informed decision                                                                          2
1578   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 "Thrive" on the label, but I had to go back to check.                                                                                 3
1585   6   1   1   1   0   0   0   1   1   2   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 Both have Thrive in the name                                                                                                          3


                                                                                                                                             I said I am not sure if they were produced by the same company
1591   7   1   1   1   0   0   0   1   1   2   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 because I am not familiar with these products.                                                                                        3

1603   7   1   1   1   0   3   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same logo thrive                                                                                                                      2

1604   6   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both sites say Thrive                                                                                                                 3
1621   5   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   2 because the brand name is different                                2 because the brand name is different                              1
1623   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same brand name                                                                                                                       2

                                                                                                                                             i feel the products all have great benefits but are different to     i feel they can be affiliated because they have very similar
1627   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   4   1   1   2   3   4   1   2   2   2   2   1   1   2       1   3   2 one another so it can possibly be differen5t companies             1 benefits                                                         2
1635   6   1   1   1   0   0   0   1   1   0   0   0   1   1   2   0   0   1   0   2   0   0   1   2   2   2   2   1   1   1   1   1   3   1 I saw Thrive name in both products.                                                                                                   2
1641   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both said thrive                                                                                                                      3
                                                                                                                                                                                                                  The second product has CBD oil as a main ingredient. I think
                                                                                                                                             The products descriptions (wording). The second product seems        most companies who use CBD would include it in all of the
1655   7   1   1   1   0   0   4   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 like it would be sound in a healthfood store.                      2 products they sell.                                              2

                                                                                                                                             These product are similarly, one for normal face skin and other
1657   5   1   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 product is sensitive skin.                                                                                                            1
1660   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 just my impression                                                 2 just my impression                                               2
1665   7   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 because the product has the same name                                                                                                 1

1674   7   1   1   1   2   0   0   1   1   2   0   4   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   2 different looks                                                    3 could be under one umbrella company                              3
1677   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 saw the name Thrive on both                                                                                                           3
1680   5   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 thrive                                                                                                                                2
                                                                                                                                             because both products are offering almost the same level of
1686   5   1   1   1   2   0   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 service                                                                                                                               2

1688   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 Products look like they are meant for seperate target audiences    3 Would not assume they are connected                              2
1700   5   1   1   1   2   0   0   1   1   2   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   2 nothing to say                                                     1 more much favorable                                              2
1704   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 both say thrive                                                                                                                       3
                                                                                                                                                                                                                  It doesn't seem the two companies are associated with each
1734   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 the packaging for the products looks different...                  2 other...                                                         2
1741   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Because this is well                                                                                                                  1




1751   4   1   1   1   2   0   0   1   1   2   0   0   1   0   2   3   0   1   0   2   3   0   1   2   2   2   2   1   1   2       1   3   1 Because they both feature Thrive products.                                                                                            2

1758   6   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 The same brand is mentioned.                                                                                                          2
1767   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 because this is very likely                                                                                                           1

1779   7   1   1   1   0   0   4   1   1   0   0   4   2                   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                                             2

1785   6   1   1   1   0   3   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 No particular reason                                                                                                                  2
                                                                                                                                             It says Thrive on each product I believe its made by the same
1794   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 company                                                                                                                               2
1812   7   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 It good for your skin                                                                                                                 1

1817   7   1   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Both are Thrive                                                                                                                       3
1831   4   1   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They are both Thrive                                                                                                                  2

1833   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 the name is the same.                                                                                                                 2

1836   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Thrive is displayed on both products.                                                                                                 1

1841   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same manufacture name on the products and advertisements                                                                              2

1845   5   1   1   1   2   0   0   1   1   2   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   3 how would I know?                                                                                                                     3

1847   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 they both say "thrive"                                                                                                                2




                                                                                                                                                                                                                                        Thrive Final Raw Data.xlsx
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1852   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 i think both were from thrive.                                                                                                     2
1856   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 Thrive                                                                                                                             2
1858   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They're both Thrive                                                                                                                1

1859   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 both are the same brand, Thrive                                                                                                    2


1866   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both said Thrive on them                                                                                                      2

1871   5   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 because it has the same brand on the container                                                                                     2
                                                                                                                                                                                                                  I just saw those names were different but don't know if the
1877   5   1   1   1   0   0   0   1   1   0   0   0   1   1   2   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 I saw the company names below and those were different.            3 companies are same or not.                                    2

1878   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 the items have the same name on the packaging                                                                                      1

1880   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 Both say Thrive, but not sure if it's the same Thrive.                                                                             2
1882   7   1   1   1   0   0   0   1   1   0   3   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   3 not famular with products                                                                                                          3


1886   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 They are both from Thive.                                                                                                          2
1894   4   1   1   1   2   3   4   1   1   2   3   4   1   1   2   3   4   1   1   2   3   4   1   2   2   2   2   1   1   2       1   3   1 Same product brands                                                                                                                2

1895   4   1   1   1   0   0   0   1   1   2   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1   They have the same name                                                                                                          2
1902   5   1   1   1   2   3   0   1   1   0   3   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1   two types of product but same company                                                                                            2
1910   5   1   1   1   2   0   0   1   1   2   3   0   2                   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1   look a like                                                                                                                      2
1915   4   1   1   1   2   3   0   1   1   2   3   0   2                   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2   diffrent name                                                    1 they tend to work towards the same issues for skin care       1


1919   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 because they were both Thrive Products                                                                                             2

1924   3   1   1   1   0   3   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1 Both are thrive.                                                                                                                   3

1931   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 CANT TELL                                                                                                                          3
1935   7   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both pages say "Thrive"                                                                                                            2

                                                                                                                                             The use of the word "thrive" and the logo were the same in both
1942   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 products. Seems like it was a 2 step process.                                                                                      2
1943   5   1   1   1   2   0   0   1   1   2   0   0   1   0   2   0   0   1   0   2   0   0   1   2   2   2   2   1   1   2       1   3   1 It said Thrive on both products                                                                                                    2




1952   4   1   1   1   0   3   0   1   1   0   3   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 They both have the same name "Thrive"                                                                                              2
1963   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 they had didn't names on the sites                                 3 I didn't read anything saying that it's the same company      2
1966   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 not sure                                                                                                                           2
                                                                                                                                             This survey doesn't make any sense. the question you ask can
1972   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 not be answered. I will be leaving this survey.                                                                                    2


                                                                                                                                             They are both Thrive. Although, I was hesitant to mark yes
1989   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 because the brands and websites look different from each other.                                                                    2
1995   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 it is same brand                                                                                                                   1
                                                                                                                                             The packaging is different which makes me thing they are             The packaging is different which makes me thing they are
2004   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 different companies                                                2 different companies                                           2
2011   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 name says thrive on both                                                                                                           2


                                                                                                                                             While they have the same parent name, Thrive, the websites are
2014   4   1   1   1   2   0   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 completely different as well as packaging and appearance           3 Can't say for certain                                         2
2024   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2 don't know                                                         2 don't know                                                    1

2025   4   1   1   1   2   3   0   1   1   2   3   0   2                   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 they are not same                                                  1 same product                                                  2
2030   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                                          2

                                                                                                                                             Both called "Thrive" but I did notice the first has a registered
                                                                                                                                             trademark and the second doesn't. This could nean they are no
2033   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 affiliated.                                                                                                                        2




2040   3   1   1   1   2   0   0   1   1   2   0   0   2                   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They were both from the same company, Thrive.                                                                                      2
2042   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 The company names are different.                                   2 The name of the companies are different.                      2

2071   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They look similar and does about the same thing.                                                                                   1
                                                                                                                                             only one said comes from natural, the other one didn't show
2072   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   3 more details                                                                                                                       3
2083   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 the brand looks different                                          3 they could have the same parent company                       2
2091   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Both are Thrive                                                                                                                    3




                                                                                                                                                                                                                                          Thrive Final Raw Data.xlsx
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2101   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 they are both made by thrive                                                                                                     3

2106   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 All show Thrive                                                                                                                  2
2109   5   1   1   1   2   0   0   1   1   2   0   0   1   0   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   1 because they have the same name as manufacturer                                                                                  1
2112   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   2 they look like different brands                                      3 not sure if they are affiliated                           2


2115   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Cause the name of the brand is the same in both products                                                                         2
                                                                                                                                             They are both "thrive" products and i was wondering if they
                                                                                                                                             were associated with the thrive products of nutritional
2120   6   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 supplements                                                                                                                      3
2133   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 cbd natural products                                                                                                             2
2136   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 thrive                                                                                                                           3

2147   6   1   1   1   0   3   4   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 different brand, color, design and size                              2 different color,brands, design and product descriptions   2

2179   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same brand: thrive                                                                                                               2
2183   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Both called Thrive                                                                                                               2

2202   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 Similar products have no clue where manufactured.                                                                                3
2205   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                                        2




2206   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   2 They're too different.                                               2 Because they don't look like they are.                    2

2211   4   1   1   1   2   3   0   1   1   0   0   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 They have similar logo and information on package                                                                                2
2217   5   1   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 I am not familiar with the companies advertised                                                                                  2


2222   6   1   1   1   0   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both brands are the same and they said so on the labels                                                                          2

2230   6   1   1   1   2   0   0   1   1   2   0   0   2                   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both use the word Thrive.                                                                                                   2

2239   6   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 because I am not totally sure                                                                                                    2
2240   5   1   1   1   0   0   0   1   1   0   3   0   1   0   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 Same brand                                                                                                                       3
2249   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They had the same product name                                                                                                   2


2250   5   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   2   Because it looks like some difference between them.                2 I saw they are pretty much different.                     1
2256   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   theive                                                                                                                         2
2272   4   1   1   1   2   3   0   1   1   2   0   0   2                   1   0   2   0   0   1   2   2   2   2   1   1   2       1   3   3   I would like all of these products.                                                                                            2
2295   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   they are both named thrive                                                                                                     3

2304   2   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   3 I don't think these would be made by same manufacturers                                                                          3
                                                                                                                                             Because one says Thrive and the other Thrive skin and their
2309   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 packaging is so different.                                                                                                       2

2322   5   1   1   1   2   3   0   1   1   2   0   0   1   1   2   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 they don't have anything in common that I can see                    2 because they just don't look like they belong together    1


2326   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 Just different overall feel.                                         2 Not similar enough.                                       2


2329   3   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   1 I say that because their packaging looks kind of similar.                                                                        2

                                                                                                                                             Wasn't clear on the 2nd one. Also ‐ many companies market
2334   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 under different names.                                                                                                           3

                                                                                                                                             Those products what we saw its skin products its beneficail for
2342   7   1   1   1   2   0   0   1   1   0   3   0   1   1   2   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 us and productive                                                                                                                2
2344   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same brand name                                                                                                                  2


2345   6   1   1   1   0   0   4   1   1   0   0   4   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They both say Thrive                                                                                                             2




                                                                                                                                             They both feature the name "Thrive" on their bottles/product
2348   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   2                   1   2   2   2   2   1   1   2       1   3   1 descriptions.                                                                                                                    2

                                                                                                                                             Not familiar with the brand but it does look as if one is designed
2355   4   1   1   1   0   3   0   1   1   2   3   0   1   1   0   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3 to appeal to cishet men and the other to women                                                                                   2

2356   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both have the name Thrive on the bottle.                                                                                         2

2358   7   1   1   1   2   0   0   1   1   2   0   0   2                   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Just noticed the manufacuture name is the same                                                                                   2
2361   3   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   4   1   1   2   0   4   1   2   2   2   2   1   1   2       1   3   1 both are thrive and have the same logo                                                                                           2
2372   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 nothing listed                                                                                                                   3

2376   4   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 company name is the same, but branding looks very different                                                                      3




                                                                                                                                                                                                                                           Thrive Final Raw Data.xlsx
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2378   5   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 they have the same brand name                                                                                                                2


2389   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They have the same name on the packaging                                                                                                     2

2395   6   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 The name is the same so would be likely the same company                                                                                     3
                                                                                                                                             i think they are from the same company they go together and
2396   7   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 work together                                                                                                                                2

2406   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2 because all models seem to be from different companies                   2 because all models seem to be from different companies            2
2407   5   1   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Because the both have same trade mark (Thrive skin)                                                                                          2


2408   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both say THRIVE on the website.                                                                                                         2
2409   6   1   1   1   0   3   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 different types of product                                               1 same name                                                         2
                                                                                                                                             The brand names were the same (Thrive) but they looked quite
2417   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 different in terms of aesthetic and design.                                                                                                  2
2426   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 no way to tell                                                                                                                               3
2430   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 they both said Thrive                                                                                                                        2
2432   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3 i dont know                                                                                                                                  3
2439   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1 Looks like it                                                                                                                                3
2441   6   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same name, Thrive                                                                                                                            2

2442   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   0   4   1   0   0   3   4   1   2   2   2   2   1   1   2       1   3   1 same name                                                                                                                                    3

2446   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They all said "Thrive"                                                                                                                       2

2447   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   2       1   3   1 They are both called Thrive                                                                                                                  2

2450   6   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   1 With Thrive as the name one assumes they are the same                                                                                        2

2452   5   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 they are both made by Thrive                                                                                                                 3

2458   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 both have Thrive                                                                                                                             2
                                                                                                                                             They both say Thrive, so even though they look way different
2461   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 I'm assuming they're by the same company.                                                                                                    2
2464   5   1   1   1   0   3   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 they both say Thrive but have different looks and logos                                                                                      2

2465   4   1   1   1   2   3   0   1   1   2   3   0   1   0   2   3   0   1   0   2   3   0   1   2   2   2   2   1   1   2       1   3   1 It is the same logo                                                                                                                          2
                                                                                                                                                                                                                        They have different types of ingredients in them that they are
2467   5   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 One has CBD in it and the other is for sensitive skin.                   2 sourced from.                                                     2

                                                                                                                                             They both say Thrive, but appear different still. Could be a
2471   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 coincidence, or not.                                                                                                                         2

2478   3   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same product brand name, similar values.                                                                                                     2

                                                                                                                                             I would believe that these are owned by the same company
2479   3   1   1   1   0   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 because it is the same brand name.                                                                                                           2

2481   4   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   1 because they have the same name                                                                                                              3
2489   4   1   1   1   2   0   0   1   1   2   3   0   1   1   2   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3 I cannot say                                                                                                                                 2

2491   5   1   1   1   0   0   0   1   1   0   0   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1   They both used Thrive. It felt like that was part of their branding.                                                                       2
2492   4   1   1   1   0   0   0   1   1   0   0   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1   same thrive names and look.                                                                                                                2
2497   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   2                   1   2   2   2   2   1   1   1   1   1   3   1   they are both by thrive                                                                                                                    2
2499   5   1   1   1   0   3   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1   look the same                                                                                                                              3

2501   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 The same brand was listed on each                                                                                                            2
2506   3   1   1   1   0   3   0   1   1   2   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 Different brand                                                          3 i am not sure                                                     2
2513   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 the same name                                                                                                                                3
2517   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 They have the same name.                                                                                                                     2
                                                                                                                                             They have very different looks and different copy, but it's
                                                                                                                                             possible they're from the same company trying to target two
2519   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 different market segments.                                                                                                                   3

2522   6   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 Both had Thrive tied to the name                                                                                                             2
2529   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   0   4   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 names are similar                                                                                                                            2

                                                                                                                                             Slightly different name and very different marketing (label,               The companies look too different to be connected. If it was the
2531   3   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   1   0   3   4   1   2   2   2   2   1   1   1   1   1   3   2 website, etc).                                                           2 same company, they would have a similar label and website.        2


2534   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They have the same brand name                                                                                                                2
2538   5   1   1   1   0   0   0   1   1   0   0   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   2 Different brands                                                         2 Different brands                                                  2


2556   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They are both made by Thrive skincare company                                                                                                2

2558   6   1   1   1   0   3   0   1   1   2   3   0   1   0   0   0   4   1   0   0   3   4   1   2   2   2   2   1   1   2       1   3   1 Both say Thrive                                                                                                                              2




                                                                                                                                                                                                                                             Thrive Final Raw Data.xlsx
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                                                                                                                                             They're both named Thrive but looked completely different
2559   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 (packaging and website)                                                                                                          2
2567   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 they both save thrive                                                                                                            2

2576   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 I don't know. It was not mentioned.                                                                                              3
2585   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2 look this not the same                                              1 cool                                                       2

2595   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same brand Thrive                                                                                                                2
2598   3   1   1   1   2   3   4   1   1   2   3   4   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Same name                                                                                                                        2

2600   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both seem to be from thrive                                                                                                      2
2601   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 same name                                                                                                                        3


2602   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both products are affiliated with Thrive.                                                                                        2
2604   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 The same combination                                                                                                             2

2610   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 they both say thrive                                                                                                             2
2619   5   1   1   1   0   0   0   1   1   2   0   0   1   0   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   1 It is from the same brand name.                                                                                                  2

2622   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 From the information it is unclear if they are related                                                                           3

2625   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They are both Thrive items                                                                                                       3

2642   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 seemed like the same branding                                                                                                    2

                                                                                                                                             Both are through a company called "Thrive." The logo for one
                                                                                                                                             product was rather feminine while the other logo had a very
2648   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 masculine image. Both were via Thrive though                                                                                     2
                                                                                                                                             On the website, while it looked different, they both had
                                                                                                                                             branding from Thrive. However, the more expensive product
2653   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 had a fancier website.                                                                                                           2
                                                                                                                                             They both had the name "thrive" or were featured on the Thrive
2672   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 website.                                                                                                                         2
2673   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 Different brand                                                     3 I don't know                                               2


2676   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 Couldnt tell from what I saw                                                                                                     2
                                                                                                                                             Even though I haven't seen this products before I saw in the logo
2680   4   1   1   1   0   0   0   1   1   2   0   0   1   0   0   3   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   1 but had the name Thrive                                                                                                          3

                                                                                                                                             The websites were both so different in appearance. The first
                                                                                                                                             website is fresh and white and modern and simple. The
                                                                                                                                             packaging looks high quality and the price reflects better
                                                                                                                                             ingredients, a more prestige or specialty brand of skincare. The
                                                                                                                                             second Thrive website looks a bit cluttered and dated. The
                                                                                                                                             product is lower priced and is in a tinted brown plastic bottle
                                                                                                                                             with lots of text, and the package design is cluttered and too        Although the companies both share the Thrive name, the
2681   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 busy. It looks more like a mainstream brand.                        2 websites and product packaging were both very different.   2
2685   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both say thrive                                                                                                                  3
2688   4   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same name                                                                                                                        2


2691   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 Same company name                                                                                                                2
2692   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 because of the different names                                                                                                   2
2709   2   1   1   1   2   3   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 i dont know                                                         2 they seem different                                        3


2712   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 The names are the same but the font and logo are different                                                                       2

2717   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 the word Thrive is used in both products                                                                                         3
                                                                                                                                             The packaging and colors are different, it makes me think they
2718   3   1   1   1   0   3   0   1   1   0   3   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   3 are from different companies                                                                                                     2
2721   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 Both labeled as thrive                                                                                                           2
2725   4   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Same brand.                                                                                                                      1
2729   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 I know nothing about the products.                                                                                               3

2735   4   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   1 They are both labeled Thrive                                                                                                     2




2743   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both say Thrive.                                                                                                            2
                                                                                                                                             Both products are made from natural products so I think they
                                                                                                                                             could be produced by the same manufacturer but under
2748   6   1   1   1   0   3   0   1   1   0   3   0   2                   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 different divisions.                                                                                                             2


2750   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1 Same brand name.                                                                                                                 2
2756   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 the name of the product                                                                                                          2
2759   4   1   1   1   2   3   0   1   1   2   3   4   1   0   2   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 because I saw the same name                                                                                                      3




                                                                                                                                                                                                                                         Thrive Final Raw Data.xlsx
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2765   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both say Thrive                                                                                                                     3
                                                                                                                                             They don't seem to have much in common, except they both
2767   5   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   3 "relax" skin.                                                                                                                            2

2775   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 see no connection                                                   1 could be, for natural products                                     2

2777   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 they are made from thrive                                                                                                                3
2783   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 they both say thrive                                                                                                                     2
                                                                                                                                             Each company specific product and each product offers different
2791   5   1   1   1   2   0   0   1   1   2   0   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2 benefits                                                            1 Because it seeks to provide the best for the skin                  2
2795   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both say Thrive                                                                                                                          2
2808   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 Thrive skin, the same.                                                                                                                   1

2814   5   1   1   1   2   0   0   1   1   0   0   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Because they are similar in quality and shape                                                                                            2


2821   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   2                   1   2   2   2   2   1   1   2       1   3   1 I assume so because they are both called THRIVE                                                                                          2
2824   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 sane company                                                                                                                             1


2829   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Thrive is both products names.                                                                                                           2
2831   4   1   1   1   2   3   0   1   1   2   3   0   2                   1   0   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both say THRIVE on them                                                                                                             2
                                                                                                                                             because they both have the same name brand thrive on the
2838   4   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 bottles                                                                                                                                  3
                                                                                                                                             the designs of the bottles dont look like the same company
2843   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 would make them                                                                                                                          3
2844   3   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name thrive                                                                                                                         2

2845   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 same main name of Thrive                                                                                                                 3




                                                                                                                                             The name brand on the products are different and the packaging        I'm not sure if they are connected or affiliated with each other
2847   4   1   1   1   2   3   4   1   1   2   3   0   1   0   2   3   4   1   0   2   3   4   1   2   2   2   2   1   1   2       1   3   2 is different.                                                       3 because they have their own branding.                              2

2850   2   1   1   1   0   0   0   1   1   0   0   0   2                   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   2 they have different purpose, different names and colors             2 many compete within each other                                     2

2867   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 They both have Thrive in the name                                                                                                        3


2869   3   1   1   1   2   0   4   1   1   0   0   4   1   1   0   3   0   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 The brand has the same name on the packaging.                                                                                            2


                                                                                                                                             They were both named Thrive, which makes me think they might
2878   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 be the same company.                                                                                                                     2

2879   7   1   1   1   2   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Both say Thrive                                                                                                                          2


2890   7   1   1   1   0   0   0   1   1   0   0   4   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   2       1   3   1 the logo is there both read thrive                                                                                                       3

2893   7   1   1   1   0   3   0   1   1   0   0   4   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   2       1   3   1 They're both Thrive products.                                                                                                            3


                                                                                                                                             Same answer. Different names. No evidence that they are               Same answer. They could have the same parent company, but
2894   6   1   1   1   0   0   4   1   1   0   0   4   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   2 owned by the same parent company.                                   3 there is no evidence of it.                                        3

2896   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both say THRIVE                                                                                                                     2

                                                                                                                                             They're the same brand, although the style of packaging is
2902   7   1   1   1   0   0   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 different.                                                                                                                               3
2906   5   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   4   1   0   2   3   0   1   2   2   2   2   1   1   2       1   3   3 not very clear                                                                                                                           3

                                                                                                                                             The colors in the ad as well as a logo near one of the bottles is     If the name is the same and the companies were the same they
2908   7   1   1   1   0   3   4   1   1   0   3   4   1   0   0   3   0   1   0   0   3   4   1   2   2   2   2   1   1   1   1   1   3   2 so different. Also the bottle designs and colors are different      2 should have the same colors on the products and logos              2
2914   3   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 Company names are the same but look different.                                                                                           2

2920   7   1   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 I'm just not sure                                                                                                                        3
2922   4   1   1   1   0   0   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both talk about healing                                                                                                             3

2932   6   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1 They both have name Thrive on the product.                                                                                               3

2933   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They have the same company name.                                                                                                         2
2934   7   1   1   1   0   0   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 It shows the same brand name "Thrive"                                                                                                    3

2939   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 same as before                                                      3 same as before                                                     2
2942   3   1   1   1   2   0   0   1   1   2   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 literally says the same brand name                                                                                                       2


2958   7   1   1   1   0   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 The range of pricing and packaging                                  2 The vast difference in packaging, description and pricing          2

2977   6   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Its called Thrive                                                                                                                        3




                                                                                                                                                                                                                                        Thrive Final Raw Data.xlsx
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2978   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 Both products mention the brand name thrive.                                                                                        2

2987   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Because they both have the Thrive name                                                                                              3
2988   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 looks the same                                                                                                                      1
2993   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 Thrive company                                                                                                                      3

2996   6   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   1 They are both Thrive                                                                                                                2

2998   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both labeled with the word Thrive                                                                                                   2

3001   7   1   1   1   2   3   0   1   1   2   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1   Both state Thrive                                                                                                                 2
3004   6   1   1   1   2   0   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   They both have the name Thrive                                                                                                    2
3019   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   2   because the two products have the same usage                       2 opinon                                                       2
3022   2   1   1   1   0   3   0   1   1   0   3   4   2                   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   similar use                                                                                                                       2

3026   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Thrive is on both.                                                                                                                  2

3039   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They have the same name.                                                                                                            2

3042   3   1   1   1   2   3   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2   they look completely different                                     3 i don't know                                                 2
3045   3   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1   Thrive brand name                                                                                                                 2
3050   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   Thrive in both names                                                                                                              2
3056   7   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   1   I can think of it because they have the same ingredients                                                                          2
3059   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1   They both have "Thrive" in the title                                                                                              3


3063   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 I believe they are from Thrive.                                                                                                     2
3064   4   1   1   1   2   3   0   1   1   2   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 It's on the label                                                                                                                   2
3071   6   1   1   1   2   0   0   1   1   2   0   0   2                   2                   1   2   2   2   2   1   1   1   1   1   3   1 both work for Thrive                                                                                                                2

3076   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Ones a product for females and 1 is a product for a male.                                                                           1
                                                                                                                                             they both say Thrive, which should be the same company unless
                                                                                                                                             two companies somehow got away without a lawsuit, but they
3080   3   1   1   1   0   3   0   1   1   0   3   0   2                   2                   1   2   2   2   2   1   1   2       1   3   3 seem completely different.                                                                                                          2
3081   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Same nameThrive                                                                                                                     3
3091   5   1   1   1   0   0   4   1   1   0   0   4   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   3 same name, different packaging trademark                                                                                            3

3106   7   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 it is really hard to say with not more information!!!!!                                                                             2
3109   6   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same type of name                                                                                                                   2
3116   4   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same brand name.                                                                                                                    2
                                                                                                                                             Both products help to manage the negative effects of stress on
3119   6   1   1   1   2   0   0   1   1   0   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 the skin.                                                                                                                           3
                                                                                                                                             Same description, same functioning and using the same
                                                                                                                                             technical language. Beside, the products presented are the same
3122   6   1   1   1   2   3   0   1   1   2   3   0   1   0   2   3   0   1   0   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 or looking similar                                                                                                                  2

                                                                                                                                             they possibly could be from the same source, as they both have
3127   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 derivitaves of cbd/plants                                                                                                           2

                                                                                                                                               Usually you have a similarity between packages if they come
3129   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2   from the same company                                              2 No reason really. Just look too different to have cohesion   2
3131   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1   They bot have the same name label on them                                                                                         1
3139   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1   both have 'Thrive'                                                                                                                2
                                                                                                                                               Because both products show that they were made by the
3155   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1   company Thrive.                                                                                                                   2

3163   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 It says Thrive brand                                                                                                                2
3170   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 they have the same name Thrive                                                                                                      2
3178   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both made by Thrive                                                                                                                 2

3180   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 says so                                                                                                                             2

3181   5   1   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both products have the same brand name, "Thrive."                                                                                   2

                                                                                                                                             This is the same company, may just be a separate division due to
3188   5   1   1   1   0   0   0   1   1   0   0   0   2                   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 one item having CBD in it. The company is Thrive                                                                                    2

                                                                                                                                               I was tempted to say yes, but one product says Thrive skin, and
                                                                                                                                               then other simply says Thrive so it could be from the same
                                                                                                                                               company but I am not sure. The packaging is also quite
3199   4   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3   different.                                                                                                                        2
3207   5   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2   they are different                                                 2 not same company                                             2
3209   5   1   1   1   0   0   0   1   1   0   0   0   2                   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   2   labels are different                                               2 labels are different                                         2
                                                                                                                                               I am not sure if they are from the same company as it is hard to
3212   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3   see.                                                                                                                              3




3213   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both have Thrive.                                                                                                              2
3215   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They are both Thrive                                                                                                                2




                                                                                                                                                                                                                                           Thrive Final Raw Data.xlsx
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                                                                                                                                             Though the packaging looks totally different the name of brand
3226   3   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 and ingredients CBD etc hints at being the same brand.                                                                    2

3230   6   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 The name of the company is on the product                                                                                 2

3231   6   1   1   1   0   0   0   1   1   2   0   0   1   1   0   0   4   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   1 the names says it all                                                                                                     2
3232   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both said Thrive on the label.                                                                                       3

3233   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both are THRIVE                                                                                                      2
                                                                                                                                             They both say "thrive" but from the packaging look like totally
3234   6   1   1   1   0   0   4   1   1   0   0   4   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 different companies.                                                                                                      2
3239   6   1   1   1   0   0   0   1   1   0   0   0   1   0   2   0   0   1   0   2   0   0   1   2   2   2   2   1   1   1   1   1   3   2 im not sure                                                          2 it could be true                                   2
3240   4   1   1   1   2   0   4   1   1   2   0   4   1   0   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   3 not sure                                                                                                                  2




3244   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 They both have the same name.                                                                                             2

3256   5   1   1   1   0   0   4   1   1   0   0   4   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same brand name on bottles                                                                                                3
3257   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 they are the same                                                                                                         2


3260   3   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 they do not seem the same                                            2 they do not seem the same                          2
3263   6   1   1   1   0   0   0   1   1   0   0   0   2                   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 The second one uses CBD                                              2 They all seem to use CBD                           2

3271   5   1   1   1   2   0   0   1   1   0   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Thrive is the overall company brand of each of these items                                                                2
3272   3   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 different brands                                                     3 don't know brands well                             2


3284   4   1   1   1   2   0   0   1   1   2   3   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 it says it there thta they are obth from thrive.                                                                          2
3291   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   4   1   0   2   3   0   1   2   2   2   2   1   1   2       1   3   2 one was big bold thrive other was different                          1 maybe the same line just different partner names   2

3293   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 unsure                                                                                                                    3

3300   5   1   1   1   0   0   0   1   1   0   0   0   1   0   2   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 they both say thrive                                                                                                      2
3306   3   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same name                                                                                                                 2
                                                                                                                                             They have the same name. However, one seems more geared
3313   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 for high end shoppers                                                                                                     2
3319   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3 They both look unique                                                                                                     3
3324   3   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 need more info                                                                                                            2

3326   5   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 seems like same product                                                                                                   1

3328   4   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 packaging/style                                                      2 totally different manufacturer names               2
3332   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 They both saif Rgrive                                                                                                     3

3334   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 im not sure                                                                                                               2

3339   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both were called Thrive                                                                                                   2


3342   3   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   2   2   2   2   1   1   2       1   3   1 They have the same manufacturer name: THRIVE                                                                              2

3362   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 both have the same name...thrive                                                                                          2
                                                                                                                                             They both have the name thrive, despite the different messaging
                                                                                                                                             and product design. I think they could be different "lines" of the
3373   3   1   1   1   0   0   0   1   1   2   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1 same product                                                                                                              3
3374   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name                                                                                                                 2

                                                                                                                                             Ingredients are similar by being organic and it’s hard to
3378   4   1   1   1   2   3   4   1   1   2   3   4   1   1   2   3   4   1   1   2   3   4   1   2   2   2   2   1   1   2       1   3   3 differentiate the two.                                                                                                    2
                                                                                                                                             The name (Thrive) is the same, but the branding and websites
3390   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 look totally different.                                                                                                   2

3392   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 These are very similar products.                                                                                          2

3395   3   1   1   1   2   0   0   1   1   2   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1 they are good products and similar activities                                                                             1
3396   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 Says Thrive                                                                                                               2
3439   6   1   1   1   0   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 it has the same name                                                                                                      2

3441   4   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 it looks like a completely different product                                                                              3

3445   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 name i the same...Thrive                                                                                                  2

3446   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both say THRIVE on the package.                                                                                      1
3447   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 different brand names                                                3 I do not know if there is a parent company         2




3450   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 I'm not sure. I feel like they could be but I'm not sure                                                                  2




                                                                                                                                                                                                                                         Thrive Final Raw Data.xlsx
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3453   4   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Same name.                                                                                                                  3


3454   6   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   4   1   0   0   3   4   1   2   2   2   2   1   1   1   1   1   3   1 It says Thrive and it is both skincare.                                                                                     2

3469   7   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 The name of the brand is the same                                                                                           2
3470   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 same name and type of product                                                                                               2

3472   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 THRIVE was a big clue.                                                                                                      3
3476   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   1   1   1   3   2 No info connecting them                                             2 They look different completely                        2

3485   6   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 It says "Thrive brand" products on the ads.                                                                                 2




3489   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They both have the Thrive name.                                                                                             3
3495   5   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 i believe both are from Thrive                                                                                              1
                                                                                                                                             I honestly can't tell differences between most skincare things, I
3497   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 only use like aveeno                                                                                                        2

3520   3   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 Different looks                                                     2 Different vibes                                       2

3527   3   1   1   1   2   0   0   1   1   2   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 since they have the same company name on the bottles                                                                        2


3530   2   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 they both say THRIVE SKIN                                                                                                   2
3551   3   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 cant tell                                                                                                                   3




                                                                                                                                             Both products appear to be from Thrive, which I know provides
3558   4   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 my family with organic goods.                                                                                               2
3560   4   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 both say thirve                                                                                                             3
3574   4   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Thrive                                                                                                                      2


3581   2   1   1   1   2   0   0   1   1   2   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1 Both say Thrive on the product                                                                                              2
                                                                                                                                             the brand logos looked different and they offered different
3588   4   1   1   1   0   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 ingredients in theirs                                               2 tehy offer two diffferent types of the smae prodcut   3

3593   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   3 The name was the same but the logo/site looked different                                                                    3

3600   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 Both products claim to reduce stress in the skin.                                                                           2


                                                                                                                                             They both have the word "Thrive" in them but the logos and
                                                                                                                                             slogans are different. "Thrive" is a common word in the natural
                                                                                                                                             product world and so the word being used on both product
                                                                                                                                             pages doesn't need to be a sign of connected brands in my
                                                                                                                                             opinion. The product pages both have a natural skincare vibe
                                                                                                                                             but look like different brands because the layout and product
3604   4   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 info is completely different.                                                                                               3
3605   4   1   1   1   0   3   0   1   1   0   3   0   1   0   2   3   0   1   0   2   0   0   1   2   2   2   2   1   1   2       1   3   1 most of the content to be the same                                                                                          3
3607   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 same brands                                                                                                                 2

3610   5   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   1 Because The brand is Thrive.                                                                                                3
                                                                                                                                             Both of the products stated that they were from Thrive
                                                                                                                                             Cosmetics so at face value, it appears that they are from the
3617   3   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   2       1   3   1 same manufacturer, company, etc.                                                                                            2

3622   3   1   1   1   2   0   0   1   1   2   3   4   1   0   2   0   0   1   0   2   3   0   1   2   2   2   2   1   1   2       1   3   1 They are both called Thrivent                                                                                               2


3624   2   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   2 One had the use of CBD oil and the other didnt.                     2 They were targeting different people.                 2
3626   3   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   3 dont know                                                                                                                   2

3631   4   1   1   1   0   0   4   1   1   0   0   4   1   1   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1 they are both thrive                                                                                                        2


3633   4   1   1   1   0   0   4   1   1   2   3   4   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   2       1   3   1 Both appeared to be from Thrive.                                                                                            3

3639   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both carry Thrive name.                                                                                                     1
3647   6   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Both made by Thrive                                                                                                         2
                                                                                                                                             Both have Thrive at the top of the bottle in the same type of
3648   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 print.                                                                                                                      3

                                                                                                                                             I feel the same about these two products as the previous
3652   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 answer; one also seems more masculine than the other                                                                        3
3654   4   1   1   1   2   0   0   1   1   2   0   0   1   1   0   0   0   1   1   2   0   0   1   2   2   2   2   1   1   1   1   1   3   2 Because this seems clear from the announcement                      2 Because this seems clear from the announcement        2




                                                                                                                                                                                                                                        Thrive Final Raw Data.xlsx
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3656   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 thrive                                                                                                                              2
3660   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 they both say Thrive                                                                                                                2


3662   4   1   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   2   they seem from two different manufacturers.                       3 not sure                                                      2
3663   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3   it could be, the pricing isn't much different                                                                                     3
3664   5   1   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1   same company name was listed                                                                                                      2
3666   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1   I believe that they both said Thrive Skin Products                                                                                2
3672   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1   same brand name                                                                                                                   2

3694   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both have the Thrive name on the product.                                                                                      3
3699   5   1   1   1   2   0   4   1   1   2   0   4   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 same brand name                                                                                                                     2
                                                                                                                                             they seem to do different things and are made of different            they are both in the skin care world so they are associated
3707   6   1   1   1   2   0   0   1   1   2   0   0   1   0   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   2 things                                                              1 somehow                                                       2
3708   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   2                   1   2   2   2   2   1   1   2       1   3   1 They are both called Thrive                                                                                                         2
3713   6   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Thrive for both                                                                                                                     2

3714   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   3 the package looks different                                                                                                         1

                                                                                                                                             They share the same name (Thrive) but the packaging is
3715   5   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 different. It could be the same company with updated branding.                                                                      2
                                                                                                                                             The brand name on the two products are the same and bottles
3721   6   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   1 looks the same.                                                                                                                     2

3724   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They both say Thrive as the brand                                                                                                   2
3728   4   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 They look the same                                                                                                                  3

3752   7   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They shared a name near the top of the product.                                                                                     3

3757   7   1   1   1   2   0   0   1   1   2   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They were both Thrive products!                                                                                                     2
3763   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Same company name.                                                                                                                  2
                                                                                                                                             They both come from Thrive, but they look different and there
3790   4   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   2   2   2   2   1   1   1   1   1   3   3 wasn't enough info for me to tell.                                                                                                  2
3798   4   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same name                                                                                                                           2




                                                                                                                                             this one is more confusing. both are "thrive" but the price
3799   4   1   1   1   0   0   4   1   1   0   0   4   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   3 differential and packaging are totally different.                                                                                   3

3802   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 they have the same name                                                                                                             3
3803   5   1   1   1   0   0   0   1   1   0   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 same brand name, different web sites.                                                                                               2
3805   3   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   2       1   3   2 Different web designs                                               1 Similar products                                              1


3806   6   1   1   1   2   0   4   1   1   2   0   4   1   1   0   0   4   1   1   0   0   4   1   2   2   2   2   1   1   1   1   1   3   1 they both say thrive                                                                                                                2
3809   4   1   1   1   0   0   0   1   1   2   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   2   1   1   2       1   3   1 Same company name on bottles                                                                                                        2

3817   3   1   1   1   2   0   0   1   1   2   0   0   1   0   0   0   4   1   0   0   0   4   1   2   2   2   1   1   1   2       1   3   2   The CBD is expensive                                              2   CBD has their own company                                   2
3834   4   1   1   1   0   3   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2   2 different brand name and logos                                  2   different logos, company names                              2
3840   5   1   1   1   2   0   0   1   1   2   0   0   1   1   2   0   0   1   0   2   0   0   1   2   2   2   2   1   1   2       1   3   2   diferents brands                                                  2   only skin products                                          2
3845   6   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2   different                                                         2   different                                                   2

3854   4   1   1   1   0   0   0   1   1   0   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 They have the same name ‐ Thrive                                                                                                    2
3858   5   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 don't see a common name                                                                                                             2
3859   5   1   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 Easier to read this time                                                                                                            2
3864   5   1   1   1   2   3   0   1   1   2   3   0   1   1   0   3   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   1 It has the same company name                                                                                                        3
                                                                                                                                             They are both for your face, but it does not show the company
3866   5   1   1   1   0   0   0   1   1   0   0   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   2       1   3   3 name on the image provided.                                                                                                         3
3868   5   1   1   1   0   3   0   1   1   2   3   0   1   1   2   0   0   1   1   2   3   0   1   2   2   2   2   1   1   2       1   3   1 Premium quality                                                                                                                     2


3869   5   1   1   1   0   3   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   3 One is more expensive                                                                                                               2

                                                                                                                                             they both use the "Thrive" labeling and the bottle top dispensers
3870   4   1   1   1   2   3   0   1   1   2   3   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 are the same shape                                                                                                                  2
3874   5   1   1   1   0   0   0   1   1   0   0   0   2                   2                   1   2   2   2   2   1   1   2       1   3   1 Same name                                                                                                                           2

3882   6   1   1   1   0   0   0   1   1   0   3   0   1   1   0   0   0   1   1   0   3   0   1   2   2   2   2   1   1   1   1   1   3   2 one is from a auto ship company                                     2 they would each have their own company                        3

3884   7   1   1   1   0   0   0   1   1   0   0   0   1   0   0   3   0   1   0   0   3   0   1   2   2   2   2   1   1   1   1   1   3   1 Same name on the bottle, Thrive                                                                                                     3




                                                                                                                                                                                                                                        Thrive Final Raw Data.xlsx
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Q19b                                                               Q20b Q21b                                                             Q18c Q19c                                                                 Q20c Q21c                                                                  Q18d Q19d                                                                Q20d
I think they're different, but you said not to guess.                                                                                       3 Probably different, but can't guess                                                                                                                3 I think they're different, but don't know for sure

different brand                                                       2 diffrent brand                                                       2 the name on the label is diiffrnet.                                    1 they are all under the catalog of skin care.                              2 diffrent labelind company                                             2
                                                                                                                                                                                                                        i didnt see anything that would say these two companies are                 ursa major and thrive.. i dont know if they are two in the same
theres is nothing that says they are two in the same                                                                                         2 wildkai, and thrive are two different names                            3 affiliated.                                                               3 or not
                                                                                                                                               It is very difficult to tell who actually manufactured these
They are different companies.                                         3 They could be under the same parent company though.                  3 products.                                                                                                                                          2 One is Thrive, the other is Ursa Major...                             3


because they both have much different packaging                       2 thrive looked high end and ursa major looked middle class            2 one looks expensive and one doesnt                                     3 one company can make high and low end products                            2 the packing is so different                                           3
they have different names                                             2 seem like two different brands                                       2 different brands                                                       2 the product name differs                                                  2 it is ursa and thrive                                                 2
Two different names on product                                        2 Different packaging                                                  2 Different names on packaging                                           2 Different packaging                                                       2 Different names on packaging                                          2
                                                                                                                                                                                                                                                                                                    seemed like different brands/ but they are both skin care
have different ingredient lists and benefits                                                                                                 3 had different ingredients                                                                                                                          3 products
I don't see any connection between them                               2 I don't see the connection between them                              2 I don't see the connection                                             2 I don't see the connection                                                2 I don't see the connection between them                               2

they look completely different                                        2 they have different branding                                         2 they have completely different labeling                                2 they have different brands attached to them                               2 one is called thrive and the other is ursa major                      2

The brand names are different                                         3 I just don't know                                                    3 I didn't find any evidence they belonged to the same brand                                                                                         3 I didn't find any evidence that they belong to the same brand
they are different                                                    2 they look different                                                  1 they looked smilar                                                                                                                                 3 no idea

Some similarities, but definite differences.                                                                                                 2 Totally different packaging.                                           2 The do not look anything alike.                                           2 Seem like very different products.                                    3
                                                                                                                                                                                                                                                                                                    These products look far different in terms of packaging and
The design of each product contrasts and does not look like they                                                                               These two products offer a different approach in what benefits                                                                                       design that they seem like they were created by separate
are a part of the same company.                                       3 I am not entirely sure how these brands could be connected.          3 you would get by using these products.                                                                                                             2 companies.                                                            2

The packaging and names appear to be very different.                  3 I have no way of knowing that information.                           2 The packaging and names appear to be very different.                   3 I have no way of knowing that information.                                3 The names are different but the packages do look quite similiar.

its always possible to have the same makers                                                                                                  1 they have alot of similaiaries                                                                                                                     2 they have completely different sales pitches and ingredients          2


One is Ursa Major the other is Thrive                                 2 Competing in the same market                                         2 Thrive and WldKat                                                      2 Offer similar product, they compete                                       2 One is a brand named Thrive and the other is Ursa Major               3

Thrive is at the top.                                                                                                                        2 Thrive is the one; WldKat is the second.                               3 never heard of either one.                                                2 Thrive is one manufacturer; ursa is the other                         3

The brands were from different companies                              2 It is from different companies                                       2 the names are different                                                2 I didn't see any conncections                                             2 There no connections                                                  2
not sure                                                                                                                                     1 description same                                                                                                                                   1 not sure
                                                                                                                                                                                                                                                                                                    Neither of these products are familiar to me. I have no clue who
Neither is familiar to me. Don't know who makes them.                                                                                        3 Neither is familiar to me. Don't know who makes them.                                                                                              3 makes them.
Thrive is a good name and would tag the product                       2 Thrive has a ggood name                                              1 Thrive                                                                                                                                             2 Thrive is a stand alone                                               2

I am not sure                                                                                                                                2 They look different                                                    2 They just don't have a similar look or feel at all                        2   They have different looks and feel                                  2
They seem to be competing brands                                      2 they don't align                                                     2 They had two different websites                                        2 They don't seem connected                                                 2   They had two different label names                                  1
different brands                                                      3 dont know                                                            1 same brand name                                                                                                                                    2   different brand                                                     3
Different brand name.                                                 3 Not enough information.                                              2 Different brand names.                                                 2 Not stated that they are related.                                         2   The brand name shown on the bottle are different.                   2
There isn't a name in common on either product and no other                                                                                    There is nothing I can see in either picture that looks like they
way to tell.                                                          2 They don't look related.                                             2 are related companies.                                                 2 They don't look like they are related at all.                             2 They don't look related.                                              2
                                                                                                                                               I believe these are from different companies due to the fact the                                                                                     I'm unsure of if these are the same company due to the fact it
I'm not sure if they come from different companies as it could                                                                                 layout of the pages and bottles are much different from one                                                                                          could be a different product line from one company that makes
be a different line of products from one company.                                                                                            2 another.                                                               3 I'm simply unsure if they are affiliated and I don't want to guess.       3 a lot of products.

Products were from different brands                                   2 Both had to do with skin care, but from different companies.         2 The first one was from WLDKAT. The packaging was different.            3 They were both skin care related.                                         2 Different brands.                                                     2
cbc oil and they are diffrent companys                                2 diffrent companys                                                    2 they have diffrent comapny on the web site                             2 because they are diffrent                                                 2 cbc oil                                                               2

they do not seem to be connected but you never know                                                                                          2 they don't seem to be owned by the same company                        3 i'm just not sure if some of them are connected                           3 they seem too different

they are not the same co                                              2 they dont look like they are the same                                1 they look somewhat similar                                                                                                                         2 they arent the same                                                   2
                                                                                                                                               there is not enough information to come out with that
the companies have different names                                    3 there is not enough information                                      3 conclusion                                                                                                                                         2 one is from ursa major and the other is from thrive                   3

                                                                        i didnt notice anything that would seem as if they were                i think one was named thrive and the other im not sure i just
they had different company names                                      2 connected                                                            2 know its not the same, plus the logo didnt look the same               3 it just did look like they werent connected                               2 i actually didnt see a name on the second picture                     3

One appears to be from Thrive and the other from a company              Could not see a real connection between the two in product             One bottle is marked by Thrive and the other says WldCt or                                                                                           One says Ursa Major and the other is Thrive. Plus, the first one
called Ursa Major.                                                    3 scheme layout other than both are skin care creams.                  2 something similarly spelled.                                           2 One has CBD infused in it and the other does not.                         2 does not have CBD in it like the second one does.                     3
Can not tell                                                                                                                                 3 Can not tell                                                                                                                                       3 I can not tell

The different packaging and ingredients.                              3 Lots of companies are under one main company so I don't know.        2 different brands and ingredients                                       3 May or may not have the same head company                                 2 Different websites and ingredients                                    3


You keep asking this, but they are TWO DIFFERENT BRANDS. It             There is nothing to suggest that they are affiliated, and they         One is a THRIVE brand and the other is a brand called WLDKAT.            2 different brand names, and neither has any mention of being a             One seems like its from a brand called THRIVE, and the other
literally has 2 different brand names.                                2 have 2 separate brand names                                          2 There is no mention of these brands being connected at all.            2 subset or affiliated with a bigger brand.                                 2 from a brand called URSA MAJOR                                        2
                                                                                                                                                                                                                        all products have a lot of same benefits but do not have a name
one has a name and the other does not                                                                                                        2 one says thrive and the other says Wildkat                             3 that is the same                                                          3 only one has a company name
different brands                                                      2 different brands                                                     2 Not at all similar same and website                                    2 different website                                                         2 Different names and websites                                          3

One was Thrive and can't remember the other product name              2 I think they are two different companies                             2 One was WildKit and the other Thrive                                   2 Different companies                                                       1 They were made by Thrive
they are also same that's why                                                                                                                3 i don't know                                                                                                                                       2 i think no different between two products that's why                  1
                                                                        Because if they were made by the same company it would be
The second one is Ursa Major                                          3 mentioned on the bottle                                              2 the first is a product from Wildcat and the second one Thrive          3 I'm not sure but L believe it would be mentioned on the bottle            2 The first is from Thrive and the other Ursa Major                     3




                                                                                                                                                                                                                                                                                                                                   Thrive Final Raw Data.xlsx
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They look very different, but they also seem to do similar things     They look like different interpretations of a similar product so it     These look like they could be related as both have dark
which would be strange if they were same line.                      2 wouldn't make sense for them to be the same brand.                    3 packaging that's somewhat similar.                                                                                                   2 The names are too different. Branding looks different.           2
these two different products                                        2 products produced by different companies                              2 different labels, and products are also different                  2 i feel these are two separate companies                         2 they are different products                                      2

It does not have any similarities                                                                                                           2 One was on Amazon                                                  1 There made with similar ingredients.                            1 It says ursa major
no idea                                                             2 who really cares                                                      2 different name and look                                            3 no idea look different now second guessing                      2 who knows                                                        2
products looks the same                                                                                                                     2 different company names                                            2 i think its made by different company                           3 looks different

no way of knowing                                                   3 i cannot tell if theyre associated                                    3 it is hard to tell                                                                                                                   2 one is ursa major the other is thrive                            2
Packaging is different                                                                                                                      2 Different names on packaging                                       3 No clue                                                         3 Packaging is similar
I did not see a brand                                                                                                                       2 I seen 2 different brands                                          2 2 Different brand names                                         2 2 different brans on the products                                3

They don't seem to have anything in common when it comes to                                                                                   I can't say for sure whether it's from the same or totally                                                                             The branding looks similar ‐ just could be different lines of
branding, but I can't be sure                                                                                                               3 different                                                                                                                            1 product
                                                                                                                                              lablels are different and the website layouts doesnt look the
names                                                               2 different colors schems, and the website looks different              2 same                                                               2 they look too different to be the same                          2 They have to different lables and the style                      1
one was thrive and one was ursa major                               3 I dont know much about the companies                                  2 one was thrive and one was wldkat                                  3 i dont know if they could potentially be affiliated             3 could tell the name of the first brand


Same company name on bottle.                                                                                                                3 I don't know.                                                                                                                        3 Confused as to whether its the same company or not.
not same name                                                       3 no good info                                                          3 not enough info                                                                                                                      3 not enough info
thrive and ursa major                                               2 don't loook similar                                                   2 the products did not look similar                                  2 they don't look like they go togehter                           3 unclear who manufacturer is

didn't pay that much attention to brand name or labeling                                                                                    2 don't see anything to indicate an association in the ads           3 how would I know from the ads?                                  3 didn't see anything similar in the two descriptions

The branding style is different . one seemed to feature a             They just do not seem to be to me and it is my opinion that you
company name but the other did not.                                 2 have sought with this survey.                                         2 Didn't I just answer this?                                         2 Still... they do not appear related.                            3 Why do you keep asking the same thing over and over?

The feel and look are different                                     2 The look and feel are so different!                                   2 There aren't similarities in looks                                 2 They have different looks                                       2 These products seem very different                               2
My thoughts are based on the information that is on the               I have not familiar with either product. I have heard of Thrive
product.                                                            3 but not the other company so I don't know.                            2 I am basing my view on the pictures that are presented             2 I don't think they are based on the pictures                    3 Based on the two pictures I can't be sure

                                                                      it is possible, but I can not tell if they are affiliated by just       it does not seem so. I am not sure if the Wldkt is the name of
one says Thrive the other says Ursa Major.                          3 looking at the ad.                                                    3 the website or brand.                                                                                                                2 one says ursa major . The other says Thrive.                     3
They are shown as two different companies (brands), but may           I'm not familiar enough with the companies to know their                They are labeled as two separate brands (companies), but both
be owned by the same company (subsidiary) with how it is these        stories in detail. They are shown as different companies,               appear somewhat similar (in regards to being 'premium'                                                                                   They are labeled (shown) as two different companies/brands,
days.                                                               3 though.                                                               3 skincare, and of similar purpose).                                                                                                   3   but the bottle shape(s) is awfully similar.
They look they have very distinct designs                           1 I feel like there could still be a connection                         2 It has very different things                                       2 They are too different                                          2   I don't see too much of a resemblance                          2
THEY LOOK LIKE DIFFERENT BRANDS BUT THEY MAY BE RELATED                                                                                       THEY DO NOT LOOK LIKE THEY ARE MADE FROM THE SAME                                                                                        THEY LOOK LIKE DIFFERENT COMPANIES BUT MAY BE
OR CONNECTED.                                                                                                                               3 COMPANY.                                                                                                                             3   CONNECTED OR RELATED.
looks different                                                     3 just do                                                               2 different brands and sites                                         3 i just don't know                                               2   i just think so                                                3
The brand name doesn't mean manufactured by.                                                                                                3 The brand name doesn't mean manufactured by.                                                                                         3   The brand name doesn't mean manufactured by.
they have different brands                                          3 they could be affiliated                                              2 the site layout and packaging are both different                   3 because I don't know                                            2   they're from different brands                                  3
I just think they look different.                                                                                                           3 The look close, but seriously you never know.                                                                                        2   The bottles look far too different.                            3

                                                                      Besides being skincare products, nothing in the names or
Brand names are different.                                          2 product descriptions ties them together at all.                       2 These are different brand names. Nothing suggests otherwise.       2 2 different names, 2 different products, 2 different uses.      2 One is Ursa Major, one is Thrive. Different brands.              2
Two different company names                                         2 Two different company names                                           1 Same company name.                                                                                                                   2 They seem to have different unique features.                     3
                                                                      i have only heard of thrive and i do not know a lot about this
different brand names                                               3 brand                                                                 3   seem like two different brands                                                                                                     3   different brand names
because they dont have the sam name eon the lave                    3 because i dont see any connections                                    2   diffent labels                                                   1 i feel like it is                                               2   because they have different comapnies                          1
products look different                                             2 products look different                                               2   products look different                                          2 products look different                                         2   bottle looks different                                         2
different                                                           2 because their different                                               2   because they are                                                 2 because they are                                                2   because their different                                        2
                                                                      Because the designs are very different and it isn't mentioned
Different brand names and design.                                   2 that their together.                                                  2 different brand names.                                             2 the designs are different and both different brands.            2 both are different brands.                                       2
I saw no similarities.                                              3 I couldn't tell based on the descriptions.                            2 The wordings seemed different.                                     2 I saw no connection.                                            2 They use different fonts.                                        2
Different brand                                                     3 I'm neutral about it                                                  2 Not the same company                                               2 I'm neutral about it                                            2 I'm neutral about it                                             2

not sure why but i do think so                                      2 they are competitors                                                  2 they do not look like they belong together                         3 i have no idea                                                  3 i have no idea with these companies
need more info                                                                                                                              2 design look different                                              3 need more info                                                  1 they look similar design

the label looks different and not from the same company                                                                                     2 two different names one is thrive and the other is wildcat         1 the products have similar formulas                              1 The package design is similar

There's no way to tell.                                                                                                                     3 I've never heard of any of these products, so it's hard to tell.                                                                     3 I have no idea.
One is from Ursa Major and other Thrive                             3 It doesn't say if they are related                                    2 One is from Thrive and other Wildkat                               3 It doesn't say they are related                                 2 One is from Thrive and other Ursa Major                          3
different names                                                     2 not the same                                                          2 different names                                                    2 different names                                                 2 different names                                                  2
                                                                                                                                                                                                                   Because sometimes companies can have different sub brands, or
                                                                                                                                              They have different brand names, and were available on               various partnerships; however, I cannot tell with the             There's always a chance that a corporation can own different
I'm not sure if they are owned by the same company.                                                                                         2 different sites.                                                   3 information provided.                                           3 brands and companies.

They look very different from each other.                           3 I can't really tell, honestly.                                        2 Different brand names.                                             3 I am just unsure                                                2 Different brand names                                            3

                                                                      There are a lot of products coming out of a lot of companies‐‐
Packaging is wildly different, as is the price point                3 these could be different lines within the same company.               2 Different packaging and different price points                     3 May be different lines within the same company                  2 Different packaging and different price points                   3
                                                                                                                                              The two brands are from separate companies but I am not sure                                                                           The name is similar and the way the product is described makes
I am not sure because the two products look nothing alike.                                                                                  2 if they are related anyway else.                                   1 They are affliated because I am being asked about them.         1 me believe so.
Well it's not obvious that they come from the same
manufacturer ‐ with different brand names but you never know
these days                                                                                                                                  2 different brand names                                              3 same answer as before ‐ can't know without researching          2 again different brand names                                      3
                                                                      Its possible they are being marketed in different ways by the
Different font..different look..appear quite different              1 same parent company                                                   2 The labeling is different...apear tpo be different companies       3 Hard to say if they if they are different appear similar        2 The labeling was clearly different                               3
the look entirely different                                         2 they didn't seem to be related                                        2 one was thrive on was kat                                          2 entirely different brand names                                  2 they look totally different                                      2




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Too different                                                         2 No similarity                                                     1 Similar branding                                                                                                                            2 Seem different                                                          2
I do not remembering seeing the manufacturing of either                                                                                     I looked again at each product and could not find the
product. I only recall the name of the product and what it is                                                                               manufacturer. The names Wldkat and Thrive do not give me                                                                                      Unless 'Thrive' is the manufacturer of these products, it is not
used for.                                                                                                                                 3 any indication who manufactures the produce.                                                                                                3 clear to see who manufactures them.
                                                                        THEY DIDNT HAVE THE SAME BRAND/COMPANY LISTED EACH                                                                                           BC EACH PRODUCT WAS SOLD UNER A DIFFERENT WEBSITE
TWO DIFFERENT BRANDS                                                  2 ONE WERE DIFFERENT                                                2 TWO DIFFFERENT WEBSITES AND BRAND NAMES                                2 WITH DIFFERENT BRAND NAMES                                         1 BC IT WAS THE SAME PRODUCT FROM THE SAME BRAND

                                                                        They could very well be, but from info provided I am not seeing     way different visual and different names. I guess they could be          I have no prior knowledge of these items and i was asked not to
They look so different and have different branding                    3 anything to lead me to believe otherwise                          2 from same manufacturer just under different brand name.                3 get outside help so I am answering like you asked                  3 They look like they could be related but not same brand

                                                                                                                                                                                                                                                                                          One of them was skin firming lotion and the other one was a
Different logos, different packaging. Does not appear to be from        They do not look like they are related. They are both two           They both have CBD products but they both appear to be from                                                                                   balm. They did however have the same type of theme but i dont
the same company                                                      2 different products                                                2 different companies                                                    2 They dont have the same logo                                       2 believe that they are from the same company                             3
                                                                                                                                                                                                                                                                                          They came from different websites, and the labels give different
                                                                                                                                            One is higher ended feeling, and the other is all‐natural. The first                                                                          brand names. Plus, the packaging looks like it came from two
one is all‐natural and the other does not state it                    2 Website is different, and how the packaging is designed.          2 one also seemed to have more elation toward it.                        2 No similarities in companies that I can see.                       2 different websites.                                                     2
Because I am not sure.                                                                                                                    3 Because I don't know.                                                                                                                       3 Because I am not sure.
I have no Idea I do not know much about the brands so I do not
know who makes the products                                                                                                               3 I am not very familiar with the brands                                                                                                      3 I am not familiar with the brands
they were both balm                                                                                                                       2 there loos are diffrent                                                2 there logos are not even close                                     2 the colors are diffrenf                                                 1
i can't say with any certainty                                        3 it did it right                                                   2 you can't fool me                                                      3 not my type of item                                                3 because I do not know

                                                                        Nowadays many companies are affiliated with each other , and                                                                                                                                                      totally different company/brand. There is not type of
all these products read a different brand name                        1 this might just be the case.                                      2 I did not see any association                                          2 they are completely different                                      2 association or indication of it.                                        1

It appears to be 2 skin care products from different companies.       2 Because they did not seem to be.                                  2 Different websites                                                     2 Different websites.                                                2 Different sites.                                                        2
different names                                                       2 seems different from each other                                   2 different brands                                                       2 not the same                                                       2 different names                                                         2
one is from ursa and the other from thrive                            2 they have different brands                                        1 same company name                                                                                                                           2 they have different names                                               2
                                                                        I don't know if they are both owned by the same parent
They are different name brands                                        3 company                                                           2 They do not have the same name brand                                   3 Not sure if they are both owned by the same parent company         2 They are different brands                                               3
different brands                                                      2 different brands                                                  2 different brands                                                       2 different brands                                                   2 different brands                                                        2

different packaging                                                   3 need to see the back label                                        2 different names on the packaging                                       3 only saw the front packaging but not the back information          2 different labels                                                        3
one is ursa major the other is thrive                                 3 i cant tell                                                       2 one is thrive the other is wildkt                                      3 i couldnt tell                                                     1 they look similar




                                                                                                                                              These products are very different as far as style and ingredients        Packaging can be very deceiving as far as what company makes         The type of skin care product it is. There are two different recipe
I am unsure                                                                                                                               2   int he skin care product                                             3   what and what companies are affiliated with each other.          2   of ingredients                                                        3
none                                                                  2 no reason                                                         2   none                                                                 2   none                                                             3   no reasons
Different names on them                                               2 They have different styles of packaging                           2   One is Thrive the other is wildkat                                   2   The products don't look from the same company                    2   The packaging is different                                            3
nothing similair                                                      3 because i have no idea                                            2   nothing sows a connection                                            3   because i dont know                                              3   i would guess different companies
i dont know if they connected to each other                                                                                               3   i dont know if any of these are related                                                                                                   1   it looks same product
It's possible that they're using similar ingredients, and a similar
price point, although the product uses are slightly different. It's                                                                         The price points seem similar and there's an emphasis on natural
possible that they're using slightly different branding to cater to                                                                         ingredients. Branding is a little bit different but not so much that                                                                          The price points / quality appear to be very different from each
different audiences.                                                                                                                      1 I would never think it's under the same parent company.                                                                                     2 other.                                                                  2
                                                                                                                                                                                                                                                                                          I cant tell if they do or.not. it looks like they dont but I'm not
They look completely different                                        2 They dont look like they are from the same company                2 The websites and brands are different                                  3 They dont look to be connected to me                               3 completely sure
different companys                                                    2 different companys                                                2 different companys                                                     2 different companys                                                 2 different name brands                                                   2

because my conclusion is that they are.                               1 Because i say so.                                                 1   why are you asking me the same question over and over?                                                                                    1   they are descriptively similar.
no company logo                                                                                                                           2   different names                                                      3 n/a                                                                2   different name                                                        3
different band names                                                  2 different band names                                              3   they are similar packaging                                                                                                                2   different company names?                                              3
they look different.                                                  2 they don't look the same.                                         2   different types of labels.                                           2 there was no reason to suspect it.                                 2   different brand names.                                                2
Why do you say that all nothing                                                                                                           1   for the desing bottle                                                                                                                     2   brand product                                                         2

am not sure                                                                                                                               2 the first company is THRIVE but second company is WLDKAT               1 Because it produces the same products                              3 not sure

Do not see similarities in brand or labels.                                                                                               2   The company branding seems different.                                3 Cannot tell by the label if they are affilitated.                  2   The branding/font looks very different as well as the design.         3
Don't know                                                                                                                                3   Don't know manufacturers                                                                                                                  3   Don't know
cannot read label                                                                                                                         3   same bottle thats it                                                                                                                      3   looks different
the packaging is so different for each                                2 packaging of products looks very unique                           2   Different brand logos                                                3 Need more info to figure this out                                  2   the packaging is unique                                               3
Because Thrive is mainly for sensitive skin while the other says        I really wouldn't know but they don't seem to have anything in
nothing about that.                                                   3 common in their advertising.                                      2 The advertising is so different.                                       2 They seem so different from each other.                            2 They just seem so different in the packaging.                           3

Not sure, they look completely different.                             1 Similar to each other.                                            2 Looks different to me.                                                 2 Looks too different.                                               2 The best that I can tell, it's different companies.                     3
not enough info to determine                                                                                                              3 nothing in the info that seems to connect the two items                                                                                     2 nothing in the ads to indicate a relationship                           3

ursa and thrive too different brands                                  2 ones a balm the others something else                             2 wildcat and thrive is the names i saw too different commnays           1 there are both skin care products                                  2 ursa and thrive to diffrent comnays                                     2
I appears so.                                                         2 yes                                                               1 yes                                                                                                                                         2 maybe                                                                   3
                                                                                                                                                                                                                                                                                          If I'm not mistaken they were from the same brand Thrive I
Different branding is why I say that                                  3 I'm not a 100% sure if there's any connection at all              2 I couldn't find any similarities and the branding                      3 I wasn't sure so I didn't want to guess without knowing 100%       1 could be wrong
                                                                        The companies appear to me as if they are competing against
They are very different in what they offer.                           2 one another.                                                      1 They have a very similar value proposition.                                                                                                 2 They have completely different value propositions.                      2

                                                                                                                                            They have completely different aesthetics. One looks modern,             Most companies have a common theme or aesthetic throughout           There are similarities in the design and colors, but not the bottle
Completely different aesthetics                                       3 Completely different aesthetics                                   2 the other looks more traditional                                       2 the different products in their brands. These don't                3 shapes

They have two different company names.                                2 They have two different names!!                                   2 They have different company names!!                                    2 They both have different company names!                            2 One is from Ursa and the other company is Thrive!                       2
                                                                                                                                            The websites and packaging were wildly different for them to be                                                                               The descriptions very pretty similar and had close to the same
They feel like very similar products.                                                                                                     2 by the same brand.                                                     2 They did not match anything on these pages for it to be similar.   1 benefits.




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                                                                                                                                                                                                                                                                                         There are no similarities in the products or ads but they could be
                                                                                                                                             They may be from the same company but they have a different                                                                                 doing a good job of keeping the products apart and giving them
These products appear to be very different                           3 It's hard to tell but they could be affiliates                      2 vibe about their ads.                                              3 It's hard to tell. They may be but nothing really connects them.     3 their own brand.
The meaning of them                                                                                                                        3 I cant tell                                                                                                                               1 The way the bottles are made
                                                                                                                                                                                                                  The companies don't seem to have much to do with one
There isn't really anything similar about the two products, other      I don't see any real connection between the two products, so I                                                                             another, their products don't share any kind of common design          The products don't share any kind of name or design language.
than they're both skincare products. The product design seems          would be very surprised if the companies had much to do with          The companies appear to be named two different things,               language or naming conventions, so I don't believe they're             Looking at the two, they look very different from one another,
very different.                                                      2 each other.                                                         2 WLDKAT and Thrive, so I don't believe they're the same thing.      2 affiliated.                                                          2 despite being pretty similar products.                               2
I don't see any correlation between the overall aesthetic
presence of either product. They seem like completely different                                                                              I don't see the similarities between these two products to                                                                                  They both have "Thrive" on the product which leads me to
brands.                                                              2 I don't see any affiliation between the two at all in my opinion.   2 connect them together.                                             2 I just don't see any sort of affiliation between the two products.   1 believe there made by the same company.
                                                                                                                                                                                                                                                                                         They look like very different packaging and the websites look
different look                                                       2 totally different brands                                            2 Different brands                                                   2 I don't know why they would be connected                             2 different                                                            2
company names were differrent                                        1 nearly same                                                         2 company names are different                                        2 company names were different                                         1 same company

                                                                                                                                             One was Thrive and another wldk something... different brands        Brands were different and in their descriptions there is nothing
different brand names                                                2 different brand names                                               2 different companies.                                               2 that points to the contrary or any connection between the two.       2 Different brand stated in descriptions and on bottles.               2
seems so                                                             1 not sure                                                            1 seems like that                                                                                                                           2 different packaging                                                  2
One product list the manufacturer and the other product does
not.                                                                 2 Labeling is different.                                              3 Not sure                                                                                                                                  2 Different packaging                                                  2
they look different                                                  2 just dont think so                                                  3 dunno                                                                                                                                     2 they look different                                                  3
I am not sure                                                                                                                              3 I am not sure                                                                                                                             3 I am not sure
both companies are different                                         2 both products are different                                         2 both different companies                                           2 I dont believe they work together                                    2 companies are different                                              2
                                                                       I am not completely sure if these companies work together. It's       I am not 100% sure if these two companies are working                                                                                       I believe that they are working together due to ingredients level
There are differences in images and layout                           3 hard to say.                                                        3 together.                                                                                                                                 1 in the skin products.

theres no information telling me one way or another                                                                                        3 theres no information teling me yes or no.                                                                                                3 i dont see any information one way or another
                                                                                                                                             One product is from the Wildkat saffron made from oat milk and       Two different companies, the CBD product is wildkat and the
One product is from Thrive and the other is from URSA major          2 Both products use different ingredients                             2 contains cbd                                                       2 other one is thrive                                                  2 One is from URSA                                                     2

the thrive brand seems more expensive                                2 the sell prices are probably different                              2 the logos were different                                           3 I don't see any similarities                                         1 the labeling looks the same
                                                                                                                                             The branding and packaging is completely different, and it looks                                                                            The name printed on the bottle is different and the website
They look completely different                                       2 They don't look like they're related to each other                  2 like the websites are different too                                2 The website branding is completely different                         2 looks different                                                      2

These products have too many differences                             3 I can't see the companies being related                             2 That's just my opinion                                             1 Because I've had a change of heart                                   2 Different companies                                                  3
I have heard the name "Thrive" but not the other so I am not
sure.                                                                                                                                      3 Don't seem to be from the same company.                                                                                                   3 I have heard of "Thrive" but not the other brand.


The companies listed on the bottle were different                    2 The bottles were so wildly different.                               2 I saw no evidence that they were from the same company.            2 I saw no reason to think they were connected                         3 There was some definite similarities but nothing definitive.
they are 2 different product                                         2 different companies                                                 2 not the same brands                                                2 different products                                                   1 they are both made by thrive
They are different brands.                                           2 They aren't the same company.                                       2 unsure                                                             3 I can't remember                                                     2 They had different brand names.                                      2

Again, they look completely differnt.                                2 There websites look completely differnt.                            2 They appear as 2 different brands.                                 2 They look completely different.                                      2 vfjtgfgtjfgtj                                                        2
names are different                                                  3 dont know                                                           2 different names                                                    3 doesnt say so                                                        3 didnt notice, price was too high for me


maybe the same manufacturer elaborated the product but is not                                                                                Both products have different names and the package don't have
own by the same brand.                                                                                                                     3 nothing in common.                                                                                                                        3 not sure
different names on packaging.                                        3 don't know if they are connected.                                   3 don't know                                                                                                                                3 don't know
Totally different look and labeling.                                 2 Totally different look, labeling.                                   2 Totally different look, labeling.                                  2 Totally different look, labeling.                                    2 Totally different look, labeling.                                    2

                                                                                                                                                                                                                                                                                         the big writing has different names and they just dont look like
thrive looks to natural to be with the other one                     2 too different                                                       1 they both look natural                                                                                                                    2 theyd be the same company. but anythings possible                    3
                                                                                                                                                                                                                  Other than both bottles being of dark color, the packaging didn't
The packaging looked completely different                            2 One bottle said Thrive and the other said Ursa Major.               2 I didn't see Thrive on the second picture                          2 look similar to me.                                                  2 Names are different                                                  2
                                                                                                                                                                                                                  They looks completely different and are completely different           The contrast is just so different between the two they look
Look and act nothing a like in terms of products.                    2 they dont have any obvious connection                               2 Two different websites, products and designs                       2 products. One offers CBD the other do not.                           2 completely different.                                                1
                                                                                                                                             I feel like you keep asking me the exact same question. They're
I think they were made by different manufacturers. One said            They're both face balms, but other than that they looked like         BOTH face balms. They bottles are different, and this time only
Thrive and the other was a face balm.                                3 two different manufacturers. I'm just not sure enough to say.       3 one of them says it contained CBD.                                                                                                        3 This one has CBD in it.
The bottles are very different                                       3 I don't know                                                        1 They look similar                                                                                                                         2 price difference                                                     2

they look totally different                                          3 don't know anything about them                                      2 they look nothing alike                                            3 I don't know anything about them                                     2 packaging totally different                                          3
THAT'S JUST HOW IT SEEMS TO ME.                                      2 DONT KNOW.. JUST GOING ON FEELINGS                                  2 A INSTINCT                                                         2 JUST FEELING IT                                                      2 SEEM TO BE DIFFERENT                                                 2

different brands                                                     2 different brands                                                    2 They re different brands                                           3 I have no way of knowing since I am not fmiliar with the brands      2 They are different brands                                            3
Many reasons                                                                                                                               2 The quality of products is different                               2 many reasons                                                         1 Many reasons
                                                                                                                                                                                                                  I think major manufactures are connected or sour materials
They seemed similar                                                                                                                        2 seems to be different to me.                                       1 from the same place.                                                 3 unsure

I could not read or did not see the manufacturer                                                                                           2 Thrive and Wildcat, I assume were the companies names              3 I did not see the connection either way                              2 Nope they are different                                              2
                                                                       from the information these brands have no connection since
                                                                       they are from made from different companies/brands, plus sites                                                                                                                                                    both products have different package labeling, sites are
products are different, have different names, sites are different,     are designed differently, and products do not have the same           because both products are from different websites with               because by the information, it products come from different            different, sites are designed differently, products come from
come from different companies/brands                                 2 brand name                                                          2 different brand names                                              2 brand/companies and different sites                                  2 different companies/brands                                           2
Trive is only on one of the ads.                                     3 I do not know these companies.                                      2 Trive is only on one of the products.                              3 I do not know the companies                                          2 Thrive is not on the first product.                                  3
not sure                                                                                                                                   3 not sure                                                                                                                                  3 not sure
                                                                                                                                                                                                                  look different at the 2nd company seems to be all natural
2nd product seems to be plant based                                  2 same as last reason and no reference to similar titles              2 it appears two different companies                                 2 ingredients                                                          3 not enough information

no real way to tell if they come from same company that i see                                                                              3 did not see any correlation                                                                                                               3 do not seem related




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The two products seem so different!                                2 The two products don't seem similar enough                         2 There isn't a similar feel to them                                 2 There is a different impression from each                            1 There is a similar appearance and language


Different style of packaging.                                      2   Again, totally different packaging.                              1   Very similar style.                                                                                                                     1   Their design looks to be a bit alike.
DIFFERENT NAMES                                                    2   DIFFERENT NAMES & GRAPHICS                                       2   DIFFERENT NAMES                                                  2 DIFFERENT NAMES & OR GRAPHICS                                        2   DIFFERENT NAMES                                                 2
different branding                                                 3   do not know                                                      2   different brands                                                 3 not sure                                                             2   different brands                                                3
different looks                                                    3   cannot say                                                       2   no connection                                                    3 cannot tell                                                          2   could not really tell                                           3
                                                                                                                                                                                                               they have different names but i dont know if they belong to the
they have different brand names.                                   3 i dont know if they are owned by the same parent company.          2 i saw one as thrive and one as wldkt.                              3 same parent company.                                                 2 they have different brand names.                                  3

                                                                     A lot of companies nowadays are related, but operate as                                                                                   Don't know enough about either company to know whether
Different names, packaging and use.                                3 separate entities.                                                 2 Seem to serve different markets and unrelated look.                3 related or not.                                                      2 Different names, packaging and ingredients                        3

two different companies made those two different products          2 these were two different companies                                 2 one was made by wldkat and the other by thrive                     2 i do not believe they are associated together                        2 two different companies made two different products               2

I don't see any similarities                                       2 No affiliations are visible                                        2 They have different packaging and lettering                        2 I don't see anything that resembles a partnership                    2 They have different packaging, different lettering                2
Same reason.                                                                                                                            3 Different labels.                                                                                                                         3 Same reason.
different names                                                                                                                         3 different names                                                                                                                           3 Thrive & Ursa

I said I am not sure if they were produced by the same company                                                                            I said I am not sure if they were produced by the same company                                                                              I said I am not sure if they were produced by the same company
because there ae no identifying claims on any product that says                                                                           because both products basically do the same thing. This would                                                                               because they do not have any similarities other then skin care
they were made by the same brand.                                                                                                       3 make them compete for market value.                                                                                                       3 products.

one brand is part of thrive family other isnt                      3 not sure                                                           2 thrive is not mentioned or shown                                   2 thrive brand only                                                    2 thrive name is missing                                            3

could be affliated, but they dont mention it                                                                                            3 dont remember brands names for each product                                                                                               2 the first one is Thrive, and the second one is something else.    3
because they are the same                                                                                                               1 because they are the same                                                                                                                 1 because they are the same
different brands                                                   2 different brand ursa and thrive                                    2 differeny brands thrive and wldkat                                 2 saw no connection                                                    2 Teo different brands URSA and Thrive                              2


they look very different and the packaging isnt similar            3 they can possibly be affiliated but im not too sure                2 the names are completlt different and so is the packaging          3 im not too sure                                                      2 one is cbd infused and the other isnt                             3
Two different names.                                               2 Two different names.                                               2 The name of the companies are different.                           2 I am just guessing.                                                  2 They have different names.                                        2
did not see that info                                                                                                                   3 did not see maker                                                                                                                         3 did not look at who made them

                                                                     The price of the products are too different. Most products from                                                                           The way the products are described and the packaging look too
The labeling and also the price.                                   2 the same companies have similar price points.                      2 Wording and labeling are too different.                            2 different to be connected.                                           2 The labeling and wording seem different.                          2

                                                                                                                                          one product is for sensitive skin for helps hydrate, restore and     Because two products solved various problem. One product is
Same company product.                                                                                                                   2 protect face. Other product is mainly bright your face.            2 for sensitive skin and other product is mainly increase face glow.   2 These product are not one brand.                                  2
The packaging is too different from each other                     2 The packaging is too different                                     3 because I'm not sure                                                                                                                      2 just my impression                                                2
because it has the same name                                                                                                            1 because it has the same name                                                                                                              1 because it has the same name

can be under the same company                                                                                                           3 can be from the same company because of similarities in bottles                                                                           3 can be from the same company because of bottling similarities
I focused on the price and the description only                                                                                         3 not enough info                                                                                                                           2 didn't see anything that connected the two                        2
ursa major and thrive                                              2 two different names                                                2 thrive and wildcat                                                 2 completely different websites                                        2 two different companies with different names                      2
because the tow products were carrying different meanings in         at the same time the tow companies are different but the
the same sense                                                     1 queality of their service is almost the same                       1 because they were same service provide for us                                                                                             1 because both products offer almost the same type of service

Do not see a common thread of these products                       2 No connection between package products                             2 Packaging looks totally different                                  3 Don't see a common thread among the product lines                    2 Different product packaging                                       2
nothing to say                                                     2 nothing to say                                                     1 much more likely and favorable                                                                                                            2 nothing to say                                                    2
no idea don't know                                                                                                                      3 no idea if same company                                                                                                                   3 no idea

the packaging has a different style...                             2 the products don't look similar...                                 2 the packaging is different...                                      2 the packaging looks different...                                     2 the products don't look similar...                                2
Because this is very good and great                                                                                                     1 Because this is very good product                                                                                                         1 This is very good and Nice

                                                                                                                                                                                                                                                                                      Because the first appeared to be the same brand as the product,
                                                                                                                                                                                                                                                                                      and the second appeared to be a manufacturer, but one that's
Because there are no similar brands on either page.                2 Because there are no similar brands on either page.                2 Because there aren't any similar brands on either page.            2 Because there aren't any similar brands on either page.              2 different than the second and first product.                      2

Different brands / packaging.                                      2 I don't have enough information to see any connection.             2 Different brands.                                                  2 Not enough information to see the connection.                        3 They look different.
likely service                                                                                                                          1 because likely service                                                                                                                    1 because this is very likely
                                                                                                                                                                                                                                                                                      I don't remember the first product, I only remember thrive and
one is called Thrive and one is Ursa Major                         2 the product name is very different                                 1 they have similar names and functions                                                                                                     3 now what it was comparing it to.
                                                                     the design just looks so different that that is the conscusion I
the packaging looks so different                                   2 would draw.                                                        3 Again, just a gut feeling                                                                                                                 3 can't really say
                                                                     I believe skin care products have multiple companies and
appears like its different companies to me                         3 affiliates                                                         2 to me totally different products here                              3 im not sure haven't researched these products yet                    2 no appears to be different ingredients, very different products   3
It’s for sensitive skin                                                                                                                 1 It’s seems to be the same ingredients                                                                                                     3 It could be but not sure
                                                                                                                                          Again, I cannot tell if they are made by the same manufacturer.
Because I cannot tell if they are made by the same manufacturer                                                                         3 There is nothing to indicate yes or no.                                                                                                   3 Nothing to indicate it
One is Thrive and one is Ursa Major                                2 They are not sold on the same website                              2 One is Wldkt and one is Thrive                                     2 They are not sold on the same website                                2 One is Thrive and one is Ursa Major                               2

they don't seem similar or related in any form.                    2 I have no reason to believe they are connected.                    2 one of them is Thrive and the other is Wldkat                      2 I don't know these companies but the ads look really different       2 their marketing is very different                                 2
Because monkey face like yourself keeps showing me same                                                                                   Because monkey face like yourself keeps showing me same                                                                                     Because monkey face like yourself keeps showing me same
photos all over and over again.                                                                                                         3 photos all over and over again.                                                                                                           2 photos all over and over again.                                   3
because the one product had Thrive written on it and included in     I don't really know a lot about the Thrive products but I have                                                                            because they did have the company name and they weren't the
the advertisement and the other one didn't                         3 heard of them                                                      2 different manufacturer names on the bottles and in the ads         2 same                                                                 2 different names on the products                                   2
are you going to keep asking the same question over and over?                                                                                                                                                                                                                         different brand names. Could be the same umbrella company, I
these could be made by the same company                                                                                                 3 could be the same company with two different product lines.                                                                               2 suppose.                                                          3
Again their labels are so different and the white bottle didn't                                                                                                                                                Such different labels, though I was paying more attention to the
seem to have company name at all                                   2 there was no company name on the white bottle that I could see     2 Different label style and name it looked like                      2 product description                                                  2 one says "thrive" the other doesn't seem to say anything          2




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                                                                                                                                                                                                                                                                                         these are the same two products as before. the ursa major
                                                                                                                                             they both seem to have 'natural' ingredients as their focus. the                                                                            product is a more traditional skin care product. the thrive
First one was from a company called Thrive and the 2nd from a                                                                                brand names are different but i could see this being created/sold                                                                           product seems more gimmicky/trendy as it contains cbd which
company named something like Ursa Major.                             2 the labels and style of the container were very different.          3 by the same retailer/manufacturer                                                                                                         2 i'm not sure is an effective skincare ingredient                    2
different labels                                                     2 different looks                                                     2 different products                                                  2 different products                                                  2 different products                                                  2
Same name                                                                                                                                  1 packaging looks the same                                                                                                                  2 One is Thrive and the other Ursa                                    1

one is thrive brand, the other is by ursa major                      3 they could be affiliated i've heard of neither                      2 one is by thrive, the other is by wldkat                            3 they could possibly have the same corporate ownership               2 one is by thrive the other is ursa major                            3

                                                                                                                                             When was from a company called Thrive and the other from              Sometimes companies brand different products with different
One says Thrive, one says Ursa Major                                 3 Could be a different line from the same company                     2 WldKat                                                              3 names.                                                              2 One says Thrive and one says Ursa Major                             3
                                                                                                                                                                                                                   because neither of the two packages does not mention opposite         because the presentation of the product does not have similarity
because the brand of the products is different                       2 because the product label shows that they are not related.          2 because it has a different brand on the container                   2 brands.                                                             2 also the brand that is shown is different                           2

The names of the companies are different.                            2 Because they are not same.                                          2 The company names are different.                                    2 The names are different.                                            2 The company names are different.                                    3

they have the same name                                                                                                                    2 they have different names, thrive and wldkat                        3 not enough information to know to be honest                         2 one is ursa major name the other is thrive                          2
Totally different naming, labeling, ingredients don't seem the         Totally different names, labeling, ingredients don't seem the         Totally different naming, labeling, ingredients don't seem the        Totally different naming, labeling, ingredients don't seem the        Totally different names, labels, ingredients don't seem to match.
same. Branding is different as well.                                 2 same. Branding different.                                           2 same. Branding different.                                           2 same. Branding different.                                           2 Branding is different.                                              2
don't know                                                                                                                                 3 don;t know                                                                                                                                3 not familar with products

They did not look like they came from the same company at all,         They were two completely different products. One was for acne         They do not look the same or have any similarities in the way         Sizing is not the same and they do not look anything like each
both in the way they were packaged and displayed                     2 and the other was for sensitive skin.                               2 they are packaged.                                                  2 other.                                                              1 The were clearly labeled as Thrive they have the same look
Different product brands                                             1 Collaborative companies                                             2 Different product brands                                            1 Collaborative companies                                             2 Different product brands                                            1

They have different logos and names                                  3 Because I dont know if they have the same mother company            2   They had different names                                          2   They have different names and logos                               3   I didnt remember seeing the same logo
different company                                                    2 no connected                                                        2   different company                                                 1   Yes, companies are affiliated, connected or associated            2   differents company                                                2
look different product                                               1 looks a like                                                        2   look different                                                    2   different product                                                 2   different                                                         2
has the same ingredents                                                                                                                    2   diffrent colors diffrent colors                                   2   diffrent names and styles                                         2   diffrent names                                                    2

                                                                       because I did not read any information in their ads to the                                                                                  Because one product was for Sensitive skin face balm and the
One was Thrive the other was Ursa Major                              2 contrary                                                            2 Because one was made by WldKat and the other was Thrive             2 other Saffron Glow Serum                                            2 Because one was Thrive the other URSA Major                         2

none                                                                                                                                       2 The products looked different on the outside covering.              3 My observations.                                                    3 The second one didn't have company name on it.

CANT TELL                                                                                                                                  3 NOT ANYTHING SPACIFIC                                                                                                                     2 MOST COMPANIES HAVE A THEAME R LOGO THAT FOWS THRU                  3
packaging is totally different                                       2 nothing is similar between the two products                         2 nothing similar between the two pages                               2 nothing similar between the two pages                               2 nothing is similar about the packaging, etc.                        2
                                                                                                                                             Since the second one was an improved face balm perhaps it may
Both are face balms but that is where the similarities ended.          Since the packaging was not the least bit similar I would have to     have been related to the first product but I was not provided                                                                               There was no evidence from the description or the product
The packaging and colors were different for each product.            2 say the products are not related.                                   3 enough information.                                                                                                                       3 packaging that the two products were related. I could not tell.
Different names                                                      3 because I actually don't know                                       3 It didnt look for that                                                                                                                    2 They had different names on the products                            3

                                                                                                                                                                                                                   The marketing approaches are vastly different. One is trying to
The branding looks entirely different. And the products seem                                                                                                                                                       be cool and promises you'll look great where the other focuses
similar enough to be at competition with each other and not            They seem to have different approaches in how they address the                                                                              on trying to maintain the health of your skin and prevent further
different enough to be the same line.                                2 products qualities and uses.                                        2 Different name and different branding styles                        2 damage.                                                             2 Different names                                                     2
had different names as the affiliated company                        1 I thought I read the same name on both sites                        3 I didn't see any affiliated names                                                                                                         2 the way the product looked                                          3
they look different                                                  2 cost of them                                                        1 sound the same                                                                                                                            1 sound and look the same

They have different names on the labels.                             2 Once again labels read different company names.                     2 Each item has a different name on label,                            2 Names of items are different.                                       3 The info given doesn't give info needed.


One is Thrive, the other Ursa Major and they have a totally            Just a hunch based on how different the products looked from          Thrive and WLDCat appear to be different companies and do not                                                                               One is LV, one is Ursa Major. Both products are presented
different appearance. I did not see any similar logos or features.   2 each other.                                                         2 share any similarities as far as advertising and appearance.        2 There do not appear to be any similarities.                         2 differently and do not share logos.                                 2
the same brand appears                                                                                                                     2 not same brand                                                      1 the same company                                                    1 the same brands
The packaging was different and makes me think they are                                                                                      The packaging is different which makes me thing they are              The packaging is different which makes me thing they are              The packaging is different which makes me thing they are
different companies                                                  2 Because the packaging was different                                 2 different companies                                                 2 different companies                                                 2 different companies                                                 2
diffrent names                                                       2 diffrent names                                                      2 diffrent names                                                      2 diffrent names                                                      2 diffrent companies                                                  2
                                                                                                                                                                                                                                                                                         The branding on the Thrive screenshot seems to clearly indicate
                                                                                                                                                                                                                                                                                         that they're part of a line called Thrive. The second product has
                                                                       No way to tell for certain, maybe they have a partnership or          No clear crossover in branding and appearance for these               No way to say for sure. Maybe they could be under some                no wording, packaging, or other indicators that it is part of the
No crossover in branding and appearance                              3 have the same certification, but don't know                         2 products and their websites                                         3 umbrella of sustainable/eco friendly products, but it's not clear   2 Thrive brand                                                        3
nothing                                                                                                                                    1 anything is better with this                                                                                                              2 nothiong                                                            2

not same at all                                                      2 not same                                                            2 they different from each other                                      1 its seems like they are connected                                   1 the looks beneficial for face and package quality is premium.
different                                                            2 differnt                                                            2 not the same                                                        2 no                                                                  2 different names and logos                                           2

                                                                       Some times companies use different packaging or language for          Seems like they are similar products from different companies
Different packaging and the product description language is            different target markets. Maybe more scientific for older people      (packaging and descriptions are different) but this could be
different.                                                           3 and hipper for younger people.                                      2 marketing                                                           1 Both have CBD in them.                                              3 Packaging looks different, but could just be marketing.


The sites that are selling these products are different and the        There was no indication that they were affiliated in any way on                                                                             There was no indication anywhere on the image that the two            One product was from Thrive and the other was from Ursa
company that they are from are also different.                       2 the website nor in the product summary.                             2 One product was from WLDKAT and the other from Thrive               2 companies and products were related in any way.                     2 Major.                                                              2
The company names are different.                                     2 The name of the companies are different.                            2 The company names are different.                                    2 The name of the companies are different.                            2 The company names are different.                                    2

They look like they go together on the same website.                                                                                       1 They look kind of similar with the packaging and the wording.                                                                             1 They look similar.
although it said comes from nature product, there is no clue to
say come from same company                                                                                                                 3 no idea how they related                                                                                                                  2 the packages seems very different from the same company             3
the brand looks different                                            2 thrive and ursa are different names                                 2 the brands are different                                            2 they look different                                                 2 its different types of products                                     2
Really don't know                                                                                                                          3 Don't know                                                                                                                                3 Unsure




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                                                                                                                                                                                                           they might be affiliated in some way but theres not enough
I know one is made by Thrive but unsure about the other                                                                              2 just based on the names of the product                            3 information to know for sure                                         2 again one is thrive unsure of the other                            3

the title showed the different company website name              3 i dont have clue to figure                                        3 i cannot tell the company name who made it                                                                                               2 product showed the different brand name                            3
the logo suggests so                                                                                                                 1 again the logo                                                                                                                           1 the lable suggests so that it is from one company
they look like they are different brands                         3 not sure if they are affiliated                                   2 they look like different brands                                   3 not sure if they are affiliated                                      2 they look like different brands                                    3

Cause one of the products is from Thrive's company and the         Cause both brands don't say something about affiliation at the                                                                          Cause if that is a fact, they need to put on the website to
other is from Ursa Major's company                               2 website of each brand                                             2 Cause both belong to different companies                          2 consumers know that they are affiliated                              2 Cause name of the company are different                            2

                                                                                                                                                                                                                                                                                  The first one, I could not tell the company, Major maybe, the
TIRED OF REPEATING, NOT CLEARLY MARKED                                                                                               2 Not clearly seen where the first one is from, company             3 Not clearly seen, who the products are actually from                 3 other one is Thrive?
different bottles and names                                      1 skin care products                                                1 cbd products                                                                                                                             2 one is a cbd product and the other is not                          2
not sure                                                                                                                             2 different name at top                                             3 not sure                                                             3 didn't look at company, just description of product

different brands and different product names and design          2 different brands and different products                           2 different brands and different features                           2 different name and different design                                  3 same color but still quite a lot different
                                                                                                                                                                                                           that is what it looks like to me. I am not familiar so I do not
looks like different companies to me.                            3 I am not familiar so I do not know                                2 looks like different companies                                    2 know anything about these companies.                                 2 looks like different companies                                     2
design looks totally different ‐ names are different             3 not sure                                                          2 The products look different ‐ design wise                         3 I have no idea                                                       2 different names and design                                         3
                                                                                                                                       Just because labeling looks simuliar doesn't mean they are from
I just have no idea.                                                                                                                 3 same manufacture.                                                                                                                        3 One has CBD as ingredient.
2 entirely different lines                                       2 see last answer                                                   2 ...                                                               3 ...                                                                  2 this is really redundant...could we get to the point???            3




They have different designs and different names heading the        I don't think they are because they have such different designs     They have some similarities that I would have to check but I                                                                               Different names, different package designs, different web
packaging and websites.                                          2 and different names.                                              3 don't think they're related.                                                                                                             2 designs.                                                           2

They have different brand details and logo on the package        2 The info on the package are quiet diffrents                       2 The information on the package are totally different              2 The brand logo a d information are different                         2 They have different brand name on the package and details          1
They have different brand names                                  3 I am not familiar with the companies                              2 They have different brand names                                   3 I am not familiar with the companies                                 2 They have different Brand names                                    3

                                                                                                                                       The color scheme of the packages might be similar but both are                                                                             The packages look similar that they could be of the company but
They are of different brands.                                    2 There isn't any information on the label of the affiliation.      2 of different brands.                                              2 There isn't any information of the affiliation on the label.         2 the brands on the labels are of different brands.                  2
Completely different look and one company seems to be called
Strive.                                                          2 At first glance, there does not appear to be any cooperation.     2 No words are the same.                                            2 Unable to make any connection with the two products.                 2 Completely different looks.                                        2
                                                                   the packaging would be similar if from the same company and
the difference between the two                                   2 they were not                                                     3 they seem close to each other                                                                                                            2 ursa major and thrive I believe are different companies            2
Totally different company and label                                                                                                  2 The label                                                         1 Similar ideas                                                        2 Different brand                                                    2
They a variant product names                                     3 I did not read the itvy bity print                                2 The brand names were different                                    3 I did not read all the detailed information                          2 They had different product names                                   3

                                                                                                                                       I'm sure that they are not the same company. Because they look      Obviously, they are not the same company. Because they look
I think they belong to the same company.                                                                                             2 different.                                                        2 different from each other.                                           1   I think they belong to the same company.
ita different companies                                          3 i amnot sure                                                      2 different stores                                                  2 different websites                                                   1   it looks the same with the same desperation
I cannot recall.                                                 3 I am really not sure.                                             3 I would like these products.                                                                                                             3   I do not know.
different brand names                                                                                                                3 different brand names                                                                                                                    3   different brand names
                                                                                                                                       Could be same manufacturers because of sustainability efforts,
I don't know, they don't look alike or similar                                                                                       3 but I'm not sure                                                                                                                         3 Don't have same aesthetic?
                                                                                                                                                                                                           Because I don't know if the companies are affiliated with one
Because one comes from Thrive and the other from Ursa Major.     3 Because I don't know.                                             2 One is from Thrive and the other from WLDKAT.                     3 another. There is no indication saying so.                           2 Because one is from Ursa Major and the other is from Thrive.       3
because they just don't look like they would be related except
for function                                                                                                                         2 they look like complete opposites                                 2 they just don't look like they are from the same company             2 because the only thing in common is function                       2

One is ursa major, the other thrive. i suppose they could have     Many parent companies own smaller companies but it's never
the same parent company?                                         3 very transparent.                                                 1 Same feel, packaging, natural source                                                                                                     1 They seem clean, traditional;Similiar

Because the brand names are different and the packaging as         Because these companies sell similar products, so they must be      Because the names on the bottles are different from one             Since they sell similar products for skin care I think their goals     Because the packaging is different on each product, and the
well.                                                            1 working at similar goals.                                         2 another.                                                          1 would be similar as well.                                            2 colors on the bottles are different.                               1

                                                                                                                                       Although both have trademarked names, not enough info to say
Can't find a manufacturer name on either                                                                                             3 who produces them                                                                                                                        2 One was LV and one was Ursa major                                  3
                                                                                                                                       There are different product manufacture are different company
                                                                   There are different company and they have different plan with       their different company and they are also skin product and it
They are also skin product company                               2 each other                                                        2 good manufacture for us                                           1 Their are also skin product and they benificail for us               2 good product and good value                                        2
different brand names                                            2 different brand names and labelling                               2 different brand names                                             2 different brand names. different label designs                       2 differnt brand names                                               2

                                                                   I'm not familiar with them so do not know off the top of my                                                                                                                                                    I can't find anything telling me from looking at them they would
Different names but I could be wrong                             3 head                                                              2 Different names so wouldn't think they would be associated        2 I don't think they are but could be completely wrong                 2 be the same company                                                2

                                                                   They seem to be targeting different people and have totally
They both have different bottle designs, product names (Ursa       different looks/descriptions/"feels". Usually when a product is     Again, they seem to be by two different companies (Thrive vs        One product seems to be more towards the new trend of using
Major vs Thrive) and they seem to want to target different         done by the same company, there is a uniformity to their looks      WildKat) and have two different philosophies on their product.      CBD oil in their products while the other seems to use a more          They both feature different names in their descriptions (Ursa
audiences. Also, both price points are wildly different.         2 and descriptions. Even if the products aren't related at all.     2 One features CBD while the other doesn't.                         2 trusted source of simple natural products.                           2 Major vs Thrive)                                                   2


Branding is completely different                                 3 I'm not familiar with the first brand                             3 Do not know brands                                                                                                                       2 I know Ursa Major as an established brand, do not know thrive      3
                                                                                                                                                                                                           I don't know both of the company connection so I cannot that           One is from ursa major and the other one is from thrive
Different name brand                                             3 different name brand                                              2 because they have different name brand                            3 they are associated.                                                 2 company.                                                           3
                                                                                                                                                                                                           I didn't see any information that would help me form an
very different packaging                                         3 not enough information for me to form an opinion                  2 The packaging is very different.                                  3 opinion.                                                             2 brand name is different                                            3
one is thrive and the other ursa major                           2 the names and logo arent the same                                 2 one is wldkat and the other thrive                                2 i doesnt see anything that gives me that idea                        2 the name, logo and web design arent the same                       2
nothing listed                                                                                                                       3 didn't look at the manufacturer                                                                                                          3 no company/manufacturer mentioned or listed

can't tell without researching the companies and brands                                                                              3 can't tell without researching the companies or brands                                                                                   3 can't tell without researching the companies or brands




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They are just different                                          2 Don't see connection                                                  2 The company names are different                                  2 Don't see any connnection                                             2 they are different                                                  2


Different names and packaging                                    3 The color scheme is similar                                           2 Different Brand names                                            2 Different brand names and packaging.                                  2 Different names on the package                                      2

still does not provide enough information to know                                                                                        2 They were from different websites and had different logos        3 I have no idea by the description if they were the same or not        3 It does not give you enough information to se that
                                                                   they are skin care products i think they all work together in           i am not sure if they are from the same better to say i dont
they seem to be from different companys it is hard to tell       1 some way                                                              3 know then to guess                                                                                                                       1 i feel they go to together and work with each other
                                                                   because all models seem to be from different companies but i`m
because all models seem to be from different companies           3 not sure                                                              2 because all models seem to be from different companies           2 because all models seem to be from different companies                1 because the products are very similar to each other
different trade mark                                             2 maybe they are just competitors                                       2 they have different trade mark                                   2 maybe they are just competitors                                       2 having a different trade mark                                       2
                                                                                                                                           The style of the bottles are kind of similar but not enough
                                                                   I don't believe these are connected at all, different packaging         evidence that the same company made these products. The
The websites have different layouts                              2 and website layout.                                                   2 names and ingredients are different.                             2 I don't see the same company on the website.                          2 The brands are completely different and so is the website.          2
different products                                               2 not sure                                                              2 different packaging                                              3 not sure                                                              3 not sure different labeling
There were two different brand names and two different
aesthetics on the images.                                        3 There is not enough information available to make that call.          2   The two images had two different brand names and aesthetics.   3 There is not enough information to know that.                         2   The two images had two different brand names and aesthetics.      3
do not see the same name on the products                                                                                                 3   unable to find the manufacturers name                                                                                                  3   i do not see the manufacturer named
One said Thrive and one said Ursa Major                          3 They didn't seem to be to me                                          2   One says Thrive and one Says WLDkat                            3 I don't see anything that indicates that                              3   This whole thing is confusing me
not sure                                                                                                                                 3   because they have different names                                                                                                      3   not sure
Can't tell                                                                                                                               1   Looks like it                                                                                                                          1   Looks like it
Not remeotely the same                                           2 NOt the same, as before                                               2   NAMES                                                          2 Differnt names                                                        2   Same as before                                                    2

they are different looking                                                                                                               2 different names                                                  3 differnt names but it may be you can order from amazon                2 one has an auto shipment offer                                      2

Different brand names                                            3 Know nothing about them                                               2 Different brand names                                            3 Don't know about these companies                                      2 One is Thrive and one is Ursa Major                                 3

The label looks very different, as does the online layout        2 I would just assume that from their differences                       2 not sure                                                         2 look different                                                        2 don't look similar                                                  2

different brand names, packaging and colors                      2 not the same brand name or logo                                       2 Again different packaging colors and no consistent brand logo    2 Other than being skin care I saw no thread of continuity              3 The branding, packaging seem different.

i saw no connection between the products                                                                                                 1 it says so on the packaging                                                                                                              2 one is by ursa major and one by thrive                              1
                                                                                                                                                                                                                                                                                      One was Thrive and the other one didn't resemble the brand the
different designs                                                3 not sure if they are the same brand or not                            3 can't tell the brands                                                                                                                    2 same way.                                                           3
                                                                                                                                                                                                                                                                                      I was looking at the name of the products and didn't notice the
Different names.                                                 2 Look different, different names, no other data to draw from.          2 Different names.                                                 2 I don't see any link to indicate they are affiliated.                 3 manufacturer names.
different names and looks                                        2 different names and looks                                             2 different names and looks                                        2 different names and looks                                             2 different names and looks                                           2

The logo is different between the two companies                  3 There may be a private partnership between the two companies          2 it is clear from the packaging                                   3 Companies may be associated with each other                           2 The logo is different between the two companies                     3
One product is from Thrive and the other does not seem to be                                                                               They don't look like they have the same ingredients in the
made from them.                                                  2 They look to have different owners.                                   2 products.                                                        2 They look like very different products.                               2 They had different looking packaging.                               2
                                                                                                                                           Thrive has a copywrite and does not show up on the other
                                                                   They do not appear to show anything that connects or is the             product. They have different themes and appearances without
The packaging and web pages appear to be completely different.   2 same.                                                                 2 overlap in wording or phrasing.                                  2 I do not see anything that seems to be the same.                      2 I do not see anything that seems to be the same.                    2
                                                                                                                                           The branding and write up and look of the websites are
Different website layout and write up                            3 See previous answer.                                                  2 completely different.                                            3 Again, not sure, but it would be a good idea as a seller.             2 Website and write ups different.                                    3

They are different brands: Ursa Major and Thrive, though they                                                                                                                                                 There is a chance that these brands are affiliated. It wasn't           I believe they are different because the brand names are
might be owned by the same company.                              3 The brands might be affiliated.                                       2 Because one was from Thrive and the other was from WLDKAT        3 specified online.                                                     2 different: Thrive and Ursa Major.                                   3

because I do not use ursa major                                                                                                          2 because they have two different names                            3 because I do not care to know the names of the companies              3 because I do not use ursa major
Don't seem the same                                              3 I cannot say                                                          2 The name is different                                            3 I cannot say                                                          3 I cannot say
                                                                                                                                                                                                              Now I'm not sure if they could be connected based off type of
Again, just based off design, they felt different.               3 It could be a sister company offering a variety of facial products.   2   Had a different feel to the design.                            3 products.                                                             2   The packaging was so different and one was a cbd product.         2
totally different names and look.                                2 totally different names and look.                                     2   Totally different names and look.                              2 Totally different names and look.                                     2   totally different names and look.                                 2
different brands                                                 2 totally different look                                                2   not the same name brand                                        2 they look different                                                   2   they look different                                               2
they are both balms but different packaging                                                                                              2   because the names are different                                1 the packaging are similar.                                            2   they do not look a like.                                          3

packaging appears much different                                 2 packaging appears much different                                      2   different brand names used                                     3 i'm not sure either way                                               3   These don't look as dramatically different as the other options
Different brand names                                            3 I am not sure                                                         2   Different brand names                                          3 I am not sure.                                                        2   Different brand names                                             3
i don't know                                                                                                                             3   i don't know                                                                                                                           1   i just think that
The look of the products are different.                          2 They products are very different.                                     2   The design is different and the description is different.      2 They're very different.                                               1   The look is similar.

                                                                                                                                                                                                                                                                                      these are more similar in look and components than the
Same answer as the first two                                                                                                             3 Same answer as before                                                                                                                    3 previous pairs, but they do have different brand names

One is by Ursa, the other by Thrive                              2 One is by Ursa, the other by Thrive                                   2 One by Wldkat, the other by Thrive                               2 One by Wldkat, the other by Thrive                                    2 One by Ursa, the other by Thrive                                    2
looks are completely different                                   3 not sure?                                                             2 not similar at all                                               3 cant be sure                                                          2 one looks higher end then other                                     2


Different company names.                                         2 Nothing connecting them in the photos.                                2 Different company names.                                         2 Nothing linking the companies in the photos.                          2 Different company names.                                            2
                                                                                                                                                                                                                                                                                      The second product doesn't show much outside of the product
                                                                   There's not enough information on the screen to say one way or                                                                             They look very different and highlight different ingredients in the     description for that particular product. There's no other site
Different brand names                                            3 the other                                                             2 Different brand names and design                                 2 product                                                               3 information shown
They have different brand names and packaging.                   2 Different companies, and looks.                                       2 One is by Wildkt and the other Thrive                            2 Different names                                                       2 Different names                                                     2

                                                                                                                                           Because Thrive is the same brand shown in one of the other ads                                                                             Because the packaging doesn't look similar, they have different
Because they have different brands & websites                    2 I don't know                                                          2 and the packaging is different from the other ad shown           2 Because they are from different companies                             2 webpages, and different brand names                                 2

Again one says Thrive the other Ursa Major                       2 Look nothing alike                                                    2 Tow different comapnies                                          2 Don't look anything a like                                            2 One says Thrive from LV the other is Ursa Major                     2




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branding and packaging look completely different                   2 branding and packaging look completely different                   2 I don't see any similar brand identity                               2 there are no similarities that can be seen in the packaging.       2 The look of the website and product is completely different.        2
they didn't look similar on their label                            2 the labels looked completely different                             2 look different                                                       2 labels look different                                              2 one was thrive one was ulta                                         2
                                                                                                                                          I don't know. I looked for information on the images but
Not enough information provided.                                                                                                        3 couldn't find it.                                                                                                                         3 There was not enough imformation.
look not the same but the same effect                              1 great one                                                          2 the same                                                             1 great                                                              3 i think they same
                                                                                                                                                                                                                 normally, companies are linked in some way, but the product
product design looks differet                                      2 significantly different product style                              2 product looks different                                              3 looks totally different                                            2 looks differs enough                                                1
They have different names and different packaging                  2 They don't look to have similar branding.                          2 Different name and different packaging                               2 They don't have the same name                                      2 Different name                                                      2

both names on product are different                                3 can't see connection but not sure                                  2 companies names are different                                        3 can't see a connection                                             2 one said ursa major the other said thrive                           3
im not sure if they are                                                                                                                 2 they seem really different                                           3 im not sure if they are the same                                   1 they both seemed the same

The second product appears to be from Thrive. Im not sure            No, identifying information provided on the first webpage like       First is identified with Thrive and the second is identified with                                                                           First product has no identifying information for the company like
about the first.                                                   2 the second.                                                        2 WLD.                                                                 3 Not enough information provided to determine.                      3 the second does.
The logo is different                                              1 They are linked by the same compound                               2 Because the two logos on them are different                          2 They have a different design                                       2 Various specifications                                              3
the appear completely different and don't have the same name                                                                                                                                                     they don't appear similar so I would guess not, but can't be
on them anywhere                                                   3 again I would guess not, but can't be 100% sure                    2 they don't appear to have the same name anywhere on them             3 entirely sure                                                      2 they don't appear to have the same name on them at all              3
It is from different brand.                                        2 I believe it is from different manufacture.                        2 It is from different brand name.                                     2 I believe from different manufacture.                              2 It is from different brand.                                         2
The name and product description does not make it clear if they                                                                           It is hard to tell if they are related based on the product                                                                                 The information provided does not make it clear if they are
are related                                                                                                                             3 information                                                                                                                               3 related
                                                                                                                                                                                                                                                                                      They have different names, and I am not sure which company
I don't know if the same company makes both products                                                                                    3 I don't know which company makes either product                                                                                           3 makes either product.

The logo and branding on the bottles seemed different to me        3 I am not sure how i could tell that                                2 different branding and logo                                          2 saw no reference of the other brand on either                      2 different branding                                                  3

                                                                     I truly do not know. There was no "manufactured by" or
Thrive and Ultra(something) are different brands with zero           "distributed by" in the descriptions nor was the reverse side of     No manufacturer or distributor listed; Just the brand name to                                                                               Again, manufacturer nor distributor were mentioned in the
obvious affiliation.                                               3 the product labels visible.                                        3 rely upon.                                                                                                                                3 product's description or labeling.

The products branding looks different as well as the websites        They just don't look affiliated based on the features of the         They look totally different as well as the website looking totally                                                                          The products have different functions as well as the products
look totally different.                                            2 website and what was highlighted on the product                    2 different.                                                           2 The products look extremely different as well as the branding.     2 having different graphics and branding.                             2

no similarities                                                    3 not enough information                                             2 No similarities in packaging, names, website.                        3 I don't have enough information.                                   2 No similarities                                                     3
Because the brand is different                                     3 Because I don't know                                               2 Brand is different                                                   3 Because I don't know                                               2 Different brand                                                     3

One product advertises plant based. 2nd doesn't which, along                                                                              Packaging makes me think that. Usually products from same              I didn't get a feel for the products being from same company or      From the type of packaging for each. Looked similar like
with packaging, makes me think different companies or brands       3 They don't appear to be associated                                 2 brand have similar packaging.                                        3 an affiliated company based upon packaging or presentation         1 products from one brand

I have never seen this products before until this survey.                                                                               3 I am unfamiliar with both these products names.                                                                                           3 I am unfamiliar with these products.




Thrive and Ursa Major are obviously different companies                                                                                   WLDKAT and Thrive are named different and the product
because the name of each is different. The product descriptions                                                                           packaging is different per each brand. WLDKAT is a bit more high
and packaging are also different per each company. Ursa Major        Ursa Major and Thrive are different company names and each           end than Thrive, and WLDKAT products look more trendy and                                                                                   Ursa Major is marketed toward younger/ trend seeking
seems higher quality, while Thrive seems more marketed to            website and product packaging is recognizable as belonging to        shareable on social media. Thrive's packaging is basic and not         Thrive and WLDKAT have different names, product packaging,           consumers, while Thrive is marketed toward older, skin
younger mainstream customers.                                      2 separate brands.                                                   2 very appealing.                                                      2 product description, and website design.                           2 ingredient seeking adults.                                          2
products don't look similar                                                                                                             1 bottles look similar                                                                                                                      2 products dont look alike                                            2
different names                                                    3 not sure                                                           2 different names                                                      3 not sure                                                           2 different name and different website                                3
                                                                     Any companies could be affiliated, although affiliation between
There is very different branding and messaging between these         these two doesn't seem very likely, beyond them being skin care      The difference in branding leads me to believe these are               These companies' messaging is similar enough that an affiliation     Branding and messaging are sufficiently different that I believe
products, leading me to believe they are from different sources.   3 companies.                                                         2 different sources.                                                   3 between them is plausible.                                         2 the sources are different.                                          3
because of the different names                                     2 because of the names of the products                               2 because of the names                                                 3 because of the different names                                     3 just because of the name
they seem different                                                                                                                     2 they seem different                                                  2 they seem different                                                2 they seem different                                                 2
                                                                     I have never heard of either of these companies, and the logos
                                                                     have nothing in common that would indicate whether they are                                                                                 There is nothing in the name, logo, colors or font that indicate
One is called Ursa Major and the other is called Thrive            3 connected                                                          2 The names, logos and colors are different                            2 they are connected                                                 2 They have different names and logos                                 2

can't tell from info given                                                                                                              3 two different names                                                                                                                       3 I don't know
                                                                                                                                          One has CBD and the other does not, it makes me think they
The packaging and font is different between the two products       3 I really have no idea                                              3 aren't from the same company                                                                                                              2   The packaging and websites are completely different               3
Labeled differently ‐ Ursa and Thrive                              3 I have no idea, I guess it's possible!                             2 Thrive vs Wildcat ‐‐ different brands                                2 Two very different brands                                          1   Similar branding, and does the same thing
Due to the price line.                                                                                                                  2 Different brand name.                                                3 Becuase it's possible, but I'm not sure.                           2   Because these products look very different.                       3
Again, I have never heard of any of the brands shown                                                                                    3 I have no knowledge about the products                                                                                                    3   I am not familiar with any of the products shown

Different company names on products                                2 There is nothing on the ads that can link the two together         2 They are different brand labels on them                              3 It was not super clear to me if they were or were not affiliated   2 Different brand names                                               2

                                                                                                                                                                                                                 I don't know, but my guess would be that they are not
One product specifically says it uses plant products, where the                                                                           The product design/colors/website layouts don't look like each         connected because the Thrive product seemed big on showing           The webpage setup seems similar, even if the products don't
other one seems more chemical based.                               2 They don't seem to have any ethos in common.                       2 other.                                                               3 they usual natural products, where the other product did not.      3 have the same brand names.

The descriptions have two different "feels" to them, not like        The products just do not seem to have anything to suggest they
they have anything in common.                                      2 come from the same company.                                        3 They feel totally disconnected                                                                                                            2 They feel like they are created for different generations.          1
                                                                     They might have an affiliation of which I am unaware. I really
Thirve is one of the companies and Ursa Major is the other. I        don't know anything about Ursa Major since I haven't seen it
have purchased make‐up products from Thrive.                       3 before.                                                            2 Different brand names                                                3 I have never heard of WldKat                                       2 not familiar with usra major                                        3
look like different brands                                         3 can not be too sure                                                2 totally different                                                    2 different taste                                                    2 look totally different                                              2
because I'm not sure                                                                                                                    3 because I'm not sure                                                                                                                      3 because it is the first time I saw these two products.




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They don't look very similar and don't really show anything in                                                                                                                                                  I've never heard of these companies so I don't know but they           They kind of look different and seem like they would be from
common.                                                                                                                                2 I think one is from Thrive and one is from wldKat or whatever        3 don't look similar                                                   3 different websites.
One is called Ursula and the other is Thrive. And the packaging is                                                                                                                                                                                                                     Although I am not completely sure, they have similar packages
very different.                                                      2 Different packaging and price point.s                           3 I am not sure but the packaging is similar. They might be related.                                                                          1 and price ranges.

totally different packages, doesn't look like from the same brand    2 i don't see any connection between the two products             2 don't seem them in the same family                                   2 two different products and line                                      2 one look more high end and one look more average                     1

unsure who makes the 2nd one                                                                                                           3 did not see where it said who made them                                                                                                     2 one is ussr the other is thrive                                      2
they are different companies                                         2 they aren't affiliated with each other                          2 they are different companies                                         2 i don't think they are affiliated with each other                    2 because they have different brand names                              2
They contain different features and names that support each                                                                                                                                                                                                                            Each product belongs to a company that matches the quality of
company and its product                                              2 Each product is suitable for a specific type of skin            1 It contains the same name as the manufacturer                                                                                               2 its production                                                       2
One saus URSA and one saus Thrive                                    3 unclear to me                                                   2 2 different names on top                                             3 unclear                                                              2 One says URSA and one says thrive                                    3
the same using                                                                                                                         1 that's what i feel.                                                                                                                         1 same benefits.
Because they do not resemble each other in form or                                                                                       Because they are similar to each other and the same properties
composition                                                          1 Because they are of high quality and convenience                1 and composition in general                                                                                                                  1 Because both products are of good quality
                                                                                                                                         One said WLDKAT on the top of the page and the other said
They didn't look like they were related and seemed like 2              I don't know either of these companies so I'm unaware of they     Thrive. These images seemed like 2 different companies/2               I honestly have no idea. It didn't seem like they were connected       One is called Thrive and one is called Ursa Major I think. didn't
different company names/websites                                     3 have any kind of affiliation                                    2 different websites                                                   3 but I've never heard of either of them so they could be              2 look like the same company.                                          3
sane company                                                                                                                           1 same company                                                                                                                                1 thive company

There is nothing name wise that I saw that would lead me to            I honestly don't know. They could be under the same company       There is nothing that leads me to believe they are from the same                                                                              Nothing between the products is shared, so this leads me to
believe that they are from the same company.                         3 umbrella, but the products are named and styled differently.    2 company.                                                             3 The may be under the same umbrella, but different companies.         2 believe they are from two different companies.                       3
Two different names                                                  3 Not completely sure                                             2 They seems very different                                            3 I'm not completely positive.                                         2 They seem very different                                             3
                                                                                                                                                                                                                                                                                       because im not familiar with the brands and they could be
because sometimes company's have variety of brands                                                                                     3 they could be from the same company. im not familiar                                                                                        3 affiliated
the bottles look very different from each other and is hard to
tell                                                                                                                                   1 the 2 bottles look similiar and fit well together                                                                                           1 the color and design of bottles look similar
different names                                                      2 not similar                                                     2 different names                                                      3 just not sure                                                        2 different names                                                      3

no indication same company but could be                                                                                                2 totally different strategies                                         2 product look is way to different                                     2 different names and look to the products                             3

                                                                                                                                                                                                                I'm not sure if they are affiliated or connected in one way or the
                                                                                                                                                                                                                other because there are many manufactures that produce
                                                                       Brands can be manufactured by one main parent company, I just     The name brand Wildkat and Thrive are different names and              products for other companies with multiple names, so there's no        The name brands of the companies on the products are labeled
The brand names on the packaging on the product are different.       3 don't know if they're related or not.                           2 brands.                                                              3 way of me being sure they're not connected.                          2 differently and the product packaging are different.                 3

They are different colors, have different name brands                2 i dont think they connect                                       2 different style                                                      2 one is made with oats                                                2 they have different names                                            1

Different names but who knows                                                                                                          3 They have different names, but that doesn;t mean anything.                                                                                  3 Again, different names would maybe indicate no?

                                                                                                                                                                                                                Might be from same parent company, but the two products look
Different brand names                                                3 same as before                                                  2 Packaging is different.                                              3 like they come from different brands.                                2 Different brand names                                                3

The first product says Ursa Major, which might be the name of
the company. The second product only lists the name of the             Nothing in the looks of the product, or the wording, makes me     The smaller product had a different header on the ad at the top.
product, and I didn't read a name that might be a company.           2 think they are related. No resemblances that I can see.         2 Gave no clues that they were made by the same company.               2 The products look different, and the wording was different.          2 Packaging was different colors/fonts.                                2

Different companies, bottles are different                           2 Different designs, writing, color                               2 Two different company names.                                         3 They could be but not sure, would have to read the fine lines        2 Different symbols on packaging                                       2


one logo is thrive the other is Ursa major                                                                                             3 one logo reads Thrive the other WldKat                                                                                                      3 one reads Thrive the other reads Ursa Major
                                                                                                                                         I've heard of Thrive, but not Wldkt and I don't know if they're                                                                               I've only heard of Thrive brand, not the other, so I don't know if
The labels are not from the same companies.                                                                                            3 associated with each other.                                                                                                                 3 they're part of the same company.




No evidence                                                                                                                            2 Can't tell if they are from the same parent company.                 3 Parent companies that are shared aren't always evident.              2 No evidence they have the same parent company.                       3
                                                                       They may be. It's hard to know from the information we were
The web site looks different                                         3 given                                                           3 I really don't know and it's very hard to say                                                                                               2 Because one is made with CBD                                         2
                                                                                                                                         There are a limited number of manufacturers for "private label"                                                                               There seems to be quite a bit of difference in the "concept" for
These products appear to be quite different, and may have                                                                                products such as this (as opposed to mass market products such                                                                                these products, so I'm guessing different manufacturers.
different manufacturers, but it's hard to say.                                                                                         1 as Olay and Eucerin).                                                                                                                       3 However, there's no way to be sure.
not very clear about the manufacturer                                                                                                  3 it does not say about the manufacturer                                                                                                      3 not clear about the manufacturer
                                                                                                                                         The 2 bottles as well as ingredients are about the same yet                                                                                   I would think if they were from the same copmany the bottles
                                                                                                                                         different. Why have one company make 2 products but differnt                                                                                  and designs would be the same. They do not have anything in
The bottles and logos do not look anything alike.                    2 Why would one company make two of the same produtcs.            2 names?                                                               2 Again I say why make 2 products that are so similiar                 2 common                                                               2
Their marketing is very different                                    2 Their marketing is very different                               2 Their marketing is very different                                    2 Their marketing is very different                                    2 Different company names.                                             2
the products have different names but could still come from the                                                                          they have different names but could still come from the same                                                                                  the product line names are different but could still come from
same company                                                                                                                           3 company                                                                                                                                     3 the same company
They are too different                                                                                                                 1 Companies always have different brands to sell.                                                                                             1 They both have a bland look.

Packaging is different.                                                                                                                2 Packaging if different.                                              3 I truly believe my answer.                                           2 Different on the products.                                           3
Again, different background colors on the websites or the                                                                                Because the bottles are similar in color and the pumping
products.                                                            3 I can't make the determination one way or another.              1 mechanism looks the same.                                                                                                                   3 I can't tell one way or another.
I am not sure if it is the same brand.                                                                                                 2 It have a different brand name website.                              3 I am not really sure if they are affliated.                          3 I am not sure if they come from the same company.

I don't see any similarities in the names.                           3 not enough information                                          2 different names                                                      3 cannot tell from just these screens                                  2 different names                                                      3
look very different                                                  2 look very different                                             2 look a little similar, but not too much                              2 same reasn as before                                                 2 semi different look                                                  1

                                                                       Because its hard to know if or how companies are connected
Just seems by description not to be the same company                 3 these days.                                                     2 Different headings on the internet pages                             2 Packaging and advertising very different                             2 Advertising and packaging                                            3
                                                                                                                                         Why is this survey repetitive and asking the same question over                                                                               Best I can tell the names are different and the packaging is not
They do not even look similiar                                                                                                         2 and over                                                             2 Again, they look different                                           2 the same either                                                      3




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                                                                                                                                             Even though both products appear to be very good for my skin,
the first product mentions thrive's name in the description, but       I don't see anything on either product page that makes me think       offering a lot of benefits, the appearance of the products seem         I don't have any reason to believe they are connected. The
the second product does not.                                         3 the companies are connected.                                        2 very different.                                                       3 products appear different.                                          1 Both products seem to be made from natural ingredients.
                                                                                                                                             It is hard to say because the 2 seem to have totally different
its hard to say seem to have a lot of common goals                                                                                         3 goals                                                                                                                                       1 seem to have a lot in common including a nice clean look
they look the same                                                                                                                         1 the packaging and promises are similiar                                                                                                     1 very similar
They look very different                                                                                                                   2 Different websites                                                    3 not sure                                                            3 They look very different
                                                                                                                                                                                                                     How would I know if they are affiliated? I have heard of Thrive
One is Thrive and the other is Ursa Major                            2 I did not see anything connecting them.                             2 One was Thrive and the other was Wldkt                                3 but not of Wldkt.                                                   2 One is Thrive and the other is Ursa Major.                          2
                                                                       some companies have a variety of products under different
Thrive verses Ursa Major ‐ two different names                       3 names                                                               2 WldKat verses Thrive ‐ two different names                            3 Could be the same company with two different product names          2 Thrive verses ursa Major ‐ two different names                      3
                                                                       They both contain CBD so they may be affiliated even though
The label and ingredient descriptions differ                         3 the products look different.                                        2   Image/label very different                                          3 They have a very different graphic image                            2   Different graphic designs,and the way they portray the product.   2
They were different names                                            3 Because I am unsure if they are related                             1   They are Thrive                                                                                                                           2   One is Thrive the other is Ursa Major                             3
i know tow products                                                  2 opinon                                                              2   i know                                                              2 opinon                                                              2   i note that                                                       2
both use for different reason                                        3 not sure                                                            2   different website                                                   3 not enough info                                                     3   not sure

Thrive and Ursa was the names.                                       3 I.m not sure.                                                       2 They don't say the same company.                                      1 Because some companies make different products.                     2 Different names.                                                    1

Different names                                                      3 It didnt look like they were.                                       2 Different sites and different names                                   3 It didnt look like the were.                                        2 They were different names.                                          2

they look different                                                  2   just look different                                               2   one is from thrive and the other is wldkat                          3 hard to tell which brands are from the same parent company          2   completely different products                                     2
different brands                                                     1   Skin Balm                                                         2   Different brands                                                    2 One for sensitive skin                                              2   Don't look like they are the same company.                        3
Made from different products. Not the same name                      2   Seem like to separate things. Name, ingredients.                  3   DIfferent packaging, one is CBD                                                                                                           2   Different names                                                   2
because can't find the relation                                      2   I think they are different brands                                 1   I can think of it because they have the same ingredients                                                                                  3   because I can't distinguish the brands
I can't tell if they are or not                                                                                                            3   They don't appear to have the same company name                                                                                           2   They don't appear to have the same company name                   3

                                                                                                                                                                                                                                                                                           I don't know whether Ursa Major facewash is part of Thrive
2 different companies, what do you want me to say :)                 3 I don't know whether they are affiliated.                           2 One is WLDKAT and the other is Thrive                                 3 I don't know.                                                       3 Causemetics. It seems to be 2 different companies.
Thrive Vs Ursa. 2 Different companies                                2 It is what it is                                                    2 Thrive Vs Wildkat. Thats why                                          3 I saw two different companies                                       2 two different companies                                             1
one is from thrive                                                   3 dont know                                                           2 I do not know. not the same website                                   3 not same website                                                    3 I can not tell. the packing looks the same.

Very similar in different products.                                                                                                        3 I have no clue.Nothing stands out to me either way.                                                                                         2 Different quality of price,different way of doing things.           2
One is Thrive and one is Ursa Major, so unless the parent                                                                                                                                                                                                                                  ONe is Thrive and the other is Ursa Major, so unless there is a
company is the same and I'm not being told that, these come            Because I'm not told if they are connected and I don't know           One is wldkat and one is Thrive. The websites also appear               I don't know the companies and have no reason to believe they         connecting parent company, then they are different. They
from different places.                                               3 either of these companies.                                          2 completely different.                                                 2 are connected.                                                      2 websites also look completely different.                            2
i have no idea                                                                                                                             2 no names in common                                                    3 have never seen or heard of                                         2 I have no idea                                                      1
different name and packaging                                                                                                               2 totally different                                                     3 have no idea                                                        3 one is proprietary

by how they are presented.                                           3 not sure!                                                           2 what is in the product                                                3 They could be, just going in different directions in what in them   3 still not sure
Different brand names                                                2 Different brand names                                               2 Different names                                                       2 Different names                                                     2 Different brands                                                    2
doe not have any thing common.                                       2 doe not have any thing common.                                      1 same name .                                                                                                                                 1 bottle color and shape is the same.
                                                                                                                                             The manufacture of these products has a different concept and
I do not know who makes these products.                                                                                                    2 idea.                                                                 1 I think this is a good product for people to have.                  3 I do not know who the manufacture of this product represents.

Two different logo and two different presentations of their                                                                                  Both are promoting skin care products in a similar way of
products                                                             1 Both companies are in the skin care business                        1 presentation                                                                                                                                3 I am a bit confused, but I believe they are the same company
                                                                                                                                                                                                                                                                                           they seem a little more similar that other comparisons made in
they describe each product very differently from each other and        there is a possibility that the two companies are affiliated with     possibility, based on description and design of products, but it is                                                                           this survey, but they still seem to be for two completely
for different skincare purposes                                      3 one another but it is not strongly apparent                         3 not completely apparent if they are related                                                                                                 2 different purposes in skin care                                     2

                                                                                                                                               don't know ‐ just could be I guess. same bottle color and must
just doesn't look possible                                           3 really cannot know for certain                                      3   be sensitive ingredients to use brown                                                                                                     3 they could be ‐0 same vibe
I don't know                                                                                                                               3   I don't know                                                                                                                              2 I don't know, it just looks like that                               2
No connection on web pages                                           3 Don't know either product                                           2   Different web banners                                               3 Don't know either name                                              3 not familiar with either product
Because one product is showing the name Thrive and the other           Because there isn't anything on the sites to indicate that the          Because one product is showing the name Thrive and the other          Because there isn't anything on the sites indicating that the         Because one product sis it's made by Thrive and the other said it
one is showing a different name.                                     3 products were made by the same company.                             2   product is showing the name WLDKAT                                  3 products came from the same company.                                2 was made by URSA Major.                                             3

Different brand names, Thrive and Ursa Major                         3 I really don't know these companies.                                3 I really don't know for sure                                                                                                                2 It really doesn't say that they are.                                3
They had different names I thought                                   3 I am not sure I would have to se it again                           2 They have differnt names                                              2 I dont think they are the same company                              2 I dont see a connection                                             2
different brands                                                     2 different brands                                                    2 different brands                                                      2 different brands                                                    2 different brand names                                               2
                                                                                                                                             I put on my glasses and made my screen bigger and could not
says thrive * other ursa                                             2 No clue                                                             3 see it                                                                                                                                      3 Cant read it
The products are from two different brands with totally                It appears the products are from different manufacturers but I        The first company was Thrive. The second company was                                                                                          One product says it is from Thrive. The second says it is made by
different looks to the packaging.                                    2 can't be certain.                                                   2 WildKat. It looked like two different brands.                         3 I can't tell if the two brands are from one manufacturer.           2 Ursa Major.                                                         3

                                                                       color of bottle, missing product company name, web page               The company name is THRIVE and the 2nd bottle doesn't have                                                                                    The look, packaging and name of the company on the bottle. As
Different companies                                                  2 marketing, branding all diff, etc                                   2 that name on it's bottle                                              2 no not at all, for all the reasons Ive reviously noted              2 well as the Internet web page is differet.                          2


I have actually used Ursa Major products, and the first product is     I have no knowledge of whether or not these two products
not in their line of products. In addition, the product name           would be affiliated with one another, so as to not guess I would      I do not believe that products with two different names would           Without researching both products I would have no way of              Once again, I do not believe products with two different names
appears to be Thrive.                                                3 just say I do not know.                                             2 be from the same company.                                             3 knowing for sure.                                                   2 would be from the same company.                                     3
seem opposite to use                                                 2 they look unique                                                    3 not sure                                                                                                                                    2 diffetnt                                                            2
labels look nothing like each other                                  3 because of the labels                                               2 labels are different                                                  2 labels are different                                                2 labels are different                                                2
                                                                                                                                             I do not think they come from the same company because it is                                                                                  I did not know if they were available to be the same things or
I am not sure if they are from the same company or not.                                                                                    2 different products and brands.                                        2 They do not look like the same website.                             2 not.                                                                3




Different type of packaging.                                         3 I'm not sure.                                                       2 The products are very different.                                      3 I'm not sure.                                                       2 The products are too different.                                     3
Different brands                                                     3 I don't know those products                                         3 I don't know these products and they look different.                                                                                        3 I don't know those products




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                                                                                                                                                                                                                                                                                          The packaging , design and ingredients match and seems like
One product clearly states it is Thrive but other product doesn't     The product ingredients, the packaging and the way it works do           One is Thrive and the other is WLDKAT. The page design along         Hard to say based on the webpage, packaging and the various           they belong to the same manufacturer/brand with the best
mention anything about the brand/manufacturer.                      3 not align.                                                             2 with the ingredients used and purpose do not align.                3 offers.                                                             1 seller being presented separately.
                                                                                                                                               Because they had the name of the product company on the
product names are on the bottles and no relation is obvious         2 no sign they are                                                       2 product                                                            2 I didn't see any indication they are related.                       2 one was thrive and one was ursa                                   3

different names                                                     2 there is no information to suggest that.                               2 one is vegan the other is not                                      1 almost the same idea                                                1 the ingredients
They don't look like the same brand.                                                                                                         2 They don't look like the same brand or label.                      2 They are different companies with different products.               2 Different brands.                                                 2
                                                                      Cannot tell from first glance that they are associated/affiliated
One is THRIVE, one is URSA MAJOR                                    2 with one another                                                       2 It is hard to tell that they are the same family of brands.        2 It is hard to tell that they are associated with one another.       2 One is THRIVE, one is URSA MAJOR                                  2

Nothing says the same company.                                      3 Again, I can't see all of the sides of the container.                  2 Packaging and names are very different.                            3 I can't see all sides of the container to read all of the info.     2 Different names.                                                  3
different names                                                     1 because it is true                                                     2 different names                                                    1 because it is true                                                  2 different manufacturing names                                     1
defrent comany                                                      2 i am noy sure                                                          2 green book                                                         2 green bad and good                                                  2 becase thy are defrent names                                      3

                                                                                                                                               Neither of these products have any other names on the front of                                                                             The second bottle has 2 names mid way down the bottle and the
The first product has another name on the front of the bottle         The first product has what looks like a manufacturers name on            the bottles and I am not able to see the back of the product in      Because neither bottle has any other names on the front of the        first bottle has a company symbol associated with the name of
and the second item had no name other than the product name.        2 the front of the bottle and the second item does not.                  2 order to see what the manufacturers name is.                       2 bottles.                                                            2 the product.                                                      2

No way of knowing                                                                                                                            2 Just an assumption                                                 3 No way of knowing if affiliated                                     3 Could be the same company, but no way of knowing for sure.
they are                                                            1 i do not know                                                          1 they are from teh same                                                                                                                   2 they are differnt                                                 1


the packaging is very different from each other is why              2 the seem different                                                     2 the products looks very different from each other                  2 It does not seem like they are                                      1 The packaging and design looks similar
One says Thrive and the other doesn't                               3 It is hard to tell because they look the same                          1 It offers the same banefits                                                                                                              3 The type is so small I can't tell

one is ursa major and the other is thrive                           2 they are two different companies                                       2 wildkat is one company and thrive is the other                     2 they are separate                                                   2 again both different                                              2
they have different brand names                                     3 it's hard to say becauae I don't know the brands well                  2 differnt brands                                                    3 dont know companies                                                 3 different brand names

                                                                      I would not know just from one glance at this page. I would need         Because the second is from thrive company and the company                                                                                  They are from different companies although bottles kind of look
Bottles look alike but there are from different companies.          3 more information.                                                      3 looks more organic than the other one.                                                                                                   2 alike                                                             3
different names                                                     2 doesnt seem to be related in any way                                   2 not affiliated                                                     2 different lines with different names                                2 different names                                                   2

im starting to doubt my initial ad reactions                                                                                                 1 coloring of ad                                                                                                                           2 not sure                                                          3

one said thrive the other didnt                                     3 not sure                                                               2 one is thrive one is wldkat                                        3 this is very repetitive                                             2 different names                                                   2
different names                                                     3 idk                                                                    2 different sites                                                    2 idk                                                                 2 Different companies                                               3

Different layouts for labels, websites, namings are different       2 They do not appear to be to me...coloring, design, names               2 different logos and layout of labels                               1 Similar types of products                                           2 Completely different layout, designs, colors, etc                 2
They both look differenent                                                                                                                   3 They both look different                                                                                                                 2 The content and the purpose is unique between them                2
different brand/website                                             3 n/a                                                                    2 brands look diffferent                                             3 n/a                                                                 3 i need more info. they look different
looks like it is from the same compbany because products are
similar                                                                                                                                      1 similar product                                                                                                                          1 same product different bottle
                                                                                                                                                                                                                    common for parent companies to market themselves as
different names                                                     3 both seem like from natural products, but different names              2 different packaging                                                3 different                                                           2 Different manufacturer names                                      3
I don't remeber the company name                                                                                                             3 I don;t know                                                                                                                             2 They did not have ge same name                                    3

Labels dont reflect the same nor do they show a ditributer.         2 no similarities                                                        2 one indicates it is made my saffron                                1 stress relief and descriptions are genrally the same                2 one indicates it is made my a cbd distributor                     3
                                                                                                                                               ine was called thrive, one was wild cat. different packaging and
totally different                                                   2 looks different                                                        2 web site looks different                                           2 they look really different                                          2 different names                                                   2

                                                                      I would not have the background to indicate that they affiliated.        THKNDT and Thrive are not the same names so I think they are         Nothing in the add that caught my eye indicated that they were
URSA and Thrive are two different company names                     3 The have two different manufacturing names listed on the skin          2 different companies                                                3 affiliated                                                          2 URSA and Thrive are two different names                           3

the have different names; are made from different ingredients       2 they have different names                                              2 they look different; have different names; different ingredients   2 they don't look the same                                            2 different names                                                   2

They could be under the same umbrella company, but I'm not                                                                                     I also think that the branding and messaging of these two            Same reasoning as I've given for the other brands. They don't
sure. I don't think that they are                                                                                                            2 products are different                                             2 follow the same design                                              2 The two products don't have similar branding                      1
different names                                                     2 different names                                                        2 different names                                                    2 different names                                                     2 different names                                                   2

                                                                      The products can be from the same company but without any
Different ingredients,packaging,purposes and cost.                  3 similarity to each other.                                              1 Same ingredients and colors on packaging.                                                                                                2 The packaging looks different.                                    2
OMG. Why do you keep asking this? They don't share the same           This is really getting irritating. I am going purely on the name                                                                              I have no idea. It wasn't very clear. Quite honestly I was more
manufacturer name.                                                  2 and the branding ‐ neither of which are the same.                      2 The labeling and websites look different.                          3 interested in the benefits vs. the manufacturer.                    2 The names and the branding are completely different.              2
The look of the products is different and the wording in the          They say different companies on them, but there could be a               They are similar products, but could be made from different
description is very different.                                      3 connection.                                                            3 companies.                                                                                                                               1 The style of the bottle is the same.

they are both good products and around the same price                                                                                        1 i like the products and they seem helpful                                                                                                1 they are similar and both say face balms
Different site different names                                      2 different sites different names                                        2 Different websites                                                 2 Different websites                                                  2 Ursa and Thrive written on each bottle                            1
The product has different names                                     2 There very different in packaging                                      2 Packaging isnt similiar                                            2 The product packaging doesent align                                 2 The product packaging                                             2

i cant tell who makes the product                                                                                                            3 i cant tell who makes the product                                                                                                        2 it looks like a completely different product                      2
                                                                      bottle colors are different, fonts are different so i think they are
packaging colors look different, font is different                  2 from different companies                                               2 different brand names                                              2 bottles look completely different and brand names are different     2 brand names are different                                         2
The descriptions, ingredients, etc. are all set up with the same
format. Packaging looks similar as well.                                                                                                     2 The packaging and descriptions are very different.                 3 They don't really share similarities.                               3 They seem kind of similar, but I'm not certain.
different brand names                                               3 I do not know the parent company                                       2 different brand name                                               3 I do not know if there is a parent company                          2 different brand names                                             3

                                                                                                                                               One was from Thrive and the other from Wldkat. I have never
they are both fortifying face balm but it doesn't now appear to       I don't believe they are but I have never heard of either of them        heard of either so maybe they are both owned from the same           I don't see any indication that they are affiliated but they very
me that there is any affiliation between the 2 brands               3 so I can't say for sure if they are some how connected                 2 company but to me they look like 2 different ones                  3 well could be                                                       2 They are not the same name                                        3




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It is hard to tell. Anything can be owned by any company so they
very well could be owned by the same company.                                                                                            2 They look like very different products.                            3 I am unsure.                                                      2 They look very different.                                           2

                                                                                                                                           Nothing to suggest they are the same. Differeret packages            Packaging are different and colors are not the same. Nothing to     They have different packaging and there is nothing to suggest
Different packaging and colors.                                     2 Different packaging and colored package.                           2 colors.                                                            2 suggest they belong to the same company.                          2 they are the same.                                                  2
                                                                                                                                                                                                                                                                                    The name of the brands and the type of ingredients they have
One brand does not look as fancy as the other brand                 2 One brand is more expensive than the other brand                   2 The names, ingredients, and packaging are different                2 The companies seem to have two different missions                 2 are different from each other                                       2
fifferent type and name                                             2 different names                                                    2 different name and type                                            2 different vibe                                                    3 could be the same company
I don't know for sure. Probably not the same company, but I
really can't tell.                                                                                                                       2 completely different designs and products                          3 I don't know for sure.                                            3 It's possible, but I don't know for sure.
They don't seem related                                             2 No info connecting them                                            2 The logos differ                                                   3 Couldn't tell                                                     2 No similarities                                                     2

There are two different brands and companies.                       2 No indication they are connected.                                  1 It looks similar to the other product.                                                                                                 2 One says Ursa Major brand, the other is Thrive brand product.       2

The second product comes from a company called Thrive,
whereas the other has a product name/description on the
product called Ursa Major. They could come from the same                                                                                   It seems that Thrive could be an umbrella company, whereas
company, but it isn't clear.                                                                                                             3 Wildkat is a subcategory from this brand.                                                                                              3 The names are different, but they could be related. It's unclear.
the package looks similar                                                                                                                2 different name on the bottle                                       1 both are good for skin care products.                             1 it's an addition to the other skin care product

different aesthetics                                                3 I don't know                                                       1 similar color schemes                                                                                                                  2 only one had CBD i think                                            3
                                                                      The websites appear to be different and have different looks to
The aesthetics are different                                        2 them                                                               2 Different sites, packaging, etc.                                   2 They do not appear similar                                        2 The products and sites look different                               2
                                                                                                                                                                                                                                                                                    they have different names on the packaging and different
since the website looks different and the packaging                 2 since they are on different websites                               2 these have differenet names on the bottles                         2 since they are different                                          2 websites                                                            2

                                                                      you never know these days. you can't judge them by the surface       they are very simliar products in terms of what they are selling
They have different packaing, selling points, vibe, etc.            3 look                                                               3 but have slightly different selling points and pacakageing                                                                             2 They have barely any similarities                                   3
none                                                                                                                                     3 can't tell                                                                                                                             3 can't tell
                                                                                                                                                                                                                                                                                    The first product was marked with the word Thrive, which I
One is marked Ursa Major, the other is marked Thrive in such                                                                                                                                                                                                                        already know is a brand. The second product was packaged
ways I'd assume these words are their brands. As they are not         I wouldn't independently think they're affiliated, I'm only                                                                                                                                                   simply‐similar to the first product, but it was not marked with
the same word, I'd think they were affiliated with different          suspicious of their connection because you suggest it as a           Thrive and WLDKAT are different words, even though they seem         I wouldn't think these products are made by the same company,       the word Thrive. I could only see the words Ursa Major perhaps
brands.                                                             3 possibility.                                                       2 to share similar goals and values.                                 3 but maybe they are because you wonder if I do.                    2 indicating the brand.                                               3
i can't tell                                                                                                                             1 both say thrive                                                                                                                        3 i cant tell
different logos                                                     3 because it's the way I see it                                      2 different names                                                    2 different names                                                   2 different name                                                      3

They appear very different and there isn't anything similar about
both websites or products                                           2 They just appear to differently to me                              3 I just don't know                                                                                                                      2 The products seem different and don't have similar labels           1

i don rknow what to say                                                                                                                  3 i just dont know                                                                                                                       2 two differnt company logos                                          2

They look different from one another                                                                                                     2 They had different brand names on them                             3 I have no idea if they are linked in some way                     2 They have different brand names on them                             3
                                                                                                                                                                                                                                                                                    One product had the name Ursa Major and one had the name
Thrive product is powered by regenerative plants.                   3 They seem to both have the same goals in skin treatment.           3 These products both state they are made from plant extracts.                                                                           2 Thrive. One included CBD as an ingredient.                          2




These two brands seem more similar but I still don't know. They                                                                            They seem to have a different purpose and mission. WLDKAT
both feel more geared towards an older audience and have a                                                                                 feels more hip while Thrive feels more earthy. WLDKAT feels                                                                              The brand seemed to have a different name. The layout of the
more simple approach to advertising. They both also feel to be                                                                             more adventurous and unique while Thrive feels more classic                                                                              product pages looked completely different. The website layout
nature‐based products.                                                                                                                   3 and simple.                                                                                                                            2 as well was completely different.                                   3
most of the content to be the same                                                                                                       2 most of the content to be the same                                 2 most of the content to be the same                                3 Features are completely different
brands                                                              2 brands                                                             2 diff brands                                                        2 diff brands                                                       2 diff brands                                                         2

I do not know.                                                                                                                           1 Because, I think that a one is WLDKAT and the other is Thrive.                                                                         3 Because I do not know.

They are clearly from two different companies even though they        Because there is no apparent connection based on the                                                                                                                                                          They clearly state that they are from two different companies. I
both seem to be for the same purpose.                               2 screenshots I've been presented with                               2 I keep saying the same things. There is no apparent connection.    2 N/A                                                               2 didn't see any connections that would imply otherwise.              2

They have different company name                                    2 They have their own names.                                         2 WLDKT and Thrive is different company                              2 Different manufacturer and company name.                          2 ursa major and Thrive is different brand                            2

                                                                      Because they both we for your face and although they had             They were for 2 different things for skin care and they had
The bottles looked different.                                       1 different designed bottles I think they were for the same thing.   2 different brands.                                                  2 They were for different reasons of use.                           1 They were both made by the company thrive.
looks diffent                                                       2 different                                                          2 looks different                                                    2 looks different                                                   2 different companies                                                 2
                                                                                                                                                                                                                                                                                    they look similar and i think i seen the brand. i know one was
one is thrive one is ursa major                                     2 different company                                                  2 one was thrive and one was wldkat                                  2 they are different brands                                         1 called thrive

They looked like they were on different websites, and from                                                                                 They looked like they were from different company names and                                                                              They appear to be from different companies and available on
different companies , but I could be mistaken.                                                                                           3 on different websites.                                                                                                                 2 different websites, with very different price‐points.               2

Looks like Thrive is made by Regenerative Plants.                                                                                        2 One is by WLDKAT the other by Regenerative Plants.                 2 Seems like different makers.                                      2 One is Ursa Major, and the other is Thrive.                         3
different names                                                     2 Different qualities                                                2 Different names                                                    2 Different price points                                            2 Different brand names                                               2
                                                                                                                                           The brand names are different. The labeling on the bottle are
Don't know with the given information                                                                                                    2 different.                                                         3 cannot determine with the information given.                      2 It appears to be different.                                         3

                                                                                                                                           Two different price points and looks like two different target
For all the previously mentioned reasons                                                                                                 3 markets                                                                                                                                3 In this case, I'm stumped.
Because this seems clear from the announcement                      2 Because this seems clear from the announcement                     2 Because this seems clear from the announcement                     2 Because this seems clear from the announcement                    2 Because this seems clear from the announcement                      1




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thrive ursa major                                                 2 doesn't say                                                            2 wldkat thrive                                                       3 no indication that they are not. no indication that they are.           2 ursa major lv thrive                                                3
different brand names                                             3 It doesn't give that info                                              2 they have different brand names                                     3 I did not see that information                                          2 different brand names                                               3

                                                                                                                                               They seem from different manufacturer and it's just wild guess.     they can be connected and I am just guessing that. I am not sure
Seems from two different companies or manufacturers.              3 I have no clue.                                                        2   I am not sure bout the answer.                                    1 about it.                                                               2   they are products from different companies.                       3
They didn't not look similiar                                                                                                              3   I am not sure                                                                                                                               3   They could be similiar
different brand names                                             2 company logos are different                                            2   different brand names                                             2 different logos                                                         2   same as before                                                    2
Different color bottles                                           2 Different names                                                        2   Different names and price points                                  3 Again cannot really tell                                                2   Ursa Major vs Thrive Skin (different names)                       3
different brand names                                             3 can't tell                                                             2   different brand names                                             2 too different                                                           2   they have different brand names                                   2
It didn't really say on the first product what the company name                                                                                                                                                    I would have no way to know if they are affiliated unless I would
was.                                                                                                                                       2 They both have different company names on the product.              3 look it up.                                                             2 One is Thrive the other says URsa Major                             3
different brand names                                             3 dont know parent companies                                             2 different names                                                     3 d/k                                                                     2 different brands                                                    3

one is matte so they are not similar products                     2 totally different from one another                                     2 very different ideas                                                2 not even similar POV                                                    1 extremely similar products
They have different brand names                                   3 I have no information to suggest that                                  3 They have different brand names                                                                                                               2 They have different brand names                                     3
Thrive vs. Ursa Major. Different.                                 3 Never heard of either one.                                             2 Wildkat vs. Thrive. Different.                                      3 Never heard of either one.                                              2 Ursa Major vs. Thrive. Different                                    3
                                                                                                                                             they are both about the same type of product, just that one is
both have different packaging but same type of product                                                                                     1 for sensitive skin                                                                                                                            1 about the same type of packaging and look
The brands are different (Ursa Major vs. Thrive) so I am            It would be possible for an affiliation such as a parent company
assuming they are by different manufacturers. But I suppose         but I don't know for certain as I am not familiar with either of         They appear to be two different brands (Wildkat? vs Thrive) ‐         I don't think they are affiliated but there is always the possibility     The branding/style of the websites looks kind of similar. I don't
they could share a parent company.                                3 these brands.                                                          2 the branding on the website screen shots are pretty different.      3 that they are brands owned by the same parent company.                  3 think they are affiliated but there is always the possibility.
                                                                                                                                             The web pages list the two products are different and the two                                                                                   These two products are very different so they seem from two
The brand names on the products are different.                    3 I can not tell if those two companies are affiliated or not.           2 products design are very different.                                 3 I am not sure if those two companies are affiliated or not.             2 different companies.                                                3
packaging looks completely different, don't see a common brand      price points and packaging seem so different that I would not
name                                                              3 expect them to be related to one another                               2 don't look like same brand and don't name the same company          2 no apparent affiliation listed                                          2 packaging and brand name are different                              3
I don't know                                                                                                                               2 I don't know                                                        3 I don't know                                                            1 They are from the same company

Not sure I can easily articulate that.                                                                                                     2 They did not look similar nor alike in any way, shape or form.      3 It is what it is at least from my point of view and observation.        3 I am just not sure at all..that us all...
They both have different names and no indication that they are                                                                               There is no indication that they are made by the same
from the same company!!                                           2 I did not see anything that shows a relationship between them!!        2 company!!                                                           2 There is no indication that they are made by the same company!          2 There is no indication that they are made by the same company!      2
Different names                                                   2 Different                                                              2 They are very different.                                            2 I do not see the match.                                                 2 Not the same company.                                               2

Different brand names on the bottles                              2 I'm not sure. They just seem like different entities                   2 Different brands, different websites                                3 I'd have to do more research to tell                                    3 They seem like different companies, but I don't know
Different labels                                                  3 Because now I'm not so sure                                            2 Because it says                                                     2 Different branding                                                      2 Different branding                                                  2


                                                                                                                                                                                                                                                                                             Thrive and Ursa Major... never heard of either, but they could
no idea. these might be from the same parent company. Never                                                                                  parent company may be the same and just have these different                                                                                    both be part of a larger company that makes this type of
heard of either so no way for me to know for sure                                                                                          3 offshoots. I have no idea                                                                                                                     3 product.

i am not sure if they are made by the same company                                                                                         3 i am not sure if they are made by the same company or not                                                                                     3 i am not sure if they are made by the same company
Different brand and different web site.                           2 Different brands                                                       2 different brand names, different web sites.                         2 different brand names, different web sites.                             2 the web site for the 2 examples were different.                     2
Same name                                                                                                                                  2 Different site names                                                1 Similar products                                                        1 Same name
                                                                                                                                             the more I think about I am not really sure and I have never seen
different names on bottle and one is cheap and one is medium                                                                                 these products before. they sound nice so I would like to try
priced.                                                           3 I don't want to guess and I wasn't very sure                           3 them though.                                                                                                                                  3 I am not really sure.
Different names on bottles and website                            3 Not sure                                                               2 Different bottles and website names                                 2 Different companies                                                     2 Different looks of website and bottle                               3
                                                                    different price range. the one looks acne friendly, and the brown        they have the possibility to be in the same company, they look
different website fonts, and different price range                2 bottle looks like it would be bad for skin                             3 similar                                                                                                                                       2   different website appearance                                      2
different company names, different logos                          2 different logos                                                        2 different company name                                              2 different logos                                                         2   different company name                                            2
both product is diffents brands                                   2 is diferents                                                           2 both diferents brands                                               2 diferents                                                               2   diferents brands                                                  2
design style is different                                         2 style different                                                        1 same                                                                                                                                          1   same style

They have different names and a different look.                   3 I can't tell                                                           2 They have different names and a different look                      3 It's hard to tell                                                       3   They have similar colors but different names so I can't tell
different names                                                   3 don't know the products well                                           2 one says sezzle the other doesn't                                   3 one says sezzle the other doesn't                                       3   don't see a common name
Didnt see a company name on first bottle                          2 Didnt see a name on first bottle                                       3 Couldnt make out the comapny                                                                                                                  2   Different names on bottles                                        3
I am not sure                                                                                                                              3 I can't tell the relationship between the two                                                                                                 2   Comes from two different companies                                3
                                                                                                                                             Because one is made from plants and the other one is derived          Because there weren't any details that stood out about which
The image does not provide this information.                                                                                               2 from oats and milk.                                                 3 companies are in affiliation with these products.                       2 One says Ursa and the other says Thrive.                            3
different companies                                               2 there are no links                                                     2 there are no links                                                  2 no links                                                                2 the manufacturers are different                                     3


Different names                                                   3 I have never heard of either, so not sure if there is an affiliation   2 different names                                                     3 these questions are repetitive                                          2 Different company names                                             3

                                                                    they could be owned by the same parent company but dont                  they don't look at all similar, but the bottle top dispensers are                                                                               the color scheme and fonts are inconsistent, and the price points
very different looks with colors, fonts, etc                      3 seem to be from the same line                                          3 the same                                                                                                                                      2 were very different                                                 3
Different names and logo                                          2 Different logo                                                         2 Different name and logo                                             2 Different logo                                                          2 Different logos                                                     2

they are both so different                                                                                                                 2 one is vegan                                                        2 they each have their own company                                        2 one is from an auto ship company                                    2

Different company names but might be different branding                                                                                    2 Different names, Ursa Major and Thrive                              3 Sometimes companies have different branding                             3 Could have different product lines from the same company




                                                                                                                                                                                                                                                                                                                               Thrive Final Raw Data.xlsx
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Q21d                                                               Q18e Q19e                                                                 Q20e Q21e                                                                Q18f Q19f                                                                 Q20f Q21f                                                                     Q21g Q21h Q22 Q23 Q24 Q25
                                                                      3 I think they're different, but you said not to guess.                                                                                            3 They're probably different, but I agreed not to guess.                                                                                              865    1   2   5 17    1

different names.                                                       2 thrive and wildcat toodiffrent names                                   2 thrive and wildcat toodiffrent names                                    2 diffrent name widget and run                                           2 idffrnet names of brand.                                                  865    1   2   5    9    2
                                                                                                                                                                                                                            wild kai, and ursa do not tell me they are affiliated with one
                                                                       3 i dont recall seeing the same name for each product                                                                                              3 another, even though they may be                                                                                                                   865    1   1   5   33    1
I do not know if they have a parent company in common that
makes these products.                                                  2 They are different brands.                                             3 They could share the same parent company though.                        2 They are two different brands.                                         3 They could share the same parent company though.                          865    1   2   5   32   3
because they are all skin care products they might just be
different lines of products or they might just be different in           thrive looks high end and the other product looks like a bargain         they just arent on the same brand one looks expensive and one             the packaging was close enough that it looks like that they are
general                                                                2 bin find                                                               2 doesnt                                                                  1 from the same company                                                                                                                              865    2   1   5   19    3
same concept, different brands                                         2 the brands are different                                               2 looks like a different brand                                            2 two different brands                                                   2 the names are different                                                   865    1   2   4   42    2
Different packaging                                                    2 Different names on packaging                                           2 Different packaging                                                     2 Different names on packaging                                           2 Different packaging                                                       865    1   2   2   46    2

                                                                       3 one has cbd and one oat milk                                                                                                                     3 have different color packaging                                                                                                                     865    1   2   4   25    1
I don't see the connection between them                                3 I don't see the connection                                                                                                                       3 They look a bit similar styled                                                                                                                     865    1   2   5   35    2

they dont share any branding or name                                   2 one was called will kat and the other was called thrive                2 i did not se any signs of similar branding                              2 one was called wldkat and the other was called ursa major              2 they did not look affiliated at all                                       865    1   1   5   38    2

                                                                       3 They look so different from each other                                                                                                           2 The brand names are different                                          3 I just don't know                                                         865    3   1   5   43    3
                                                                       1 they look similar                                                                                                                                2 they look different                                                    2 l don't think so                                                          865    1   1   2    9    2
                                                                                                                                                                                                                            While the packaging is very different, they have many of the
Not sure.                                                              2 they look very different                                               1 Both CBD products.                                                      3 same qualities.                                                                                                                                    865    1   2   3   10   10

Their messages and descriptions feel far too different when              Their marketing approach and overall package design contrast             The prices are description matches slightly to make it believable         These products and packaging are far too different for them to           The prices and design approach do not feel like they are a part
compared to each other.                                                2 very much when compared together.                                      1 that they were associated with each other.                              2 be connected in anyway.                                                2 of the same brand.                                                        865    1   1   5   38    3

                                                                       2 The packaging and names appear to be very different.                   3 I have no way of knowing that information.                              2 The packaging and names appear to be very different.                   3 I have no way of knowing that information.                                865    3   2   4    6    1
                                                                                                                                                                                                                                                                                                     it is possible the companies may merge or have several different
it doesnt seem to match the same company                               2 it has completely different outtakes on facial cleansers               2 they dont seem like the same makers to me personally                    2 they have completely different images and ingredients                  3 products on the market at once                                            865    1   1   2   42    1
I would think that they aren't connected and that they are
competitors in the same market but the question makes me                                                                                                                                                                                                                                             I would imagine that they are also competitors in the same
think otherwise.                                                       2 One is Thrive the other is Wldkat                                      2 They seem like they are competitors.                                    2 One is Ursa Major the other is WldKat                                  3 market                                                                    865    1   1   3    9    9
                                                                         Thrive is at the top of one website; WildKat is at the top of the
never heard of either one.                                             2 other                                                                  3 Never heard of either one...                                            3 No name at the top of the one...                                                                                                                   865    1   2   3   43    4
                                                                                                                                                                                                                            They look like different products but i think that they come
I did not see any connections                                          2 it is from different companies                                         2 it is from a different company                                          3 from different companies                                                                                                                           865    1   2   4    1    1
                                                                       3 hard to read label                                                                                                                               1 similar ingredients                                                                                                                                865    1   2   3   30    2

                                                                       3 Neither is familiar to me. Don't know who makes them.                                                                                            3 Neither is familiar to me. Don't know who makes them.                                                                                              865    1   2   3    9    2
Because thrive is good they can use there name                         2 Thrive is stand alone                                                  3 no clue                                                                 2 It has to diffrent names                                               3 They could be                                                             865    1   2   4    1    6

Because they don't look similar at all.                                2   The brand was different on the website and on the actual items       3 Sometimes companies are affiliated and I have no idea about it.         2   One is muted and the other is so colorful                            3   I'm not really sure if they could be affiliated or not.                 865    1   2   6   13   3
Most companies are affiliated                                          1   They were from the same brand                                                                                                                  2   They don't seem connected                                            2   They had two different name brands                                      865    1   1   5   43   3
dont know                                                              2   different brand                                                      3 dont know                                                               2   diffrent brand                                                       3   dont know                                                               865    1   2   6   49   3
I don't see any mention of the different companies.                    2   Different brand names                                                3 Not enough information.                                                 2   Brand name is different.                                             3   I don't get enough information.                                         865    1   1   5   13   3
Because there is nothing in either picture that shows them to be
related in any way.                                                    2 One says WLDCAT the other says Thrive Skin.                            3 Because there is no way for me to know that.                            2 They don't look like they are related in design, looks or name.        2 There is nothing to show me they are related in any way.                  865    1   2   3    3    1

                                                                         I think due to the varying site and bottle differences these are                                                                                   These products visually look so different that I can only imagine        Without knowing the companies I can't make a judgement on if I
                                                                       2 from separate companies.                                               3 I'm simply unsure if they are affiliated.                               2 that these would be different companies producing them.                3 believe they're affiliated.                                               865    1   1   2   38   3
                                                                                                                                                  They were from different brands, but both products had to do              The first one was WLDKAT and the second product was from                 They were from different brands, but both products were skin
different brands but skin care related.                                2 First product was by Thrive and the second was WldKAt                  2 with skin care.                                                         2 Ursa Major.                                                            2 care related.                                                             865    1   2   5    9    4
diffent companys                                                       2 it is cbc oil dffrent compo\ant                                        2 diffrent comapnys                                                       1 same company diffrent oroduct                                                                                                                      865    1   2   2    9    1
                                                                         they do have some similarities but i do not think they are owned
                                                                       2 by the same company                                                    2 it just doesn't seem like they are                                      2 they do not seem to be connected                                       2 because i do not see a connection                                         865    1   2   2    5    4

they arent                                                             2 they arent the same brand                                              2 they are different comletely                                            2 because they look completely different                                 2 because they make the same type of thing but are so different             865    1   2   1   22    1

there is not enough information                                        3 there is not enough information to make that conclusion                                                                                          2 one said ursa major and the other had a different brand                3 i didnt see enough information to make that conclusion                    865    1   1   5   43   2

                                                                                                                                                  i didnt notice anything that would show me they were                      the products didnt have the same design type anything and i              i didnt really notice anything that would show me they were
i cant say because i dont know the name of the second company          2 one was thrive one was wild kat                                        2 connected                                                               2 didnt see a company name on the second product                         3 connected                                                                 865    3   2   2   28    3
                                                                                                                                                                                                                            One is Ursula Major and the other is WldKat. Also the color
The bottles do appear to be of similar design, so they could be          They could use the same source to obtain the CBD, but more                                                                                         schemes are completely different and one has CBD infused in it           Again, different design schemes and one has CBD infused in it
related.                                                               1 than likely are made by different companies.                                                                                                     2 and the other does not.                                                2 while the other does not.                                                 865    1   1   3   43    4
                                                                       3 I can not tell                                                                                                                                   1 They have the same benifits                                                                                                                        865    1   1   4   43    3

Because I don't know                                                   2 different brands and ingredients                                       2 I am not sure                                                           2 Different websites and ingredients                                     3 Because I don't know                                                      865    3   1   5   20    4

The THRIVE branded ones are on a website for the THRIVE                                                                                                                                                                                                                                              The brand names are just too different, the packaging is
brand, while the other completely separate named URSA MAJOR              One is branded WLDKAT, and the other is branded THRIVE.                  All the same reasons ‐ different brand names, different styles,           One is made by a brand called WLDKAT, and another is made by             different, the vibe is different. Just seems like a very different set
doesn't seem anything like the thrive brand.                           2 These are 2 different brands.                                          2 different packaging.                                                    2 a brand called URSA MAJOR                                              2 of brands.                                                                865    1   1   5   38    3

                                                                       2 there are 2 different company names                                    3 there is no way I can know that unless I looked them up on line         3 only one has a company name                                                                                                                        865    1   2   4    9    3
Doesn't seem to be                                                     2 not at all similar                                                     2 very different                                                          2 different logos                                                        2 different websites                                                        865    1   2   3    9    3

                                                                       3 Not sure                                                                                                                                         2 The names were different                                               2 Two different companies                                                   865    3   2   5   33    3
they are connected with of each other that's why                       1 like that same that's why                                                                                                                        1 they are same that's why                                                                                                                           865    2   1   6   43    8

Because the names are clearly printed on the bottled                   2 One is Wild Kat and the other Ursa Major                               2 Different names are printed on the bottles                              2 Because one is from Ursa Major                                         2 Because different names are on the bottles                                865    2   2   3   10    2




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                                                                                                                                          Again, because they seem very different. The vibe the packaging
                                                                        The packaging and names look way too different to be from the     gives off seems like it would appeal to different types of
The logos and font etc. just don't look similar enough                2 same brand.                                                     2 consumers                                                             2 Because the packaging is so different (white v. colorful)          2 They look like they are marketed to different audiences.            865   1   2   5   33    4
similar fields but completely different products                      2 these are two different products                                2 products produced by different companies                              2 different brandnames for these products                            2 i feel they are different                                           865   1   1   6   20    5

                                                                      2 The products are too similar to be from the same company.       2 Products are too similar                                              2 It has different names and different ingredients                   2 I see no similarities                                               865   1   1   2   42    3
this survey makes no sense who cares                                  2 so different                                                    2 look different and different packaging                                2 diferent concepts                                                  2 like I said before                                                  865   1   2   4    9    4
                                                                      2 products seem different                                         2 different                                                             2 brand is different                                                 2 different                                                           865   1   2   2   35    1

unable to see association                                             2 one is wildkt the other is thrive                               3 nothing indicating connection                                         3 i still don't know if theyre associated, nothing indicates it                                                                            865   1   2   5   32    5
                                                                      2 Different packaging                                             3 No idea                                                               2 Different packaging                                                3 No reasoning                                                        865   2   2   5   19    4
I seen 2 different brands                                             3 I could not tell                                                                                                                        2 I seen 2 different brands on the products                          3 Just not sure                                                       865   1   1   1   30    1


                                                                      2 The branding is different on the photos                         2 It seems like they focus on different selling points                  2 Different branding                                                 2 They seem to focus on different things                              865   1   2   6   32    2

It seems if its specializes in that area                              2 Different lables and the images on the product                  2 They just look completely different                                   2 different names                                                    2 names and the website                                               865   1   2   5   40    9
                                                                      2 websites had diff names                                         1 both deal with CBD ingrediants                                        2 diff names                                                         2 nothing similar about them                                          865   1   2   5    9    6
                                                                                                                                                                                                                                                                                       It looks as though they are sister companies or something to
                                                                                                                                                                                                                                                                                       that effect. Different product line, but same company.
                                                                      3 Because I'm confused.                                                                                                                   2 I changed my mind.                                                 1 Something along those lines.                                        865   1   1   5   47    5
                                                                      2 different names                                                 3 couldn't tell                                                         3 didn't see any same name                                                                                                                 865   1   2   5   14    3
                                                                      3 I didn't look at who makes the product                                                                                                  2 they don't look similar                                            3 I'm not sure who makes them                                         865   2   2   5    7   10

                                                                      3 nothing in the ads to indicate an association                                                                                           2 nothing similar in the ads                                         3 how would I know just from the ads?                                 865   1   2   6   31    4

                                                                                                                                          In my opinion , if they were the products would be integrated           The labels do not clearly indicate just who the manufacturers        They do not appear to be related . If they are , they are doing a
                                                                      2 The style of product description presentation is different.     2 together and offered as components of a skin care system.             2 are.                                                               2 poor job of integrating their products into a single line.          865   1   1   3   17    1

The design and feel look different                                    2 These products look totally different                           2 The products don't have the same feel                                 2 The design is completely different between the two                 2 The products are totally different                                  865   2   2   5   46    6
                                                                                                                                                                                                                  Based on the pictures of both products they appear to be from
                                                                      2 I base my view on the pictures presented                        2 My view is based on the pictures presented                            2 different companies to me.                                         3 I am not sure because I don't know either company                   865   1   2   3   46    3

it is hard to say for sure. The packaging and feel are similar, but     i would say different because the labels and packaging are        it is hard to tell by just looking at an ad. There would need to be     the packaging looks completely different. it also looked like it     it is hard to say for sure. They both seem to use natural
does not mean they are affiliated.                                    2 different.                                                      3 research done to find out for sure.                                   2 said Wldkt on one product and ursa major on the other.             3 ingredients but does not mean they are affiliated.                  865   1   2   4    7    2
                                                                                                                                                                                                                  Like I stated before, they are shown as two separate companies,
                                                                        They are both unique (and 'premium') skin care products, and                                                                              but could theoretically be associated (come from) the same
                                                                      3 corporations buy multiple entities these days.                                                                                          3 manufacturer.                                                                                                                            865   1   1   4    9    6
They seem too different                                               2 It doesn't have a similar feeling at all                        3 I'm not sure where to base it off                                     2 They look completely different                                     2 They look too differently                                           865   1   1   5   46    7
                                                                                                                                                                                                                  THEY DO NOT LOOK LIKE THEY ARE MADE FROM THE SAME
                                                                      2   THEY ARE UNDER A DIFFERENT BRAND.                             3 BECAUSE I DID NOT SEE ANYTHING RELATING THEM.                         3 COMPANY BUT THEY MAY BE RELATED.                                                                                                         865   3   2   6   33    2
just do                                                               2   different bands                                               2 different                                                             2 different layout and products                                      3 just don't know                                                     865   1   1   4    7    4
                                                                      3   The brand name doesn't mean manufactured by.                                                                                          3 The brand name doesn't mean manufactured by.                                                                                             865   3   1   6   22    2
they could be affiliated                                              2   the brand names are different                                 3 they might be affiliated                                              2 they have different brands                                         3 they could be affiliated                                            865   1   1   3   17    2
I think the designs are too different.                                3   They just look different to me.                                                                                                       3 They just don't look like they fit together.                                                                                             865   1   1   3   42    2
                                                                                                                                                                                                                                                                                       They have 2 completely different names. If they would be
There is nothing to suggest otherwise. Different names and              They have 2 different brand names, sold on 2 completely           There's no reason to assume otherwise. They have completely                                                                                  affiliated I would assume there would be something implying
brands all around.                                                    2 different websites, and don't look anything like each other.    2 different brand names.                                                2 Once again, different brand names.                                 2 that they come from the same parent brand.                          865   1   1   5   38    3
They may or may not be affiliated with one another.                   2 Their names are different                                       2 They seem to be two different companies.                              2 Two different companies with different names.                      2 Two different company names.                                        865   1   1   3   46    3
                                                                                                                                          i am not very familiar with these brands so i do not know for
                                                                      2   different brand names                                         3 sure                                                                  3   they seem like two different brands                                                                                                    865   1   2   5   25    4
because they dont have the same label                                 2   diffrent brands                                               2 no connections                                                        2   its the labels                                                   2 because they look diffrent                                          865   2   1   5   15    7
product looks different                                               2   one contains CBD                                              2 CBD                                                                   2   products look different                                          2 products look different                                             865   2   1   4   46    2
because their not                                                     2   one was thrive one was safroin                                2 because their thrive and safron                                       2   because they were different                                      1 because their different                                             865   1   2   4    4    1
                                                                                                                                          Because the packaging is different and brand name, it doesn't                                                                                Because they don't mention having or being with the other
their different brands and don't mention working with the other.      2 Different brands with different names and designs.              2 mention them being together.                                          2 Because the names are very different and design.                   2 product.                                                            865   1   2   5   10    4
I didn't see any connection.                                          2 Completely different color schemes.                             2 THey seemed to be different.                                          1 The descriptions seemed similar.                                                                                                         865   1   1   5   38    4
I'm neutral about it                                                  2 Thrive was for only one                                         3 I'm neutral about it                                                  2 I'm neutral about it                                               2 I'm neutral about it                                                865   1   1   2   43    3

                                                                      2 they are different companies the logo says it all               2 i do not think they are affiliated at all                             3 i do not know if there is a connection between these companies                                                                           865   3   2   3    7    3
                                                                      2 design are so different                                         3 need more info                                                        3 need more info                                                                                                                           865   1   1   5   38    2

                                                                      2 the style of packaging is different                             1 Both products have similar formulas                                   2 they both have different names on the label                        1 same type of formulas                                               865   3   2   3   30    6
                                                                                                                                                                                                                                                                                       Hard to tell. The ads seem to have a quite different physical
                                                                      3 I have no idea.                                                                                                                         2 Ursa Major and Wldkat seem like they're different companies.       3 setup.                                                              865   1   1   6    3    3
It doesn't say they are related                                       3 I'm not familiar with brands                                                                                                            2 One if from Ursa Major and other Wildkat                           3 It doesn't say if they are related                                  865   1   2   6    5   10
not suree                                                             2 different bottles                                               1 similar products                                                      2 different products                                                 2 different products                                                  865   1   2   3    7    3


                                                                      3 I'm not sure if they are owned by the same company.                                                                                     3 I'm not sure if they are owned by the same company.                                                                                      865   1   1   6   25    3

I can't tell                                                          2 They don't seem like the same brand ‐ too different.            3 I can't tell from these images alone.                                 2 They are completely different from each other, no similarities.    3 I can't determine                                                   865   3   2   3   37   10


May be different lines within the same company                        2 Different packaging and different price points                  3 May be different lines within the same company                        2 Different packaging and different price points                     3 May be different lines within the same company                      865   1   2   5   49    7
                                                                                                                                                                                                                  The way the products are described and the page format makes
                                                                      1 Page description and images are formatted similar.                                                                                      1 me believe so.                                                                                                                           865   1   1   5    3    4

No way for me to know the answer to this question without                                                                                                                                                                                                                              they could be affiliated no way to know without looking them
researching                                                           2 different brand names so i'm guessing                           3 No way for me to know without researching                             2 again different brand names so i'm going with that                 3 up online                                                           865   1   2   5   37   10
Perhaps they have a parent company but they are presented
and appear to be different                                            2 Looks like differnt product from differnt companies             3 Its impossible to tell from these images                              2 They seem unaffiliated to me                                       3 They just are profiled differently                                  865   1   1   5   21    5
they didn't seem to be related                                        2 one was thrive one was kat                                      2 i saw no affiliation                                                  3 it was unclear                                                                                                                           865   2   1   1   33    2




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Two different marketing aspects                                    3 Too hard to tell                                                                                                                            2 Seem different                                                       1 Similiar products                                                 865   1   1   5    9    2
                                                                     It is not clear on the product who the manufacturer is. Could
                                                                     they be the same ‐ yes but I am not sure since it isn't clearly                                                                               I do not see any manufacturer's name on either of these
                                                                   3 specified.                                                                                                                                  3 products (again).                                                                                                                        865   1   2   4   25    3
                                                                                                                                             EACH COMPANY WAS SOLD ON DIFFERENT WEBSITES AND HAD                   DIFFERENT COMPANY NAMES AND UNDER A DIFFERENT                          EACH PRODUCT WAS SOLD UNDER DIFFERENT BRAND AND
                                                                   2 TWO DIFFERENT COMPANIES SOLD ON DIFFERENT WEBSITES                    2 DIFFERENT COMPANY NAMES                                             2 WEBSITE                                                              2 WEBSITE                                                           865   2   2   5   35    3
                                                                     They could be affiliated for all I know even though they look so
                                                                     different it could be for marketing to different groups and that is                                                                           Wild Kat was the glow serum and the other one I forgot                 They were different product sold on different sites to best
                                                                   3 why such a difference                                                                                                                       2 namebut is a balm for your face by another company                   3 knowledge of what i seen                                          865   2   2   3   10    3


I noticed the different logos and brands. That makes me believe      The first one was called WLDKAT the other one has a different           They could be because they have a similar vibe but i dont believe
that they are not associated                                       2 logo and name                                                         3 they are                                                            2 Different webpage and logos                                          2 They look completley different from each other                    865   1   2   3    3    2
The price point and look. They don't look similar at all, unlike
other brands that branch out. Usually, there is a similarity in      Different website & vibe (one is more beachy themed and one is                                                                                They look similar in theme and packaging, but the claims are
marketing.                                                         2 high‐end)                                                             2 There were no similarities that I could find                        3 different.                                                                                                                               865   1   2   3   16    1
                                                                   2 Because the sites look different                                      3 Because I am not sure                                               3 Because I'm not sure.                                                                                                                    865   2   2   3   30    6

                                                                   3 I am not familiar enough with the brands to know                                                                                            3 Because I do not know enough about the brand                                                                                             865   1   2   2    1    4
the look like there sister sites                                   2 the logos were diffrent                                               2 therde logs and products are diffret                                2 they dont have anything alike                                        2 they dont have anything alike                                     865   1   2   5   33    4
                                                                   1 they look similar                                                                                                                           1 they are similar                                                                                                                         865   1   1   5   32    4
                                                                     I was not able to see or noticed any word or terminology that
                                                                     would associate these two products to affiliates or the same
And, they could also be affiliated and I am not aware of this.     2 brand.                                                                3 There is a possibility, but I really do not know.                   3 I have never seen these brands of skin care before.                                                                                      865   1   2   5    9    1

Different websites.                                                2 Different website.                                                    2 Different websites.                                                 2 Different websites.                                                  2 They are different companies                                      865   2   2   2    1    2
different brands                                                   2 different brand                                                       2 different brands                                                    2 different brands                                                     2 different names                                                   865   1   2   4   35    2
different compaies on the logo                                     2 one is from safrron and the other from thrive                         2 they say different brands                                           2 different names on the label                                         2 different companies                                               865   1   1   5   43    2

Not sure if owned by same parent company                           2 They are different brand names                                        3 Not sure if they're owned by the same parent company                2 They had different name brands                                       3 I am not sure if they are owned by the same parent company        865   1   1   5   40    2
different brands                                                   2 different brands listed                                               2 different names                                                     2 they have different brands                                           2 different names                                                   865   1   2   4   42    2
                                                                                                                                             packaging looks different but need to see the back label for
need to see the back of the product for further information        2 packaging is different                                                3 further information                                                 2 different labels                                                     3 need to see the back of the product                               865   1   2   3    9    4
                                                                   2 one is thrive other is wildkat                                        2 they are different names                                            2 one is ursa major other is wildkt                                    3 i couldnt tell                                                    865   1   2   5   32    5

These two companies may have different ideas and innovative
ingredients and might help each other coming up with products
for the greater good. I guess in a good business model business
couod help each other more than competing                          2   they are not the same                                               2   I think that these tow companies have very different visions.     3   I am unsure                                                                                                                            865   1   2   4   32    1
                                                                   2   differant brand                                                     2   no reasons                                                        3   none                                                                                                                                   865   2   1   3   25    2
Because I am not familiar with these products                      2   The names are different                                             2   Different styles                                                  2   Different brands                                                   2 Different packaging styles                                        865   3   2   4   13    2
                                                                   2   seemdifferent                                                       3   idont know                                                        2   nothing shows me they are connected                                3 because isee nothing incommon                                     865   1   2   3   13    3
                                                                   2   looks like different websites different products                    3   I never saw these sites                                           1   its probably dropship                                                                                                                  865   1   1   2    9    2

                                                                     They are both CBD products so it's possible, but the price points
I think if they were they would be more similar in price and         are so different. I tend to think parent companies have similar                                                                               I think the price point and the type of product is really similar,
ingredients.                                                       3 price points/product quality.                                                                                                               1 just different branding to cater to different audiences.                                                                                 865   1   2   5   32   10

                                                                   1 Both brands are thrive and both have cbd                                                                                                    3 It's hard to say                                                                                                                         865   1   2   3   10    3
different name brands                                              2 different compays                                                     2 different companys                                                  2 different companys                                                   2 different companys                                                865   1   1   3    4    2
                                                                                                                                                                                                                                                                                          because a lot of these skin care products are mass produced
                                                                   1 Because I SAID SO                                                                                                                           2   the label and name and product is very different.                  1 from the same companies .                                         865   1   1   3   32    4
n/a                                                                3 i see no common logo or nothing                                                                                                             3   don't seem as so                                                                                                                       865   1   1   6   42    4
I dont know if they are connected                                  2 different brand names                                                 2 different brand names                                               2   branding name is different                                         2 think the names are different                                     865   2   2   2   27    2
no reason.                                                         2 they look all different.                                              2 no reason to think so.                                              2   different brands.                                                  2 i have no clue.                                                   865   1   1   3   13    6
brand product                                                      2 product name                                                          1 skin care product                                                   2   for distin brand                                                   2 Why do you say that                                               865   2   1   6    6    5
                                                                     Because the first product was made in THRIVE SKIN but the
                                                                   2 second product made in SAFFROAN                                       1 Because it produces the same products                               3 not sure                                                                                                                                 865   1   1   5   43    3
                                                                                                                                             I don't know either company so I have no idea if they are
I have no clue it the companies are connected                      2   Seems that both have different company brandings.                   3 affiliated.                                                         2 The company brandings look like different companies.                 3 Cannot tell by the label.                                         865   2   1   5   31    1
                                                                   3   Don't know                                                                                                                                3 Don't know manufacturers                                                                                                                 865   1   2   3   36   10
                                                                   1   bottle the same                                                                                                                           3 no info                                                                                                                                  865   3   1   5   37    3
need more info                                                     1   they both contain CBD                                                                                                                     3 they could because they both have pump applicators                                                                                       865   1   2   6   20    6
I don't really know. It just doesn't seem like it would be                                                                                                                                                         One uses CBD, the other doesn't. I would think a company               I don't think they are but not sure. One uses CBD and the other
affiliated with each other.                                        3 Seems like different company's but they both use CBD.                                                                                       2 would use it all around.                                             3 doesn't.                                                          865   1   2   2   10    1

I just don't know.                                                 2 Looks different and different company symbol.                         2 Different symbol.                                                   2 Looks different to me.                                               2 They look different.                                              865   2   1   5   46    2
unable to see a link                                               3 not enough info to determine                                                                                                                2 nothing in the images to indicate a relationship                     3 don't see a connection                                            865   1   2   6   31    4

ones a serum ones a moisturizer                                    2 one company is WLDKAT and the other is thrive.                        2 yes it was really important to me to do this.                       2 ursula and WLDKAT where the band two different names.                1 yes it was really important to me to do this.                     865   2   2   5    9    2
idk                                                                1 same product type                                                                                                                           2 No resemblence.                                                      1 Because they are.                                                 865   1   1   2   47    2
                                                                     I'm not a hundred percent sure so instead of guessing I picked I                                                                              To me it seemed like there was no similarities in The Branding at      I am not 100% sure so I would rather just say I don't know
                                                                   3 don't know                                                                                                                                  2 all                                                                  3 instead of guessing                                               865   3   2   3   10    2

They're very different products.                                   1 They're the same brand.                                                                                                                     2 The product categories are different.                                2 The products' offerings are very different.                       865   1   1   3   49    2


                                                                   2 Completely different aesthetics                                       2 Again, they have completely different aesthetics                    2 Completely different aesthetic                                       3 Completely different aesthetic                                    865   1   1   3   28    3
I feel they would have referenced the same name if there was a
connection!!                                                       2 They are made by different companies‐Wildkat and Thrive!              2 They have different company names!                                  2 They have different company names!                                   2 They have different names!!                                       865   1   1   6   38    3
                                                                                                                                                                                                                   There was not enough information on the packaging or
                                                                   3 The descriptions and packaging were vastly different                                                                                        3 description to give me an informed guess.                                                                                                865   1   1   5   38    3




                                                                                                                                                                                                                                                                                                                          Thrive Final Raw Data.xlsx
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                                                                   3 They could be affiliates. Not sure.                                                                                                        3 I'm trying hard but unable to connect the two in any way.                                                                                   865   1   2   4   32    2
                                                                   2 Im not sure                                                         2 Im not sure                                                          3 i cant tell                                                                                                                                 865   1   2   2   33    2
                                                                                                                                                                                                                  The design language between the two products is pretty
I don't see any connection between the two products on a             The company names are different, Thrive and WLDKAT, so I'm            I don't see much of any connection between these two products,         different. They share similar animal motifs, but I don't know if       With the similar animal motifs, and in similar industries, I could
packaging, naming convention, or anything else that would tell       pretty sure they're not the same company. The products seem           despite being similar on a face‐value level. I don't believe the       that's enough of a similarity to make me think they're by the          believe that they're products of two companies that are more
me they're affiliated with one another.                            2 quite different design‐wise.                                        2 two companies have much of anything to do with each other.           2 same company.                                                        1 closely affiliated.                                                  865   1   1   3   43    2
                                                                     I don't see any correlation between the two that would make
                                                                     them the same brand or made by the same                               I don't think they look similar enough for me to make that             They look completely different from each other so I don't think
                                                                   2 company/manufacturer.                                               2 assumption of affiliation between the two.                           2 that they are connected to each other at all.                        2 I don't see any affiliation between the two whatsoever.              865   1   1   3   32    3
                                                                                                                                                                                                                  The brand names are different and the packaging is totally             Same as my prior answer. I don't know why they would be
They just don't seem like they would be                            2 different brands, different website                                 2 different                                                            2 different                                                            2 affiliated either                                                    865   1   2   5   38    4
                                                                   2 company names were different                                        2 these are two different skincare product                             2 company names are different                                          1 i think so                                                           865   1   1   5   32    4

                                                                                                                                           no clear affiliation or connection stated anywhere on the              they had clear labels stating very different brands. if it was the     I believe that the brands were not clearly shown to be the same
No clear affiliation or connection stated anywhere.                2 the brand names are totally different.                              2 products or their descriptions.                                      2 same brand then it is very unclear.                                  3 for both products or associated/affiliated in any way.               865   1   2   5   17    4
different labels                                                   2 different labels                                                    2 the labels                                                           2 the labels                                                           2 the labels                                                           865   2   1   3   31    1

Not sure                                                           2 Different packaging                                                 3 Not sure, just a guess                                               2 Different packaging                                                  3 Not sure, could be possible.                                         865   3   1   3   46   4
i dunno                                                            2 different names                                                     2 different names                                                      2 different names                                                      2 look different                                                       865   1   1   5   13   8
                                                                   1 they both have CBD                                                                                                                         2 one has CBD the other does not                                       3 I am not sure                                                        865   1   1   5   17   6
two different products                                             2 they both were from different companies                             2 I dont believe they work with one another                            3 im not sure if it was from same or different companies                                                                                      865   1   1   4   32   3
                                                                     The background images and the format of the website and the                                                                                  I do not have enough information to make such claim. They
                                                                   2 product images are different.                                       1 I beleive companies can intergrate and work with one another         3 could/couldn't be I'm just not 100% positive.                                                                                               865   2   2   4   10    3

                                                                   3 i dont see any branding info that tells me ys or no.                                                                                       3 theres no information telling me one way or another.                                                                                        865   1   1   6   49    5
They are two different companies selling the same type of                                                                                                                                                                                                                                One company thrives on usage of CBD and the other product
products                                                           1 Both are from the same company Thrive                                                                                                      2 Both products are made with different ingredients.                   2 does not have that ingredient                                        865   1   2   5    9    2
                                                                                                                                                                                                                                                                                         the descriptions seem to be completely opposite of what similar
                                                                   1 the bottles have the same shape and labeling                                                                                               2 the design of the labeling and descriptions of ingredients           2 companies would offer                                                865   1   1   2   46    3
                                                                                                                                                                                                                  The branding and packaging and websites look completely
They don't look like they're related                               2 The branding is completely different                                3 They don't look like they're related                                 2 different                                                            2 They look completely different                                       865   1   2   5   38    5

I cannot tell whether the companies and products are related       3 I just don't know                                                                                                                          2 The products are distinctly different.                               2 I think the products are too different                               865   1   2   5   10    6

                                                                   3 I have heard of "Thrive" but not the other brand "WldKat"                                                                                  3 They don't seem to be alike only by type of product.                                                                                        865   3   2   3   17    4

                                                                     The appeared so radically different from description to bottle        I do not know if they are related, I did not see anything to think     I saw no similar names or evidence that they were from the
                                                                   2 type that I thought they were from different manufacturers.         3 so but it's definitely possible.                                     2 same company.                                                        2 I saw nothing that alluded to the companies being connected.         865   1   1   3   37    2
                                                                   2 the products are nothing alike                                      3 dont know                                                            2 made by different companies                                          2 different companies                                                  865   1   2   2   35    1
I don't feel that they are.                                        2 They have different brand names.                                    2 They are separate.                                                   2 They had different brand names.                                      3 One could be a different line from the same company.                 865   1   2   3   40    2

fgftgfvgt                                                          2 The look completely differnt.                                       2 bvgjtg                                                               2 hvggvg                                                               2 hkvfjgcgjgj                                                          865   1   2   3   49    9
                                                                   2 different names                                                     3 doesnt appear to be                                                  2 different names                                                      3 dont appear to be                                                    865   1   2   2   30    4

                                                                     Like I say before both products are very different one has a very
                                                                     colorful package and the other one has more neutral colors.                                                                                  I think they are from different companies but can be buy in the
                                                                   3 Both product are made with natural ingredients.                                                                                            3 same place.                                                                                                                                 865   1   2   1    3    2
                                                                   2 different names on label                                            3 don't know                                                           2 different names on packaging.                                        2 don't think they are connected.                                      865   1   2   5    5    2
Totally different look, labeling.                                  2 Totally different look, labeling.                                   2 Totally different look, labeling.                                    2 Totally different look, labeling.                                    2 Totally different look, labeling.                                    865   1   1   5    9    5


they could be                                                      2 different name                                                      3 not sure                                                             2 they look completely different                                       1 it would be smart if they were                                       865   1   2   1    9    1

The brand names are different                                      2 One said Wldkat and the other Thrive                                2 Seems to be no relation                                              2 Wldkat and Ursa Major, 2 different brands                            2 Packaging looks different and names are dissimilar                   865   1   2   6   30   4
I think that companies, even affilated are still pretty much the
same.                                                              3 I dont know. There is no connection but could be the same.                                                                                 2 Completely different                                                 2 Look nothing a like                                                  865   2   2   3    9    4
                                                                                                                                                                                                                  They both have CBD, but other than that I didn't see any name
                                                                     They looked like two entirely different products, although they       Same answer. They both contained CBD, but other than that              on the two bottles that said they were from the same
                                                                   2 both contained CBD.                                                 3 they looked nothing alike.                                           3 manufacturer.                                                                                                                               865   3   2   2   29   10
Don't feel the same                                                2 I don't know                                                        2 I don't know                                                         1 Same type of ingredients                                                                                                                    865   1   2   3   42    1

don't have enough information                                      2 the packages are very different in appearance                       3 I don't know anything about them                                     3 they're slightly similar but not enough markers to be sure                                                                                  865   1   2   4    9    6
WOULD COMPETE WITH EACH OTHER                                      3 BOTTLES ARE SIMILAR                                                                                                                        1 SEEM SIMILAR                                                                                                                                865   1   2   5   43    2

I do not know how they would be affiliated                         2 Completly different packaging concept                               3 I have no way of knowing if they are associated                      2 different brands                                                     2 different brands                                                     865   1   1   5   15    7
                                                                   2 The variety of products is different.                               1 The same products                                                    2 Is different                                                         1 Is unique                                                            865   1   1   5   43    4

                                                                   1 They look similar                                                                                                                          3 Just not sure                                                                                                                               865   1   2   3    5    6
                                                                                                                                           I did not look at the price too closely but I do not see a
No connection                                                      2 Thrive and Wildkat                                                  2 conection                                                            2 Ursa Major and Wildcat                                               2 They could be connected but i could not tell by the pics             865   1   2   6   21    2

not connection because labels are different, have different                                                                                                                                                                                                                              because of the brand/company names, the site designs,
company/brand names, sites are different and designed                both products are from different brands and sites, plus the sites     because from the information these products are different and          the products have different brand names, sites are not designed        products do not have the same brand name labeled on their
different                                                          2 have a very different design to them                                2 come from different companies/brands                                 2 the same                                                             2 packaging                                                            865   1   2   4    9   10
I do not know either company.                                      2 Trive is only on the second product.                                3 I do not know these companys.                                        3 I do not know these companies.                                                                                                              865   1   1   5   32   10
                                                                   2 different website                                                   3 not sure                                                             2 different packaging                                                  2 different websites                                                   865   1   2   3   43    3

                                                                   2 different approach to ad wording                                    2 1st company more eco friendly                                        2 different ingredients and different visual approach                  3 not enough information                                               865   1   1   6    5    9

                                                                   3 do not see anything that states they are from the same company                                                                             3 nothing seems to reflect they are from the same company                                                                                     865   3   1   5   22    5




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                                                                                                                                                                                                                                                                                     The design and language of these two products are very
                                                                  2 There is such a different association with each                    2 These two products seem very different                                2 These two products are too vastly different!                      2 different                                                           865   1   2   5    7    6

                                                                      Usually the packaging style is unique to a particular company.       I just believe by the looks of the packaging these are two
                                                                  2   These two products were very different from each other.          2   separate entities altogether,                                       2   Not the same design style or color family.                      2   They do appear to look alike.                                     865   1   2   4   43    3
DIFFERENT NAMES & GRAPHICS                                        2   DIFFERENT NAMES                                                  2   DIFFERENT NAMES /GRAPHICS                                           2   DIFFERENT NAMES                                                 2   DIFFERENT NAMES & GRAPHICS                                        865   1   2   3   25    2
do not know                                                       2   different branding                                               3   do not know                                                         2   different names                                                 3   do not know                                                       865   1   2   4   23    2
wasn't really clear                                               2   two different labels/looks                                       3   cannot say                                                          2   completely different                                            3   not sure                                                          865   1   2   5   43    5

i don't know if they belong to the same parent company.           2 they have different brand names.                                   3 i do not know if they are owned by the same parent company.           2 they have different brand names.                                  3 i dont know if they are owned by the same parent company.           865   1   1   5   47    5
Unsure if connected or not, but companies these days like to be
connected/owned but operate separately for different market                                                                              They could possibly be connected, I just don't know. Companies
segments.                                                         2 Different names and totally different appearance                   3 these days like to acquire more brands, but operate separately.       3 Have no idea.                                                                                                                           865   1   1   6   38    9
                                                                                                                                                                                                                 two different companies are making these two different
these companies are not associated with one another               2 these were two different products                                  2 two different companies made these products                           2 products                                                          2 these companies are not associated with one another                 865   1   1   6   20    5

I don't see any affiliation at all                                2 I don't see any similarities                                       2 I also don't see any affiliations                                     2 They have different packaging and lettering                       2 Don't see any affiliation between them                              865   1   1   6   17    4
                                                                  3 The labels look different, but who knows?                                                                                                  3 Different labels again.                                                                                                                 865   1   1   3   46    3
                                                                  3 One says WldCat, the other Thrive                                                                                                          3 WLDKAT & Ursa                                                                                                                           865   1   2   3    6   10

                                                                    I said I am not sure if they were produced by the same company                                                                               I said I think these products were produced by different
                                                                    because both products are skin care products and it's a 50 / 50                                                                              companies because there are no identifying claims on any            I said that because there is no identifying claims on any product
                                                                  3 chance either way.                                                                                                                         2 product that says they were made by the same brand.               2 that says they were affiliating companies.                          865   1   1   3   20    2

not sure one way or the other...however price is different        3 thrive brand is not noted                                                                                                                  3 it is possible made at the same plant                                                                                                   865   1   1   5   30    7
                                                                                                                                                                                                                                                                                     they could be affliated, but there is no mention of it on either
i didnt see any connection in these two products                  2 the first one is Thrive, and the second one is something else      3 websites look very different                                          2 these products have different names                               3 site                                                                865   1   2   5    6    5
                                                                  2 because the name is different                                      2 because the name is different                                         1 because they are the same                                                                                                               865   1   1   5   42    7
Different brands, did not see any connection                      2 two different names Thrive and Wildcat                             3 I could not tell from information provided                            2 ursa and wldkat brands                                            2 could see no connection                                             865   1   2   5   47    4


im not sure.                                                      1 both products are CBD infused                                                                                                              2 the product packaging look so different                           3 its hard to tell but i think they can be affiliated                 865   1   2   4    9    5
Just guessing.                                                    2 I saw two different names of the companies.                        1 I am just guessing. I don't know.                                     2 They have two different names.                                    2 I am guessing.                                                      865   1   1   4   32    4
                                                                  3 same as before..did not show maker                                                                                                         2 really just dont know                                             3 did not see name                                                    865   1   2   3   15    2
I think they are 2 different companies selling similar products
with similar ingredients. Most companies use the same color                                                                              There is nothing in the product description or in the labeling that
combinations in advertizing.                                      2 The wording and labeling are too different.                        2 would make me believe the products are connected in any way.          2 Product labeling                                                  2 The wording and product labeling look too different.                865   1   2   2   38    5

                                                                                                                                                                                                                 Fortifying face balm is great for protect you face from sun and     SAFFRON is a brightening and hydrating serum and other
I know these product are not same and not one brand.              2 Those product are different.                                       3 Because these product are not same.                                   2 other product is increase skin bright.                            2 product is weightless serum like moisturizer.                       865   1   1   6   35    7
just my impression                                                2 CBD is an ingredient in one                                        2 CBD                                                                   2 the look of the bottle                                            2 the look of the packaging                                           865   1   2   4   17    1
                                                                  2 because it has a different name                                    2 because it has a different name                                       2 because it has different names                                    3 because I dont know                                                 865   1   2   1   32    2

                                                                  3 looks similar containers                                                                                                                   3 containers/bottles look the same just different colors                                                                                  865   1   2   5    5    3
different names                                                   3 different names on the products                                                                                                            2 different logos                                                   2 different packaging                                                 865   1   2   4   32    2
two different names                                               2 two totally different names                                        2 different looks on the website                                        2 wildkat and ursa major                                            3 I would assume they aren't but I'm not 100% sure                    865   1   2   6   32    5
                                                                                                                                         although the two products are different the standard of service
                                                                  2 because the tow product are different                              1 is almost the same                                                    2 because the purposes of the tow products are different            2 the product are different                                           865   1   1   6   49    8

Differnet target audiences                                        2 Completely differnet price points                                  3 Packaging is too different                                            3 Could be, but unsure                                                                                                                    865   1   2   6   33    4
nothing                                                           1 more much favorable and unique.                                                                                                            2 nothing to say                                                    2 nothing to say                                                      865   2   1   6    5    9
                                                                  3 i don't think so                                                                                                                           3 no idea                                                                                                                                 865   3   1   4   35    3

the packaging for the products is different...                    1 I would say they are similar...                                                                                                            1 the packaging has a similar style...                                                                                                    865   1   1   5    5    4
                                                                  1 Because I like it                                                                                                                          1 Because I like it very much                                                                                                             865   1   1   6   35    5


Because the first company was the same as the product, and the      Because the brands are completely different. No mention of                                                                                   Because they are completely different brands and don't mention
second had a completely different company.                        2 similar brands on both pages.                                      2 Because there is no mention of anything similar on either page.       2 similarities.                                                     2 Because the two pages don't have similarities.                      865   1   1   5    5    4

                                                                  2 Different brands.                                                  3 The websites were similarly designed but different brands.            2 Different brands.                                                 2 Different brands / packaging.                                       865   1   1   6    5    7
                                                                  1 very likeable                                                                                                                              1 likely service                                                                                                                          865   1   1   6   10    6

                                                                  2 there are no similarities                                          2 the design of the bottle and name                                     2 they are nothing alike                                            2 there is no evidence that it is connected to the same company       865   1   2   5   43    2

                                                                  3 Now, I don't know for so, but feel I am being set up.                                                                                      3 Just a gut feeling                                                                                                                      865   1   2   5    9    5
I don't really know I haven't used yet or done any research on      clean and vegan products sustainable, eco friendly, natural                                                                                                                                                      Im sure that some companies may be affiliated with others, its
them yet                                                          1 ingredients high quality products                                                                                                          2 looks totally different here                                      3 not impossible                                                      865   1   2   5   10    2
                                                                  3 I’m not positive if the same thing                                                                                                         2 Different name but does the same for the skin                     3 Can be same company                                                 865   1   2   5   32    3

                                                                  3 See prior response. Same, nothing to indicate it.                                                                                          3 Nothing to indicate it as said over and over.                                                                                           865   1   1   5   43    3
The website they're sold on is not the same                       2 One is Thrive and one is Wildkt                                    2 The website design is totally different                               2 One is Ursa Major and one is Wldkt                                2 The websites look nothing alike                                     865   1   2   5    7    4
                                                                                                                                         it looks like two very different products and companies to me
the vibe is extremely different for the two products              2 they seem extremely different and have different names             2 personally                                                            2 they have dissimilar marketing                                    2 I have no reason to believe they are connected                      865   2   2   5   25    4
Because monkey face like yourself keeps showing me same             The products seem very different and serve different purpose
photos all over and over again.                                   2 for the customer.                                                  1 The packaging could be reused between associated companies.           3 cannot determine from pictures.                                                                                                         865   2   1   6   21    4
                                                                    different manufacturer name on product and in the
different manufacturer names on products                          2 advertisement                                                      2 different manufacturer names on the products                          2 different names on product                                        2 different names on products and advertisement                       865   1   2   2   35    3

You've made me doubt my former opinion.                           3 could be the same company with two different product lines                                                                                 3 could be the same company with two differerent product lines.                                                                           865   1   1   6   49    2

they look too different, the packaging that is                    2 thrive vs wldkat, seems like different companies                   2 completely different colors and design logo                           2 they look too different                                           2 they look too different                                             865   1   2   6   13    9




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                                                                                                                                            they both contain cbd but that's the only thing they have in         one is a more traditional product, the other a organic, trendy
their products don't seem to have anything in common and they         one seems targeted towards a younger demographic and the              common. one focuses on organic/sustainability, the other on an       product w/cbd. the packaging and marketing are completely
approach skincare in different ways                                 2 other towards a more mature/affluent customer.                      2 actual skincare product                                            2 different                                                             2 they don't have anything in common                                    865   1   1   5   13   1
different outlooks                                                  2 different names                                                     1 both CBD products                                                  2 different looks                                                       2 different vibes                                                       865   1   2   6   33   4
n/a                                                                 2 Thrive and Wildkat                                                  3 different names                                                    2 One is Ursa the other Wildcat                                         3 n/a                                                                   865   2   2   5   25   8

they could possibly share the same corporate ownership              2 one is by thrive the other is by wldkat                             3 they may possibly be owned by the same company                     2 one is wldkat, the other is by ursa major                             3 they are two brands but could have one owner                          865   1   2   5    5    5

                                                                      There is nothing to indicate they are from the same company,          I can't find any indication that they are, but sometimes                                                                                     Companies can produce different product lines with different
Could be different product lines from the same company              2 webpage different, name of company different, etc.                  3 companies produce different product lines with different names.    2 One says Ursa Major, one says WldKat                                  3 names                                                                 865   1   2   6   47    5
because it is not reflected in the packaging of either of the two
products                                                            2 because the label of each product shows a different brand.          2 because each product is different and not related                  2 because each of the products shown have different brands.             2 because their designs are very different.                             865   1   2   3    9    4

Not sure about that.                                                2 The company names are different.                                    3 Not sure about that.                                               2 The company names are different below.                                3 Not sure about that.                                                  865   1   1   6   43    9

i think they have different names so not related                    2 different names. one of thrive and the other is wldkat              3 not enough information for me to know to be honest                 2 different names for different companies                               3 i feel like they should be different companies but not too sure       865   1   2   4   13    3
Totally different company names, labels, ingredients don't seem                                                                             Totally different naming, labeling. Looks like totally different     There were no similarities on the labeling. Thrive only found on
the same. Branding different.                                       2 Totally different labeling, naming, etc.                            2 ingredients, etc.                                                  2 one other product which was not shown.                                2 Don't see any similarity in naming, branding, labeling, fonts, etc.   865   1   1   5   38    9
                                                                    2 not familar with products                                           3 don't know                                                         3 don't know                                                                                                                                    865   3   2   4   27    1


                                                                    2 They are labeled as two separate brands.                            2 Totally different look and two different kinds of products.        2 They are labeled different and the packaging is totally different.    2 They look nothing like each other.                                    865   1   2   6   21   10
Collaborative company brands                                        2 Different product brands                                            2 Different companies                                                2 Different product brands                                              1 Collaborative companies                                               865   1   1   5   43    6

                                                                    2   They have different names                                         2 They have different names                                          2   They have different names                                           3   They may be sister companies                                        865   1   2   6   32    8
not connected                                                       2   differents company and source                                     2 not connected                                                      2   two company not same                                                1   they made same skin products                                        865   1   1   6   47    9
looks different                                                     2   two company                                                       2 looks different                                                    2   differenet                                                          2   two product                                                         865   1   1   6   10    6
diffrent style and name                                             1   has diffrent style and diffrent colors                                                                                                 2   diffrent style and colors                                           2   diffrent styles                                                     865   2   2   1   38    1

They made different products and were made by different                                                                                     they both make a serum with CBD in it, so even though they                                                                                   the products are similar except one is called a Serum and the
companies                                                           2 one is made by LV Life the other Wldkat                             3 have different manufacturers; their products are similar           2 One was made by Wldkat the other Ursa Major                           3 other a balm                                                          865   1   2   6   43    5
                                                                      The first one is from Thrive and the second one is from different
                                                                    2 place.                                                              2 Didn't see any correlation.                                        2 Didn't see any connection between the two.                            3 Can't tell.                                                           865   1   1   6   44    3

THEY ARE NOT SHOWING SIMILARITIES                                   2 NOTHINK ALIKE                                                       3 CANT TELL                                                          3 NOTHING IS LOOKING THE SAME                                                                                                                   865   3   2   2    1    2
no similarities between the two products                            2 nothing similar between the two products                            2 nothing similar between the two pages/products                     2 nothing appears similar about the products at all                     2 no similarities between the two products                              865   1   2   5   35    9

                                                                      There was nothing in the packaging or description to tie the two      Was not provided enough information to make any                      Products did not appear related to each other at all. Packaging         There was no information to make me think they were related
                                                                    2 products together that I could tell.                                3 determinations if the companies were related.                      2 was different in both products.                                       3 at all. Did not knave enough information to truly evaluate.           865   1   2   5    5    5
because i don't know                                                2 Doesn'h have thrive on the other bottle                             3 Because I dont know                                                2 one says Ursa and the other wildcat                                   2 different names, so not sure                                          865   1   2   6   23    7

                                                                                                                                                                                                                                                                                         They have different approaches. One seems like it's trying to be
The products both take a cleaner more health driven approach                                                                                                                                                       The branding is completely different and one seems to say the         on trend and a thing that is "cool" while the other is trying to
and have more similar branding but it seems likely the products                                                                                                                                                    changes will be visually apparent and the other says it will be       represent something more demure and necessary and focuses
are solely in competition.                                          2 Different names and different branding                              2 The marketing approaches are vastly different.                     2   hardly noticeable and just do its job.                              2 on not destroying the health of your face.                            865   1   2   5   14    2
i didn't pay attention to who it was by                             2 I didn't see any names match                                        3 I wouldn't know unless it's said they are affiliated               1   I saw the same company name on the site                                                                                                     865   1   2   4   43    4
                                                                    2 they look and sound diffrent                                        1 they might be                                                      1   they could be                                                                                                                               865   2   1   2   44    4
                                                                      With all the ads given, you can not click on to anything for more                                                                            All these items do not give enough info on maker, so really don't
                                                                    3 info.                                                                                                                                    2   no.                                                                 3 As said not enough info to see.                                       865   1   1   3   32    2

                                                                                                                                                                                                                                                                                         The appearance of each of these is so vastly different, you really
                                                                      One is Thrive, one is LV. They look different too and again, I do                                                                          One is Ursa Major, one is Wyld Cat. They again look completely          do not need to notice that there is no logo similarity to believe
no similarities between products.                                   2 not see the same logo or advertising between products.              2 It does not appear that they are similar in any way.               2 different and do not share a similar logo or markings.                2 that they are from a different manufacturer.                          865   1   2   3    5    3
                                                                    1 the same brands                                                                                                                          1 the same brands                                                                                                                               865   1   2   6   43    6
The packaging is different which makes me thing they are              The packaging is different which makes me thing they are              The packaging is different which makes me thing they are             The packaging is different which makes me thing they are                The packaging is different which makes me thing they are
different companies                                                 2 different companies                                                 2 different companies                                                2 different companies                                                   2 different companies                                                   865   2   2   5   10   7
idk                                                                 1 IDK                                                                                                                                      2 diffrent names                                                        3 don't really know                                                     865   2   2   5   17   4


There's no way to say for sure, but Thrive seemed really clearly      Branding is very different and they have different names, seems       Hard to say if they might have some partnership. I lean toward       Again, no crossover in appearance, font, wording, brand names,          I don't think there's a way to be certain about whether they
branded as its own thing                                            2 like they are from totally separate and unrelated product lines     3 them not having an association, but can't say for sure             2 etc.                                                                  3 have a partnership or association                                     865   1   2   5   46   3
don't know                                                          2 most tores don't have it                                            3 no opinion                                                         2 nothing                                                               2 nothing                                                               865   3   1   3   33   5

                                                                    1 same product                                                                                                                             2 not same company at all                                               2 not connected with each other                                         865   2   1   6    6    7
no connection                                                       2 so different                                                        2 all different                                                      2 no                                                                    2 so different                                                          865   1   1   6   43    4


                                                                                                                                                                                                                 Seem to be very different in design, but that could just be
                                                                    3 looks like different companies, but could be marketing.                                                                                  3 marketing to different target audiences.                                                                                                      865   1   1   5    7    7

                                                                                                                                                                                                                 They were from different sites and from different companies.
There was no indication on the images provided that the two                                                                                 There was no indication that either products were related to         While they are selling essentially the same product for the same        The ingredients they advertise in the fore front are different as
were affiliated in any way.                                         2 One product was from Thrive Skin and the other from WLDKAT          2 one another.                                                       2 use, they are ultimately from separate companies.                     2 one uses CBD and the other uses oat milk.                             865   1   2   5    5    2
The name of the companies are different.                            2 The company names are different.                                    3 Not sure.                                                          2 The company names are different.                                      2 The name of the companies are different.                              865   1   1   6   43    9

                                                                    2 The websites are too different.                                     2 One contains CBD oil and the other one doesn't.                    2 They look different and one contains CBD                              2 The wording would be similar in some of the instances.                865   1   2   4   24    3
                                                                      it seems like the similar products but the price range is very
may be because it all said comes from natural products              3 different                                                                                                                                3 no clue to show it all comes from the same company                                                                                            865   1   2   6   32    5
it doesn't look the same                                            2 wildcat and thriver are different                                   2 the brands sound different                                         2 i think they look different                                           2 it doesn't look like they're related                                  865   1   2   5   32    3
                                                                    3 I just don't know.                                                                                                                       2 Different names                                                       3 I'd be guessing.                                                      865   3   1   6   13    4




                                                                                                                                                                                                                                                                                                                         Thrive Final Raw Data.xlsx
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                                                                                                                                                                                                              they dont appear to be made by the same company but its hard
not enough information to determine                                 2 i believe one in Thrive but unclear of the other                   3 it's hard to know for sure                                       3 to know for sure                                                                                                                           865   1   2   6    7    5

no clue to figure it out                                            2 the website name is different                                      2 the brand name and website name is totally not connected         3 cannot tell based on website name                                                                                                          865   1   1   6    5    4
                                                                    1 It is indicated on the bottle                                                                                                         1 logo is written                                                                                                                            865   1   2   5   20    3
not sure if they are affiliated                                     2 they look like different brands                                    3 not sure if they are affiliated                                  2 they look like different brands                                    3 not sure if they are affiliated                                       865   1   2   2   22    3
Cause The name of the companies are different, even at website
brand doesn't say something about affiliation between the             Maybe don't belong to the same company, but they come to the                                                                            I say no cause the formula from both products are different as
brands                                                              1 same source, cause the products contains the same formula                                                                             2 you can see. Have differents needed from different consumers       2 Formula and brands are different on both products                     865   1   1   5   10    4

                                                                      Not sure what the first one is from, could not read the small
                                                                    3 print, the second is Thrive?                                                                                                          2 just a guess, doesnt look related                                  1 They are identical                                                    865   1   2   5   17    5
one is a cbd product and the other is not                           2 different type of ad and bottles                                   2 bottles look completely different                                2 one is a cbd product and the other is not                          2 one is a cbd product and the other is not                             865   1   2   5    5    5
                                                                    2 different name at top                                              3 not sure                                                         2 different name at top                                              3 not sure                                                              865   1   2   6    8    5

                                                                    2 different color of the products and name                           2 very different to the color and product design                   2 different brands different color and product name                  2 different brand, different design and color                           865   1   1   6    5    5
looks like they are different companies. I am not familiar with
either so I could be wrong                                          2 looks like different brands                                        2 that is what it looks like to me                                 2 looks like different brands                                        2 that is what it looks like to me                                      865   1   2   6    3    6
not sure                                                            2 They have different company names                                  3 they don't look affiliated                                       2 different names and design                                         3 not sure                                                              865   1   2   4   26    4

                                                                    3 I'm not familiar with the products.                                                                                                   3 Just do not know                                                                                                                           865   1   2   5   33   10
sigh                                                                2 2 different products                                               2 ditto                                                            3 because I don't know/am unsure...                                                                                                          865   1   2   4    1    2

                                                                      The product containers and the websites are so different they
                                                                      look like they're from different companies. If it was just the
Again, they're overall different enough that they don't look like     packaging but the web design was the same or similar I'd say         You asking has made me wonder if they are from the same            Ok, I can really only reiterate this so many times, everything       I honestly don't think that they're similar enough overall to be
they're from the same company.                                      2 they were from the same company.                                   3 company, otherwise I would have said no.                         2 about them is different.                                           2 related.                                                              865   1   1   3   37    3

They are after sesame skin goals                                    2 The products are totally different                                 2 The brand I go on the package are diffrent                       2 The packaveing are totally different                               2 The information on the package are different                          865   1   1   5    5    2
I am not familiar with the companies                                2 They have different Brand names                                    3 I am not familiar with any of the companies advertised           2 They have different brand names                                    3 I am not familiar with the products to answer                         865   1   2   4   22   10

                                                                      Different brands and even the package designs and labels look        Labels and packages are different and no information about the     The theme behind the package designs are totally different from      One is Thrive and the other is WLDKAT. They don't seem to be
no information about the affiliation on the labels.                 2 totally different.                                                 2 affiliation on the labels                                        2 each other                                                         2 associated and if so, they would have mentioned it on the label.      865   1   2   6   35    3

Unable to see any connection.                                       2 Similar to the first one.                                          2 Do not see any affiliation.                                      2 No wording is similar.                                             2 Unable to see the connection.                                         865   1   1   6   46    8
                                                                      if the items are from thrive market they do many different                                                                              packaging color usually the same for the same company and it         they did not seem like it would be from the same company due
the packaging of the product and the name on the product            3 organic items                                                                                                                         2 was different                                                      2 to name and packaging                                                 865   1   2   5   50    1
Different label and brand                                           2 Different brand                                                    3 Not sure                                                         2 Different label and brand                                          2 Different label and brand                                             865   1   2   6   47    6
I did not read the small print                                      2 The brand name on the product was different                        3 I did not read the fine print                                    2 The head different product label names                             3 I did not read the detailed information                               865   1   1   3    9    2

                                                                                                                                                                                                              I don't think so that they are from sane companies. Because
                                                                    2 Because they are so different from each other.                     2 Because they are different from each other.                      2 they are pretty much different from each other.                    2 Because they are so different from each other.                        865   1   1   6   32    7
                                                                    2 diferent websites                                                  2 different websites                                               2 different items                                                    3 need more info                                                        865   1   1   3   13    2
                                                                    3 I am not sure.                                                                                                                        2 I would enjoy this.                                                2 It would be great.                                                    865   1   2   5   10    2
                                                                    3 different brand names                                                                                                                 3 different names but could be the same manufacturer                                                                                         865   1   2   6   22    3
                                                                      Very different aesthetic, looked completely different from one                                                                          I don't know how skincare manufactorers work if they are
                                                                    3 another                                                                                                                               3 manufactored by the same companies or what                                                                                                 865   1   2   2   33    4

Because I don't know.                                               2 Because one is from Thrive and the other from WLDKAT.              3 Because I don't know.                                            2 One is from WLDKAT and the other from Ursa Major.                  3 Because I don't know.                                                 865   1   2   3    3    2
                                                                                                                                                                                                              feel like I've already answered this question ‐ but the products     because they don't look like they would come from the same
because they just don't have anything in common                     1 because it is not the same packaging                                                                                                  2 just don't look related                                            2 company                                                               865   2   2   6   27    8
                                                                      Why have two entirely different facial cbd products? It would be
                                                                      more beneficial for a company to make one good products vs a         While both being cbd, one seems more traditional beauty                                                                                 No transparency with parent companies. Everything is owned by
                                                                    2 couple okay products.                                              2 product, the other has a more natural vibe.                      2 Packaging would look similar?                                      3 like 5 major corps pretending to be smaller businesses.               865   1   2   2   22    3

I think companies are connected in a way because they are all         They are from the same company because their description are                                                                            They are not from the same company because their packaging           I feel like companies that sell similar products have similar goals
working at the same goal.                                           1 very similar on how they are describing their product.                                                                                2 are not very similar, neither their names on the bottles.          1 as well.                                                              865   1   2   5    5    2
                                                                                                                                                                                                              Wildkat seems to be a brand, but I was incorrect about Ursa
                                                                                                                                                                                                              major being a manufacturer ‐ it seems to just be the product
Unclear ‐ nothing stands out to say one way or the other            3 Not enough info presented                                                                                                             3 brand                                                                                                                                      865   1   2   5    5    9

                                                                      They are skin product company and manufacture for skin               They have a business product and different business plan and       The best skin product of all time that actually work including
they give us good service                                           2 product and helps us to get good product                           2 product aim are same                                             2 for skin care product                                              2 They are skin product company                                         865   1   1   6    5    6
different brand names and labelling                                 2 different brand names.                                             2 different brand names and label designs                          2 different brand names and labelling                                2 different brand names and labelling                                   865   1   2   5   32    4

Again I cannot find anything saying they are the same, I of           Different Names wouldn't think they would be the same                                                                                   I can't tell from the information that they would be from the
course could be wrong, this is just my opinion                      2 company, I am probably wrong but that is my opinion                3 I am not familiar with these products so I honestly don't know   2 same manifacturer                                                  2 I don't think they are, but could be wrong                            865   1   2   3   14    7

                                                                                                                                                                                                              Both have different product names (WildKat vs Ursa Major) and
                                                                                                                                                                                                              seem to feature different ingredients in their products. One         They seem to feature completely different descriptions, ads and
There is no uniformity between the products. Both feature                                                                                  They are both completely different and have no uniformity          focuses on using CBD and promoting this, while the other does        looks. Usually when something is produced from affiliated
different bottles, descriptions, products and so forth.             2 They both feature different names (WildKat and Thrive).            2 between them.                                                    2 not.                                                               2 companies, they have a uniformed look about them.                     865   1   2   6    3    3


Am just unsure                                                      2 Again, branding is very different                                  3 Not familiar with either of these brands                         3 Not familiar with WLDKAT                                                                                                                   865   1   2   5   43    5
                                                                      The design of the bottle are different and the website where you
The have different name                                             2 can order the products looks different too.                        3 I can't tell because I don't have any ideas of the company.      2 One is from ursa major and the other is from different company.    2 They are both from different company                                  865   1   2   2   35    2

not enough information for me to form an opinion                    2 Considerably different packaging                                   3 There wasn't enough information for me to form an opinion        2 doesn't look like each other in packaging                          3 Not enough information for me to form an opinion                      865   1   2   5   49    3
arent nothing a like                                                2 arent the same brand, logo, colors                                 2 i dont see any similar info                                      2 they arent similar                                                 2 they are nothing a like                                               865   1   1   5    5    6
                                                                    3 nothing listed                                                                                                                        3 no manufacturer listed on the label or description                                                                                         865   1   2   5   30    3

                                                                    2 different names, different ideas                                   3 its hard to say without researching the bands                    3 can't tell without researching the companies or brands                                                                                     865   1   2   5    3    7




                                                                                                                                                                                                                                                                                                                      Thrive Final Raw Data.xlsx
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no connection                                                     2 just different                                                       2 not connected                                                       2 they have different brands and packaging                               2 Don't see any connection                                              865   1   2   5   37    3

                                                                                                                                           They have completely different packaging and names. There                                                                                      The packaging looks kind of similar, but not the same name or
Different names on the package                                    2 They have different names on the package                             2 does not appear to be anything in common between them               2 The name on the packages are different                                 3 color scheme                                                          865   1   2   6   43    6

                                                                  3 Did not provide enough information to know                                                                                                 3 I feel there is not enough information                                                                                                         865   1   2   5   18    2
                                                                    they work together and sound like they might be from the same                                                                                i am not so sure it is hard to figure out sounds like they might be
                                                                  1 company                                                                                                                                    3 the same                                                                                                                                       865   1   2   2   49    4

                                                                  2 because all models seem to be from different companies               2 because all models seem to be from different companies              2 because all models seem to be from different companies                 2 because all models seem to be from different companies                865   2   2   3    9    5
maybe they are just competitors                                   2 The 1st product is WLDKAT, the 2nd is THRIVE SKIN                    2 Maybe they are just competitors                                     2 different trade mark                                                   2 maybe they are just competitors                                       865   1   2   5   41    2
                                                                    They're made by two different companies. The packaging isn't
I mean I guess they could be but with what I saw, there is no       the same, the only similarity is the pump bottle. The websites                                                                               Completely different styles of bottles, the website doesn't look
evidence of them being a product of the same company.             2 are different too.                                                   2 I don't see any similarities between the two products.              2 the same, the ingredients are different.                               2 The websites don't look the same                                      865   1   2   2   33    1
                                                                  1 both CBD                                                                                                                                   3 not sure                                                                                                                                       865   1   2   6   32    3
                                                                                                                                                                                                                 There were two different brand names in the images and the
There is not enough information present to know.                  2   The two images had two different brand names and aesthetics.       3 There is not enough information present to know.                    2 aesthetics were completely different.                                  3 There was not enough information present to know.                     865   2   2   6   50    4
                                                                  3   i didn't see the manufacturer name                                                                                                       3 do not see the manufacturers name                                                                                                              865   1   2   2   19    4
                                                                  2   One said WLDKAT and one said Thrive                                3 I didn't see any indication                                         2 ONe says Ursa Major and the other says WLDKAT                          3 I didn't see anything to indicate that                                865   1   2   2   43    3
                                                                  3   because they have different names                                                                                                        3 i dont know                                                                                                                                    865   1   2   6   43    3
                                                                  2   looked different.                                                  3 No way to tell                                                      2 Looks different                                                        3 No way to tell                                                        865   1   2   5   35   10
Different names                                                   2   Visilbly differnet comapny names right on the labels               2 Completely differnt labels and names                                2 Completely different labels and names                                  3 I don't think they are                                                865   2   2   4   12    2

different shipping options                                        2 different pricing                                                    2 differnt names                                                      2 different names                                                        2 different company names                                               865   1   2   2   33    3
                                                                                                                                                                                                                 They had different brand names ‐ WLDKT and Ursa Major, I
I don't know anything about these companies so I don't know.      2 Different brand names                                                3 Uneducated on these products                                        2 believe.                                                               3 Because I've never heard of them and have no idea.                    865   1   2   4   25    2
                                                                                                                                                                                                                 Different labels, different website layout, different
not similar                                                       2 not sure                                                             2 not sure                                                            2 visuals/graphics                                                       2 look very different                                                   865   1   2   6    5    6

                                                                  2 No consistent logo or branding, packaging colors etc                 2 same answer ‐ no common logo                                        2 Different brand name, colors, packaging and logos                      2 Different brand name, colors, packaging and logos                     865   1   2   5   43   10
                                                                    it was hard to tell i saw no evidence that the products are                                                                                  i saw no mention of the products being made by the same
it is obviously the same brand                                    3 related                                                                                                                                    3 company                                                                                                                                        865   1   2   5   21    2

Not sure if the brands could be connected                         3 unsure                                                                                                                                     3 I think different brands but not positive                                                                                                      865   1   2   5   13    2

                                                                  2 Different names.                                                     3 I have no way to gauge that.                                        2 Different names.                                                       2 Still no way to see otherwise, so I would assume no.                  865   1   2   5   17    1
different names and looks                                         2 different names and looks                                            2 different names and looks                                           2 one is wldkat and one is something source                              2 they don't share any name or look at all alike                        865   1   2   5   26    3
                                                                                                                                           There may be a partnership contract between the two
companies may be associated with each other                       2 There is no similarity in the designs or logos                       3 companies                                                           2 There is no similarity between the products                            3 There may be a private partnership between the two companies          865   1   2   5   43    5
If they were, they might use similar types of packaging to save
money in production costs.                                        1 They both have CBD in it.                                                                                                                  2 They don't look at all similar with their packaging.                   2 They have different color packaging.                                  865   1   2   6   37    6

                                                                    Different websites and brands listed. Do not seem to have the          They appear to not have any connections based on the
I do not see anything that seems to be the same.                  2 same themes/colors/fonts used or crossover.                          2 presentation and packaging of the products and web pages.           2 I do not see anything that seems to be the same.                       2 I do not see anything that seems to be the same.                      865   1   2   5   47    8
                                                                                                                                                                                                                 The branding is completely different and the write ups on the            I guess it's hard to say. It would be a good way to deliver similar
See previous answer                                               2 Website and write up different                                       3 See previous anwser                                                 2 website have a different tone.                                         3 products to different markets.                                        865   1   2   3   13    1
                                                                                                                                           I have never heard of these companies before. It is possible that
                                                                    The headlining brands on each product were different. One was          the two different brands are owned by the same company, like          I would assume these companies are different because they                I've never heard of these brands, but it is possible that they are
The companies have similar values, so they might be affiliated.   2 Thrive, and the other was different.                                 3 Old Navy and Banana Republic.                                       2 have a different brand, but it is possible that they are affiliated.   3 both owned by the same company.                                       865   1   2   5   23    5

                                                                  2 because they have two different names                                3 because I do not care to know the names of companies                3 because I do not use ursa major                                                                                                                865   1   2   5   10    9
                                                                  3 I cannot say                                                                                                                               2 The brand seems different                                              3 I cannot say                                                          865   1   2   5   21    7
It just looked like two completely different companies based on     The more I look at it the more it feels like it might be connected                                                                           They looked like products from one company based on design
design.                                                           1 due to the type of product.                                                                                                                1 and lettering.                                                                                                                                 865   1   2   6    3    4
totally different names and look.                                 2 totally different names and look.                                    2 totally different names and look.                                   2 They look differently and have different names.                        3 They don't look the same or have the same name.                       865   1   2   5   49    5
they look different                                               2 they look totally different                                          2 the colors are different                                            2 theu have different names                                              2 the brand is different                                                865   2   2   6    5    9
i do not know these companies                                     2 different names                                                      3 everything is different                                             3 they look totally different                                                                                                                    865   1   2   5   29    2
                                                                    There appear to be different brand names listed on the
                                                                  2 packaging, and the designs are different                             3 The marketing is not consistent                                     2   Different marketing and graphics                                     2   different marketing and design used                                 865   1   2   6   22    2
I am not sure                                                     2 Different brand names                                                3 I am not sure.                                                      2   Different brand names                                                3   I am not sure                                                       865   1   2   2   30   10
                                                                  1 it's look the same                                                                                                                         2   different design                                                     1   Because the companies cooperate with each other                     865   1   2   6   23    5
                                                                  2 Their look is different.                                             2 The designs are different.                                          2   The look of the products are different.                              2   Their description are different.                                    865   1   2   5    3    3


                                                                  3 I wouldn't be surprised if they were sister companies                                                                                      3 same answer                                                                                                                                    865   1   2   5    5    2
                                                                    Thrive and Wildkat ‐‐ I didn't see the Thrive name attached to
One by Ursa, the other by Thrive                                  2 Wildkat                                                              2 I didn't see a name correlation between the two                     2 One by Ursa, the other by Wldkat                                       2 One by Ursa, the other by Wldkat                                      865   1   2   3   43    4
one looks much more expensive than other                          3 not sure because some of ingredients are same                                                                                              2 don't look similar at all                                              3 not sure?                                                             865   1   2   3   22   10


Nothing connecting the two companies in the photos.               2 One was made by Wldkat and the other by Thrive.                      2 Didn't see anything linking the two companies together.             2 Different company names.                                               2 Nothing connecting the two companies in the photos.                   865   1   2   5   46    4

                                                                                                                                                                                                                 The packaging, brand name, and design of product pages look              There's nothing clear that would show a connection between
                                                                  2 Clearly a different brand with a different website                   2 They have a very distinct difference in the design of the website   2 very different                                                         2 the companies                                                         865   1   2   5   49    5
Different brand names                                             2 Different names                                                      2 Different names/brands                                              2 Different brand names                                                  2 Different brand names                                                 865   1   2   6   30    8


Because it just doesn't appear that they are                      3 Because the packages are so different                                                                                                      2 Different brands & websites                                            3 Because I don't know                                                  865   1   2   4    9    2
                                                                                                                                                                                                                 One said WLD KAT and the other is Ursa Major. Products don't
Don't look anything alike                                         2 One says Thrive one says WLD KAT                                     2 Look nothing alike                                                  2 look or sound anything alike                                           2 Advertising looks completely different                                865   1   2   5   38    6




                                                                                                                                                                                                                                                                                                                         Thrive Final Raw Data.xlsx
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                                                                                                                                                                                                                    The websites look different. The way the wording and text is
                                                                                                                                                                                                                    displayed on the packages does look similar but the coloring is
there were no similarities in packaging or wording of the                                                                                                                                                           different and there is no sign of a brand name on the packaging
description of the products                                           2 branding and packaging look completely different                     2 branding and packaging look completely different                   3 that I can see.                                                                                                                         865   3   2   6   42    4
the labels look different                                             2 they look completly different                                        2 the labels look different                                          2 labels look different                                              2 labels look different                                              865   1   2   5   44    6
                                                                        Because it was two different products made by different
                                                                      2 companies.                                                           1 That is the impression I got.                                      2 Wildkat and Ursa Major are two different companies.                3 It was not mentioned.                                              865   1   2   6   18    3
                                                                      1 look the same                                                                                                                             1 look the same effect                                                                                                                    865   1   2   5   18    4

similar functionality                                                 2 different brand name                                                 2 different brand                                                    2 brand name differs                                                 2 different brand name                                               865   1   2   5   32    3
Different name                                                        2 Different name and different branding                                2 They are different names                                           2 Different name and different packaging                             2 The names and branding are different                               865   1   2   5   30    2

can't tell                                                            2 different compnaies names on products                                3 don't see a connection other than cbd ingredient same in both      2 different companies names                                          3 don't see how they are connected                                   865   3   2   5   35    5
                                                                      2 differernt sames                                                     2 they arent all the same                                            2 they dont seem the same                                            2 they dont seem the same                                            865   1   2   5   46    3
                                                                                                                                                                                                                    The packaging is very different. One uses very bright colors and
                                                                        Design of webpage is very different which leads me to believe                                                                               the other very dark colors. One seems more natural than the
                                                                      2 they are from different companies/manufacturers.                     3 Not enough information provided to tell                            2 other.                                                             3 Its not possible to tell from the information provided.            865   1   2   6   18   10
I'm not sure but they seem a little connected                         3 The packages don't suggest that                                                                                                           2 I saw them in a nearby store                                       2 The packages don't suggest that                                    865   2   2   6   13    4

Again I would assume no, but can't be entirely sure                   2 they don't appear to ahve the same name anywhere on them             3 I would guess not but again am not completely sure                 2 they don't appear to have the same name on them                    3 I would guess that they are not, but am not sure                   865   1   2   5   42    8
I think it is from different manufacture.                             2 It is from different brand.                                          2 I believe from different manufacture.                              2 It is from different brand.                                        2 I think it is from different manufacture.                          865   1   2   5   44    6
                                                                        It is hard to tell from the name and product information                                                                                    The information and name don't make it clear if they are related
                                                                      3 whether they are related                                                                                                                  3 or not                                                                                                                                  865   1   2   6   38    3

                                                                      3 I don't know which company makes either product                                                                                           3 I don't know which company make either product                                                                                          865   1   2   5   23    8

hard to tell                                                          2 different branding                                                   2 different branding                                                 2 seemed like different branding                                     2 very different branding                                            865   1   2   5   23    2

                                                                        I couldn't tell where or who WLDKAT came from. Looked kinda
                                                                        sketchy, particularly with the oddball spelling and the cheesy                                                                              No manufacturer or distributor.... Could both easily be LEVER
                                                                      3 BOLD LETTERING in the description.                                                                                                        3 products.                                                                                                                               865   1   2   6   33    8
                                                                                                                                                                                                                                                                                         The branding looked different with very different packaging.
                                                                        They both have CBD and I don't think many skincare products                                                                                 The branding looked totally different as well as the website         There were also differences in the way the products' features
The brands seem have different purposes                               1 have CBD                                                                                                                                  2 seemed to function differently                                     2 were highlighted                                                   865   1   2   6   13   1

not enough information                                                2 I didn't see the same name or packaging.                             3 I have no way of knowing based on the information given.           2 no similarities                                                    3 not enough information                                             865   1   2   4   37   3
I don't know                                                          2 The name of the brand is different                                   3 Because I don't know                                               2 The brand is different                                             3 Because I don't know                                               865   1   2   2   21   4


                                                                      2 As before, packaging leads me to believe this.                       3 Couldn't tell from what I read on labels or packaging              3 Cannot tell from what I viewed                                                                                                          865   1   2   6    3    5

                                                                      3 I am unfamiliar with the brand names.                                                                                                     3 I am unfamiliar with these product names.                                                                                               865   1   2   2   43    3


                                                                        Thrive and WLDKT (Wildcat?) are different company names and
                                                                        the product packaging is vastly different. the WLDKT product
                                                                        looks like it is marketed toward younger consumers like
                                                                        influencers on social media who care about what the packaging
Ursa Major packaging is a bit more colorful and trendy, and             looks like and trendy ingredients like oat milk. Thrive looks like                                                                          URSA MAJOR and WLDKAT are obviously two different brand              URSA Major and WLDKAT are different brand names, have
Thrive packaging is more traditional, yet modern in its simplistic      it's for a higher end consumer who cares about the specific            I didn't notice anything similar between the Thrive and WLDKT        names, different product packaging, different product                different product packaging and descriptions, and different
and elegant package design. Different types of products.              2 ingredients in the product.                                          2 websites design or product packaging.                              2 descriptions, different website layout/ design.                    2 website design.                                                    865   1   2   5   14    4
products don't look similar and have different branding               2 aren't similar in advertising or wording                             2 don't appear to be similar                                         3 it is hard to tell if they are similar                                                                                                  865   1   2   4   38    3
not sure                                                              2 different names and websites                                         3 not sure                                                           2 different names                                                    3 not sure                                                           865   1   2   4   29    4

It doesn't seem very likely that they're affiliated, but they could     Sufficient difference in branding and messaging that they appear       These two companies seem to share similar enough messaging           The difference in branding and messaging leads me to believe         Any two companies could be affiliated with each other, even
be.                                                                   2 to be different sources.                                             3 about their products that they could be affiliated.                2 that these are sourced from different producers.                   3 with very different branding and messaging strategies.             865   1   2   6   51   10
                                                                      3 because of the names and ingredients                                                                                                      3 because of the name and ingredients                                                                                                     865   3   2   3   13    2
they seem different                                                   2 the websites and labels seemed different                             3 i have no idea                                                     2 they look different                                                3 idk                                                                865   1   2   3   40    4

There is nothing in the name, logo or colors that would indicate                                                                               There is nothing in the names, logos, or colors to indicate they                                                                          There is nothing in the name, logo, color or font that indicate
they are connected                                                    2 They have different names, logos and colors                          2 are related                                                        2 One is named WLDKAT and the other is Ursa Major                    2 they are related                                                   865   3   2   5    6    3
                                                                                                                                                                                                                    the packing isn't the same and product doesn't seem to carry
                                                                      3 not enough info to tell                                                                                                                   2 one theme                                                          3 just not sure can't tell from info given                           865   1   2   6   21    5
                                                                                                                                                                                                                    The packaging looks different but they could be from the same
There's no way to tell that just from seeing the packaging            2   The packaging and websites are different from each other           1 Both these products contain CBD                                    3 company                                                                                                                                 865   1   2   4   22    4
                                                                      1   Similar branding and website details                                                                                                    2 The don't have anything similar                                    2 Based on the images that's the best answer I can see!              865   1   2   6   43    7
Because it could be possible, but I'm not sure.                       2   These products have different brand names.                         3 Becuase it's possible, but I'm not sure.                           2 They looks very different.                                         3 Because it is a possibility, but I'm not sure.                     865   1   2   4   46   10
                                                                      3   I have never heard of these prior to today.                                                                                             3 I do not know anything about these items                                                                                                865   1   2   5   17    4
                                                                                                                                               It didn't say anything on there about them being affiliated with     They have different product names and nothing I can find can         There is nothing on the ads to indicate that they are affiliated
Nothing on the two ads can link them together                         2 They are labeled two different things                                2 the other                                                          2 link them together                                                 2 with the other                                                     865   1   2   5   38    4


                                                                        They don't use any of the same product brand names and have                                                                                 I didn't see any name that matched on the products; the              No specific reason other than the product graphics don't look
                                                                      2 different graphics on the products.                                  2 One product spells words correctly, while one does not.            2 container and graphics don't match                                 2 like each other.                                                   865   1   2   5   33    4
                                                                                                                                                                                                                    Companies often make competing products and since I have
I think they could fall under the same parent company but under         I can see these two serums falling under the same parent                                                                                    never heard of either of these, I cannot be sure if they are
different divisions.                                                  1 company.                                                                                                                                  3 manufactured by the same company.                                                                                                       865   2   2   5    1    1


not familiar                                                          2 different brand names                                                3 not familiar with wldkat                                           3 not familiar with either brand                                                                                                          865   1   2   6   46    9
look like different companies                                         2 products are too different                                           2 look like different brands                                         3 need more detail                                                                                                                        865   1   2   4   24    2
                                                                      3 because I do not know.                                                                                                                    3 because I'm not sure                                                                                                                    865   1   2   6   32    7




                                                                                                                                                                                                                                                                                                                         Thrive Final Raw Data.xlsx
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                                                                                                                                            I don't know. I've never heard of either of them but they don't
                                                                     2 One is Thrive and one is Wldkat or something                       3 look similar.                                                          2 They don't look like they have anything in common.                  3 They don't look similar.                                           865   1   2   3   20    3
                                                                       Different types of products with different price points and          There is not a lot of similarities in the packaging other than it is                                                                           The products have different functions. They do not appear to be
                                                                     2 packaging.                                                         2 face care.                                                             2 The products have different packaging and functions.                2 related.                                                           865   1   2   5    6    8

can see some similarity between the two                              2 see no linkage between the two products                            2 two totally different products                                         2 i don't see the linkage between the two products                    2 i don't see how they are related                                   865   1   2   5    5    5
                                                                       the first one said was made by thrive but not sure who makes
did now see where it said that                                       3 the 2nd one                                                                                                                                 2 they both have cbd in them but did not say who made them            3 unsure who makes them                                              865   1   2   4   48    3
i don't think they are affiliated with each other                    2 they are different companies                                       2 they aren't affiliated with each other                                 2 they are different companies                                        2 they are not affiliated with each other                            865   1   2   3   35    5
                                                                                                                                                                                                                                                                                           Because each product contains features that differ from the
Because it contains elements of its product                          2 Each product is named after a private manufacturer                 2 Because every company has a special policy in production               2 It is based on a special name and an accusative                     2 other                                                              865   1   2   5   17    4
similar product but names sounds so dissimilar                       2 one says Thrive the other one says WLDKAT                          3 It is not clear to me                                                  2 two names on the top                                                1 similar products                                                   865   1   2   5   25    7
                                                                     2 no common things.                                                  1 same usage                                                             2 i see them diferent.                                                1 the same way to use and same usage.                                865   1   2   6   32    4

                                                                     2 Because they are not the same in quality and shape                 1 Because both products are of good quality                              2 They are not the same in look and quality                           2 Both are of good quality and premium quality                       865   1   2   6   32    6

I've never heard of either so I have no idea if they are connected     these were both called thrive so I assume they are the same                                                                                   they look like they are 2 different companies/websites. the           I've never heard of either so I don't know if they are connected
or not                                                               1 company                                                                                                                                     2 products look nothing alike                                         3 or not. it didn't look like they were.                             865   3   2   5   21    7
                                                                     1 same company                                                                                                                                1 they are same company                                                                                                                    865   1   2   5   35    4

They may be under the same umbrella, but different company             The product pages, and product names are different, and there        I believe these are from two different competing companies as
names.                                                               2 is nothing to link the two.                                        2 their pages are styled differently.                                    2 Nothing ties the two ads together.                                  2 Nothing ties them together.                                        865   3   2   5   38    8
Not completely sure                                                  2 They have different ad names                                       3 I'm not completely positive. They are both new to me.                  2 Two different names                                                 3 Not completely sure                                                865   1   2   5   21    3

                                                                     3 because they could be from the same company                                                                                                 2 because they both are different in name                             3 because they could be affiliated                                   865   1   2   1    9    1

                                                                     3 its hard to tell but looks different because of colors                                                                                      3 because the color of the bottles are different                                                                                           865   1   2   1   33    2
just not sure                                                        2 thrive versus wldcat                                               3 just not sure                                                          2 different names                                                     2 did not look similar                                               865   1   2   5   13    4
anything is possible but based of what I see of both products not                                                                           they could be affiliated but I would say probably not based on           no idea if they would be same company, again very different
affiliated                                                           2 products look totally different, different marketing strategies    3 what I saw                                                             3 looks                                                                                                                                    865   1   2   2   35    4

Brands can have some kind of connection or affiliation and not         The name on the website state different names, and also the
have it be known that there's an even larger company that              packaging is completely different. There is nothing that looks
produces them. There's no way of me knowing if they are                similar to them possibly being manufactured from the same            I'm not sure because they could be affiliated and look                   The brand name of the product and company name is different           I'm not sure because they could be manufactured by the same
related or not unless it's obviously stated or I look it it.         2 company.                                                           3 completely different, but you just can't tell the difference.          2 on the packaging.                                                   3 parent company but just be different brands.                       865   1   2   5    5   10

same color and kind of the same purpose                              2 they are different colors                                          2 they have different purposes                                           2 one has oat                                                         2 i dont believe they could connect                                  865   1   2   2   20   10

                                                                     3 Different names but that doesn't mean they're not linked                                                                                    3 Different names but might be linked                                                                                                      865   1   2   6   33    4
                                                                                                                                                                                                                                                                                           They don't look like they are from the same company, but I
                                                                                                                                                                                                                                                                                           know that sometimes brands will share the same parent
same as before                                                       2 Different packaging and brand names.                               3 Same as what I said before.                                            2 The packaging was completely different.                             3 company.                                                           865   1   2   5    2    1


Based on the looks of the products, they had completely                The first product looks like it was made by Wldkat, and I didn't                                                                              They look very different in their labeling and the wording is not     The labels look very different, and the wording of the ads are
different looks, leading me to believe they were not related.        2 see any name of a company on the bottle, or in the wording.        2 Nothing looks similar, or sounds similar.                              2 similar.                                                            2 dissimilar.                                                        865   1   2   3   33    2

Different names and symbols                                          3 They both contain CBD                                                                                                                       2 One says WLDKAT and the other Ursa Major company                    2 One has CBD in it                                                  865   1   2   4   12   10
                                                                                                                                                                                                                     one uses cbd and the other doesnt one is a face balm and the
                                                                                                                                                                                                                     other is a glow serum the names and logos are completely
                                                                     3 one logo is WldKat the other reads Thrive                                                                                                   3 different                                                                                                                                865   1   2   3    5    2
                                                                       From viewing the previous slides, it appears that Wldkt is a                                                                                  I've never heard of either of the companies‐‐Ursla Major or the
                                                                     1 Thrive product.                                                                                                                             3 other.                                                                                                                                   865   1   2   5   45    8

                                                                                                                                            I don't see any evidence of the relationship. It's like Pepsi and
                                                                       They had different names. Maybe the same company produces            Lay's are both owned by the same parent company but I don't
No evidence of that.                                                 2 them, but it isn't evident from the label.                         3 see Lay's on Pepsi cans and Pepsi cans don't say Lay's                 2 No evidence.                                                        3 No evidence who the parent company is.                             865   3   2   6    5   10
Because they are made with CBD which is a totally unique kind
of ingedient                                                         2 The websites are different even though they both have CBD          2 they look diffrent                                                     2 different ingredients                                               2 different ingredients and the websites look self sufficient        865   1   2   5   32    3

                                                                       There are a limited number of manufacturers that make                                                                                         They seem to be quite a bit different. They may be from
                                                                     1 "independent label" skin care products.                                                                                                     3 different manufacturers, but I can't tell for sure.                                                                                      865   1   2   5    3    5
                                                                     3 not very clear                                                                                                                              3 not very clear                                                                                                                           865   1   2   6   10    6

Why would a company make the same product but by two                                                                                        If you aremaking a beauty product why have different names               Again I think that if a company were making a product I think
different names                                                      2 why make the same product but under different labels               2 and labels                                                             2 the labels and logos would have some common aspects.                2 These 2 products do not have any common look about them            865   3   2   4   29    5
Their marketing is very different                                    2 Their marketing is very different                                  2 Their marketing is very different                                      2 Their packaging and websites are completely different.              2 Their marketing is very different                                  865   1   2   5   30    5
                                                                       the product lines have different names but they could still come
                                                                     3 from the same company                                                                                                                       3 they may or may not come from the same company                                                                                           865   3   2   6   33    9
                                                                     3 They are very different.                                                                                                                    3 One is very bland looking, while the other stands out.                                                                                   865   1   2   3   20    3
                                                                                                                                                                                                                                                                                           There is no indication on the products that they are affiliated
I really don't know.                                                 2 The bottles have different brand names on them.                    3 i really have no idea.                                                 2 The products have different company names on them.                  3 with each other.                                                   865   1   2   5   33    8
                                                                                                                                                                                                                     The colors in the background are different. Wldkat is gold and
                                                                     2 They look very different as do their associated websites           3 I just can't tell one way or another                                   2 black and the face balm background is blue.                         3 There is no way of knowing this that I can see.                    865   1   2   6    5    9
                                                                     2 they have a different brand name on its website.                   3 I am not sure if they are the same company.                            3 I am unsure if they come from the same company.                                                                                          865   1   2   5   43    6
                                                                                                                                            not sure, didn't see anything to make me believe it but still not
not enough information                                               2 one is called WLDKAT and one Thrive                                3 sure                                                                   2 same as before                                                      3 same as before                                                     865   1   2   4   46    3
semi similar packaging                                               1 same bottle shape                                                                                                                           2 they look completely different                                      2 they look completely different                                     865   1   1   6   38    3
I'm not sure, several companies are under the same corporate
management so its hard to say if its affiliates of the same                                                                                 Several companies could be associated with different branding,
company                                                              2 Packaging and product detail                                       3 packaging and products.                                                2 Products may be similar but appear to be different companies        3 I dont know                                                        865   1   2   4   10    7

Ursa and Thrive are different names so not sure                      3 They were called different names                                                                                                            3 It had different brand names                                                                                                             865   3   2   4   33    2




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                                                                                                                                                                                                                    The visual layout of each of the products looks so different. The
                                                                                                                                                                                                                    color scheme isn't even remotely the same which makes me              It's really hard to tell that they could be related. There is no
                                                                   3 The color scheme of the product pages are so different.                                                                                      2 think it's two different companies.                                 3 information shown that makes me think that.                         865   1   2   3   17    1

                                                                   2 seem like they ertr made in 2 totally different worlds                2 just dont really seem to have anything in common                     2 they seem to have very different goals                              2 i stand firm that they both seem to have very different goals       865   1   2   3   10    2
                                                                   1 very similar                                                                                                                                 1 similiar design and guarantees                                                                                                            865   1   2   5   28    4
                                                                   2 Different websites                                                    3 Look totally different                                               2 Look totally different                                              3 Not sure, but they look very different                              865   1   2   4   19    3

I didn't see anything connecting them.                             2 One is Thrive and the other is WLDKT                                  2 I do not see a connection                                            2 One is URSA and the other is WLDKT                                  3 I have no way of knowing. I didn't see anything connecting them.    865   1   2   6   25    4
                                                                                                                                             They could be the same company but using different names to                                                                                  They could be the same company promoting two different
One company could manufacture both brands                          2 Thrive verses Wldcat                                                  3 promote a different product                                          2 Ursa verses Wldcat                                                  3 brands                                                              865   1   2   3   25    2
                                                                                                                                                                                                                    Usually a company will keep their product line similar to each        Usually a company will keep its product line similar to each
Lay out, description of product are different from each other.     2   Very different graphic image                                        2 Overall graphic designs, ads, different                              2 other; this is not.                                                 2 other in labeling. This does not.                                   865   1   2   6    9    4
Because I am unsure                                                3   Because I am i=unsure if they are related                                                                                                  2 One is Wldkat and the other is Ursa Major                           3 It was hard to determine if they are related                        865   1   2   3   36    3
just opnion                                                        2   because i know them                                                 2 opinon                                                               2 i know them                                                         2 every company has own methodology                                   865   1   2   6   28    5
                                                                   2   different brand                                                     1 both provide skin care products                                      1 both have similar properties                                                                                                              865   1   2   4    5   10

Because they manufacture different items.                          2 I don't see Thrive on the second one.                                 1 They have different lines of products from the same companies.       2 They have different names.                                          3 Because I don't know if they are.                                   865   1   2   4    9    4

Nothing looked the same and they were different names,             2 Different names                                                       3 Nothing said they were and they looked different.                    2 They were different sites and different names                       3 It doesnt look like they were                                       865   1   2   1   30    2

they just don't look associated                                    3   both are cbd based i think                                                                                                                 2   they don't look alike                                             3 i'm not sure                                                        865   1   2   6   14    5
The packages are differenct                                        2   Not the same brand                                                  3 Different functions of products                                      2   Different brands name                                             3 Should be the same type of products                                 865   2   2   5   10    6
Names, packaging                                                   3   Might be since CBD                                                                                                                         3   Different packaging, one is CBD                                                                                                         865   1   2   4   17    5
                                                                   2   One is thrive and other is WLDKAT                                   3 I can't find the relationship                                        3   In the images I can't see the brand                                                                                                     865   1   2   5   47    3
Because I don't know                                               2   They appear to have different company names                         3 Because I don't know                                                 3   It's hard to tell                                                                                                                       865   1   2   6   33    1

                                                                     The 2 products are from WLDKAT and Thrive Causemetics
                                                                   2 respectively, 2 different companies.                                  3 I don't know whether they are from the same parent company.          2 it is obvious 2 different companies                                 3 I don't know.                                                       865   1   2   5   51    4
Looked similar                                                     2 On the label                                                          2 Different companies                                                  2 Different companies                                                 2 Same answer as before                                               865   2   2   5   32    3
                                                                   2 one of them was from Thrive                                           3 I do not know                                                        3 I do not know                                                                                                                             865   1   2   4   13    3
                                                                                                                                             I think tey could be related some how with a similar maybe
I think they have different beliefs.                               2 Too different in product and in name,quialty as a product.            1 family connection.                                                   1 Both names are unique.                                                                                                                    865   1   2   3   37    2

I've never heard of these companies and there is no obvious or       One is Wldkat and one is Thrive, plus the websites look                                                                                        One is from Ursa Major and the other from Wldkat, so unless           I've never heard of either companies before and they look
stated connection.                                                 2 completely different.                                                 2 No reason to assume they share a company somehow.                    2 there is a parent company connecting them, they are different.      3 completely different.                                               865   1   2   5   32    1
Skincare products                                                  3 not the same name                                                                                                                            3 I have no idea if they are from the same company                                                                                          865   3   2   4   32    8
                                                                   3 two of them, totally different                                                                                                               3 absolutely different                                                                                                                      865   1   2   2    3    3

                                                                   1 how they are presented                                                                                                                       2 Where it comes from and how it is advertised                        3 did not pay attention to the manufacture.                           865   1   2   5    6   4
They are totally different                                         2 Different brand names                                                 2 Different brands                                                     2 Completely different brands                                         2 Different brands                                                    865   1   2   5   40   3
                                                                   1 the same brand and same theme                                                                                                                2 doe not have any thing common.                                      2 there is no thing to tell so.                                       865   1   2   6   46   8
                                                                                                                                                                                                                    These products seem to have the same ingredients in common
                                                                   2 These products have the same similar ingredients.                     3 I do not know what company they are affiliated.                      1 but a different concept to each product.                                                                                                  865   1   2   3    7    1

                                                                                                                                             Both companies are working in the skin care business or
                                                                   2 Looking again, the products have different tasks.                     1 affiliated to the same producers of skin care                        1 Both products are using the same technical language                                                                                       865   1   2   6   33    4

                                                                     they are both so different from each other in terms of their            they don't seem similar enough to be related to the same                 the presentation and descriptions are extremely different from      I honestly don't know if they would be affiliated with one
it is just an assumption, I honestly don't know                    2 presentation and description                                          2 company                                                              2   each other                                                        3 another but I would assume not                                      865   1   2   5    5    5
                                                                                                                                                                                                                      okay, this is getting boring. you're going to get the same
                                                                       again, significantly different packaging, but that really doesn't                                                                              answers so you only need to ask them once. they just look
                                                                   2   say everything. just a different vibe to both                       2 feel different when you look at them                                 3   differently                                                                                                                             865   1   2   5   35   10
I don't know                                                       3   I don't know                                                                                                                               2   They just look like they are from different companies.            2 I don't know, I just assume, I guess.                               865   1   2   2   38    2
                                                                   2   no similar names                                                    3 not familiar with either product                                     2   Nothing linking products                                          3 not familiar with either product                                    865   1   2   6   38    3
Because the sites don't indicate if the products are part of the       Because one looked like it came from WLDKAT and the other             Because there isn't anything telling me on the sites that they are       Because there isn't anything on the site that indicate that the
same company.                                                      2   one looked like it came from URSA Major.                            3 connected with each other in any way.                                3   products came from the same company.                                                                                                    865   1   2   2    4    2

I really don't know, am I missing something?                       2 All I know it's different brands and not the same website.            3 Just guessing                                                        2 One said Ursa Major and the other was a different brand             3 I don't don't these brands well so can't say for sure.              865   1   2   3   33    3
they don't have anything similar                                   3 I cant find a name that matches                                                                                                              2 They have no name                                                   2 I just didnt see anything similar                                   865   1   2   3    3    6
different brands                                                   2 different brands                                                      2 different brands                                                     2 different brand names                                               2 different brand names                                               865   1   2   2   13    2

                                                                   2 It say thrive the other wld                                           3 They do not say                                                      2 no clie                                                             2 no clie                                                             865   1   2   6   13    1
                                                                                                                                             I don't have any way of knowing if the brands are from the same        The first product is from Ursa Major. The second product says it
I have no way of knowing if the companies are affliated.           2 Both products say they are from different brands.                     3 manufacturer.                                                        3 is from Wild Kat.                                                                                                                         865   1   2   5   13    5

                                                                     AGain, packaging, display on web page,                                  I just don't see it at all. See them as separate, two diff             Same reasons as all the others, nothing give me the feeling that
I just don't think they are affiliated whatsoever                  2 coloring/design/branding, etc.                                        2 companies all together                                               2 these two brands are from the same co or even affiliated            2 packaging, branding web page, etc.                                  865   1   2   6   22    2

                                                                                                                                                                                                                                                                                          Not being familiar with WLDKAT, it very well could be affiliated,
It out researching both, I could not say for certain one way or                                                                                                                                                     Again, I have used Ursa Major products and have never seen            but without doing some basic research I cannot say one way or
another, although In my experience with Ursa Major I have                                                                                                                                                           WLDKATnon their site, so I would say WLDKAT is a completely           another with accuracy. My knowledge of Ursa Major makes me
never seen Thrive skin products.                                   2 Different names lead me to believe different companies.               3 Without doing research I would not know.                             2 separate company.                                                   3 believe they are not affiliated, but again, I am not certain.       865   3   2   6    5    3
not sure                                                           2 look differnt                                                         2 dont look same                                                       2 they look very different and dont seem the same                     2 dont look the same at all                                           865   2   2   3   47    6
labels are different                                               2 labels are different                                                  2 labels are different                                                 2 labels are different                                                2 labels are different                                                865   2   2   5    5    1
                                                                     I am not sure they are from the same company because they                                                                                      They do not look like they are from the same company because
I am not sure how they are from the same company.                  2 look different.                                                       2 I do not think they look similar and from the same company.          2 they seem different brands.                                         3 I am not sure if they are from the same place or not.               865   1   2   5   16    2
                                                                                                                                             Sometimes different brands operated by the same parent
                                                                                                                                             company can have different looks or subsidiary names to the
                                                                     The packaging is VERY different and the branding on them looks          companies. However, I don't think they are the same if I were to       Even though the wraps on the products are different, the type of
I'm not sure.                                                      2 different.                                                            3 guess.                                                               1 packaging used is similar.                                                                                                                865   1   2   5   49    8
                                                                   2 One is Thrive and the other Wldkat                                    2 Different product brands                                             3 I don't know these products                                                                                                               865   1   2   1   16    2




                                                                                                                                                                                                                                                                                                                          Thrive Final Raw Data.xlsx
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                                                                                                                                                                                                                                                                                             Hard to say if they are affiliated even though skin care products
                                                                         2 One is Thrive and the other is WLDKAT                                3 Had to say                                                          2 It does not give any hint of being from same brand.                3 with similar ingredients.                                            865   1   2   6   32    7

Because don't know if they are affiliated                                2 no proof on product                                                  2 no obvious label on product                                         2 no obvious label on the product                                    2 not shown on the product label                                       865   1   2   5   33    3

                                                                         2 different names                                                      1 the idea is the same                                                2 the names are different                                            1 even with different names it can be of the same companys             865   1   2   3   30    3
Different brand names.                                                   2 They are different brands.                                           2 Different brand names.                                              3 Hard to tell the brand names.                                                                                                             865   1   2   5   28    9
There is no way to tell from first glance that they are affiliated
with one another.                                                        2 One is made my WLDKAT, one is made by THRIVE                         1 Has CBD in their ingredients                                        2 One is WLDKAT, one is URSA MAJOR                                   2 No way to tell from the name brands.                                 865   1   2   6    3    4
                                                                           From the most visible print, it looks like two different companies     I didn't see anything that connected them but I can't see the all
Again, I can't see all sides of the container to read all of the info.   2 make these items.                                                    3 sides of the containers.                                            2 Different names and different packaging.                           3 I can't see all of the information.                                  865   1   2   5   27   6
because it is true                                                       3 im not sure if they are the same company                                                                                                   2 because it is true                                                 2 because it is true                                                   865   1   2   5   32   7
becasue i d                                                              2 thy are deffrent                                                     2 i am not shur                                                       2 not book and fall                                                  2 green bad samlle                                                     865   1   2   6   32   4

I do not think they are affiliated because the first bottle has the
name and a logo and the second bottle has only the product                 The first bottle has a name and a logo and the second bottle           The first bottle has a product name and a company logo and the                                                                             I am unable to see the back of the label therefore, I have no idea
name with no logo.                                                       2 only has a name.                                                     2 second bottle only has the product name.                            2 The bottles have different names.                                  3 what company makes either of these products.                         865   1   2   2   35    2
                                                                           Don't have the appearance of coming from the same brand/                                                                                     The website design looks totally different. Different packaging,
                                                                         2 company                                                              3 No idea                                                             2 etc. doesn't look cohesive                                         3 No idea                                                              865   1   2   5   14    3
i dont know                                                              2 they are different                                                   2 i dont know                                                         2 they are from differeant manufactures                              1 i do not know.                                                       865   2   2   2   23    2

                                                                                                                                                                                                                        They seem so different to the point I think they have no connect
                                                                         2 the design and packaging                                             2 it does not seem the same                                           2 to each together besides being skin care products                  2 the do not seem that way                                             865   1   2   5   43    3
                                                                         1 They seem so similiar                                                                                                                      2 I saw different names on them                                      3 I can tell It is not clear                                           865   1   2   2   42    3

same reason                                                              2 wildkat one, thrive two                                              2 same reason                                                         2 wild kat and ursa major are different companies                    2 I really don't think they are the same company                       865   1   2   5    1    4
                                                                         2 different brand names                                                3 I don't know the companies                                          2 different brand names                                              2 different brand names                                                865   1   2   6   46    9

They could be affiliated with each other but i don't have enough                                                                                                                                                        Because they look like they are from different companies.
information to say for sure.                                             2 They don't look like htey are from teh same company                  3 They could be but nothing at this tiem stating they are             2 Nothing indicates they are from the same company                   3 They could be but no eveidence now that they are                     865   1   2   6   35    4
not same ingredients                                                     2 one name was different then the others                               1 kinda had the same style of products                                2 not the same name of same brand                                    2 totally different liens                                              865   1   2   2   35    3
                                                                           ads are quite different in style...usually theres a theme in
cause im unsure                                                          2 advertising w in one company...no theme here.                        2 differnt company ad themantics                                      2 designing of ads                                                   3 unsure                                                               865   1   2   6   23    5
                                                                                                                                                                                                                        i was only able to notice the brand on the label. unsure if its
different naames                                                         2 based on the packaging                                               2 they dont seem to be                                                3 from the same manufacturer.                                                                                                               865   1   2   6   32    9
idk                                                                      2 different sites                                                      2 different sits                                                      2 sites look different                                               2 idk                                                                  865   1   2   2   21   10

Completely different layout, designs, colors, etc                        2 Layout, product type, etc seems completely different                 2 Layout design of label, website, etc is different                   3 Completely different design, layout, etc                                                                                                  865   1   2   6   13    5
They have unique name and purpose                                        3 They have different purpose and the ingredientd                                                                                            3 They both look differenent                                                                                                                865   1   2   5   43    3
                                                                         3 i need more info from brand names                                                                                                          2 i feel the webites look very different                             3 i have no reason to know if they are or not                          865   1   2   2   32    2

                                                                         1 it seems likje similar product                                                                                                             3 it loos like it is the same product but different bottles                                                                                 865   1   2   5   30    4

could be owned by same parent company (which is common)                  2 different packaging/colors/style                                     2 so different in style and purpose                                   2 different names                                                    2 such different style/look                                            865   1   2   6   38    4
I really don;t know                                                      1 They both say Thrive                                                                                                                       3 It doesn't say a company                                                                                                                  865   1   2   5   32    4

im not sure                                                              1 same type of bottles same wording serum                                                                                                    1 bottle types are the same                                                                                                                 865   2   2   4   35    2

look different                                                           2 different everything                                                 2 look different, different name , web page looks different           2 look different                                                     2 totally different look                                               865   1   2   4   47    4

I do not know if the two companies with different names are                                                                                       It was not clear or there was nothing that caught my eye                                                                                   The company names URSA and WLDKAT are different. Nothing
associated.                                                              2 One of them is from Thrive The other is from SKNDT                   3 indicating that they are connected                                  2 URSA and Wildcat are two different company names                   3 indicated but I don't know if there's anything else connecting it    865   2   2   5    5    5

different names                                                          2 different names and types of products                                2 different names                                                     2 different names; different type of products                        2 different names                                                      865   1   2   5    5    3
It's possible that the two products are made in different                  Completely different branding and messaging in the product
branches under the same umbrella company ‐ the products are                descriptions ‐ despite the fact that they usual some similar           I think the look and "feel" of both products are completely
similar enough                                                           2 ingredients                                                          2 different. They don't seem related to me                            2 Different design                                                   2 Different design                                                     865   1   2   6   38    2
different names                                                          2 different names                                                      2 different names                                                     2 they looked differently                                            2 they looked differently                                              865   1   2   6   35    7
Since the packaging looks different from each other and each
product serves different purposes. That’s how they’re not from
the same company                                                         2 The price difference makes it obvious in my opinion.                 3 The packaging looks similar.                                        3 The packaging looks similar.                                                                                                              865   1   2   3   47    3
The don't look to be related at all. Don't share the same name                                                                                                                                                          Not the same brand naming or branding. Don't look to be
or branding.                                                             2 The brand names are different and so if the packaging.               2 They don't look in any way related.                                 2 related at all.                                                    2 Again ‐ they do not have the same name or branding.                  865   1   2   5   13    5
                                                                                                                                                  It seems like everything is different so I don't think they are
                                                                         2 Everything about them is different‐ brand, bottle, picture look.     2 connected.                                                          2 The ingredients are all different.                                 2 The companies would have used similar ingredients.                   865   1   2   5   44    2

                                                                         1 they are similar and around the same price                                                                                                 1 they are both used to help clear your skin and be helpful                                                                                 865   1   2   3   30    6
they were advertised together                                            2 the look is completely different                                     3 Not sure                                                            2 look different                                                     2 different names                                                      865   1   2   5   32    3
It doesent have the same name                                            2 The packaging and ingredients                                        2 The ingredients are different                                       2 The packaging is so different i wouldnt think so                   2 Looks very different                                                 865   1   2   4    1    3

it looks like a completely different product but same brand              2 look very diofferent                                                 1 i would say i dont like it that way                                 2 i dont know why i would say that                                   1 i dont why to say that                                               865   2   2   5   13    6

brand names and bottle colors are different                              2 bottle colors are different and the brand names are different        3 because I am not sure if they are related                           2 different brand names, different color bottles                     3 because i am not sure if they are from the same company              865   1   2   5   21    9
                                                                                                                                                  I know nothing about the companies, and there's no reason to
                                                                         2 They have different brand names.                                     3 suspect they're connected.                                          1 They have very similar packaging.                                                                                                         865   1   2   3   48    5
I do not know if there is a parent company                               2 different brand names                                                3 I do not know if there is a parent company                          2 different brand names                                              3 I have no idea if there is a parent company                          865   1   2   5   38    4


                                                                                                                                                  Again they don't look like they are affiliated in any way just        They don't have the same company names I don't think they
It doesn't seem like they are and no indication they are                 2 They don't appear to me to be from the same company                  3 because they both have CBD in them                                  2 look like they are the same                                        3 There is no indication that they are                                 865   1   2   3   41    4




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                                                                      They looked like totally entirely different companies that would
They just look different to me.                                     2 own that.                                                          2 They looked too different.                                        2 They have different designs etc.                                    3 I am just not sure.                                                 865   1   2   5   30    5

They have different packaging and nothing to suggest they are                                                                              The packaging is totally different. If it was the same company,     They are different packaging and nothing is there to suggest they
the same.                                                           2 The packaging is totally different.                                2 you would see something that is a continuing theme.               2 come from the same company.                                         2 There is nothing to suggest they are.                               865   1   2   6    5    4
                                                                      The packaging, brand and ingredients are different from each
One brand has CBD and one brand does not                            2 other                                                              2 The two products seem completely different from each other        2 The name and look of the brands are different                       2 One brand seems to appeal to a different kind of client             865   1   2   2   40    1
                                                                    2 ingredients                                                        2 different types                                                   2 ingredients                                                         2 seem very different                                                 865   3   2   6   38    9

                                                                    3 Different website design. Different product design.                                                                                    3 I can't tell.                                                                                                                             865   1   2   5   40    4
No similarities at all                                              2 Completely different look                                          2 No similarities                                                   2 No similarities                                                     2 Not enough info and no similarities                                 865   1   2   5    9    4
                                                                                                                                                                                                                                                                                     It is unclear if the companies are connected in any way. There is
There is no indication they are connected in any way.               2 Two different brands.                                              2 No indication of any type of connection.                          2 One says Wld Kat, the other is a Forsa brand.                       3 no indication either way.                                           865   1   2   5   46    2




                                                                                                                                           The companies might have a partnership or be under the same         There's no reason to think these are from the same company as
                                                                    2 Very different design and name on the products                     3 "umbrella"                                                        2 they have different names.                                          3 I don't have enough information about the products                  865   1   2   6   12    1
                                                                    1 the wording is similar                                                                                                                 3 I can't tell if they are from the same co.                                                                                                865   1   2   5   32    4

Because i don't know                                                2 different aesthetics                                               3 Because I don't know!                                             2 different color scheme                                              1 i didn't think that until you asked tbh                             865   1   2   5   32    2
                                                                                                                                                                                                                                                                                     They don't appear related but they both seem to be appealing to
The sites do not seem to be the same.                               2 The websites and products have different looks                     2 They have inconsistent aesthetics                                 2 The products have different looks                                   3 a younger demographic                                               865   3   2   5   21   10
                                                                                                                                                                                                               they have different names on the bottles and the website are
different names and websites                                        2 the packaging has two different names on it                        2 packaging and the website have different names                    2 different                                                           2 since they have different names on the packaging                    865   1   2   5   32    4

There are no pointers as to whether they are or aren't                                                                                                                                                         They don't share too many similarities besides being both             I don't have any way of knowing. There are so many different
connected                                                           3 They are both cbd skincare products but its hard to tell                                                                               2 skincare/moisturizer                                                3 skincare brands and prodcuts out there                              865   1   2   3   32   10
                                                                    3 cant tell                                                                                                                              2 differnet packaing style                                            2 looks different                                                     865   2   2   5   47    4

                                                                                                                                                                                                               I've never heard of either of what I assume are the brands of
Ursa Major could be a subset of Thrive, the two products could                                                                                                                                                 these products (Ursa Major and WLDKAT,) but as the two                From product descriptions, I'd gather the companies share
have been from the same line, but I would be more confident if                                                                             The answer to this question is the same across this survey. The     packages do not share a "label word" or aesthetic genre, I would      similar goals and values, but again, the two bottles are marked
they were marked with an identical word.                            2 WLDKAT and Ursa Major are not the same words.                      3 bottles appear to be labeled with different brand names.          2 not think they are part of the same product line.                   3 with different words that I'd consider to be their brand names.     865   1   2   5    7    4
                                                                    2 different looking websites                                         3 no way to tell with those screenshots                             3 i can't tell                                                                                                                              865   1   2   6   35    3
not sure                                                            2 different names                                                    2 different names                                                   2 different names                                                     2 different names                                                     865   3   2   5   14    6
                                                                                                                                                                                                                                                                                     The two websites just appear very differently. Typically, if they
The two websites look similar and the products are marketed                                                                                                                                                    They are displayed and advertised very differently. One was also      are the same brand or company or even affiliated there is a
similarly                                                           2 The two products are very differently advertised                   2 they appear to be promoted differently                            2 animal cruelty free while the other one did not mention it.         2 similarity in the websites.                                         865   1   2   3   13    1

two different things                                                1 its just whati feel                                                                                                                    3 i cant tell the difference                                                                                                                865   1   2   2   38    1

They don't look the same at all                                     2 They have different brand names written on them                    3 They don't look alike at all                                      2 They have different brand names on them                             3 I don't know any reason why they would be linked                    865   1   2   3   49    3

They seem to be trying to attract different consumers.              2 The Thrive product incorporates CBD products.                      2 The serums have different main ingredients.                       3 Both products claim to moisturize/hydrate skin.                                                                                           865   1   2   6   32    4

                                                                                                                                                                                                               I'm leaning more towards unrelated but I'm not sure. One thing I
                                                                                                                                                                                                               do know is that these two webpages are set up differently.
                                                                                                                                                                                                               WILDKT (or however spelled) seemed more orientated towards
They both seem to be selling more nature‐based/natural                                                                                     Because they seem to promote different things. Thrive seems         a younger more modern audience where as the other one (Larso
products but because the product pages looked so different I                                                                               more aimed at an older audience. The Thrive product layout          or something like that) seemed more orientated towards an
couldn't be sure they were connected brands. The product                                                                                   feels more geared to natural products that could be gentle,         older audience. WILDKAT seemed to be linked more towards a
containers, imagery, and labeling also varied which is another        They just seem to have a different approach entirely. The            reliable, and help with anti‐aging, whereas WLDKAT feels more       social experience whereas the other brand (Let's just say Larso)
clue to me that they are not related.                               2 products also don't seem similar or connected.                     2 "hip" in their approach to try new things.                        3 felt more discreet and upper class.                                                                                                       865   1   2   3   23    1
                                                                    2 Both look alike with different features                            3 I don't see any similarities nor any kind of dissimilarities      1 most of the content to be the same                                                                                                        865   3   2   5   10    4
diff brands                                                         2 diff brnds                                                         2 diff brands                                                       2 different packaging                                                 2 different branding                                                  865   1   2   3   28    2

                                                                    3 No comment.                                                                                                                            3 Because I did not see the brand.                                                                                                          865   1   2   5   37    4
                                                                                                                                           They don't appear to have anything linking them to each other.      They seem to have the same overall goal for their customers but
                                                                      One product was for Thrive and the other product was for             They are for similar purposes but they do not seem to have a        they are not from the same company. At least the screenshots          I keep stating the same things. There is just no apparent
They don't appear to have any connection to each other.             2 Wildkat or something along those lines.                            2 connection brand wise.                                            2 don't imply that.                                                   2 connection.                                                         865   1   2   5   14    2

just different name                                                 1 theyre both selling face products                                                                                                      1 Theyre selling the same items just different type of product.                                                                             865   1   2   2   35    2

                                                                                                                                                                                                               They just look like they are made out of the same stuff they
                                                                    3 They do not look like they are from the same ones                                                                                      1 were both for your face.                                                                                                                  865   1   2   3   38    2
different                                                           2 looks different                                                    2 looks different                                                   2 looks difeerent                                                     1 all of them have cbd                                                865   2   2   5   32    7

                                                                    2 again one is thrive the other wldkat                               2 not sure why you keep asking, they are different brands           2 One was wild kat the other was not                                  2 I seen what looked o be 3 different brands at least.                865   1   2   1   25    2
                                                                      I saw that they had different names, but was focused on the
I just said, I don't think they have a similar enough price, name     product itself and it's ingredient and price rather than the                                                                             I paid more attention to the names this time, they appeared to        I didn't see anything that would say they had the same source
or website.                                                         3 company that made it.                                                                                                                  2 be on different websites with different manufacturers.              3 company, but that doesn't necessarily mean they don't.              865   3   2   3   22    5

There is no apparent association based on the names.                2 One is WLDKAT, the other is Thrive.                                3 There is no indication of their association with each other.      2 Two different names unlike Thrive.                                  1 This is getting repetitious.                                        865   1   1   4   43    3
Different items                                                     2 different logos and looks on the packaging                         3 No similarities on packaging                                      2 Different company names                                             2 Different names                                                     865   1   2   5   49    5
                                                                      The company brand name is different. The only part I see similar
I just don't know enough to be sure.                                2 is that they both use CBD.                                         3 I don't know enough with the information given.                   3 I don't have enough information to know.                                                                                                  865   1   2   5   13    2


                                                                    3 Two totally different markets,                                                                                                         3 The WildKat product is too young compared to the other                                                                                    865   1   2   5   20    1
Because this seems clear from the announcement                      2 Because this seems clear from the announcement                     2 Because this seems clear from the announcement                    2 Because this seems clear from the announcement                      2 Because this seems clear from the announcement                      865   1   2   4   32    4




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doesn't say                                                        2 LV‐thrive wldkat                                                      3 not enough info                                                    2 wldkat ursa major                                                     3 doesn't say anywhere                                                  865   1   2   6   22    9
it doesn't have that info                                          2 different brand names                                                 3 It doesn't give that info                                          2 different brand names                                                 3 It doesn't give that info                                             865   1   2   3   25    4
                                                                     Both seems high quality products and are meant for face use so
                                                                     that's the reason I think they are manufactured by the same
I am not sure                                                      1 company or manufacturer.                                                                                                                   3   I am not sure about it                                                                                                                      865   1   2   6   46    5
                                                                   3 They don't look similiar                                                                                                                   3   They just don't seem like they could be                                                                                                     865   1   2   2   49    3
same as before                                                     2 different brand names                                                 2 different logos                                                    2   different brand names                                               2 different logos                                                       865   1   2   5   21    9
I couldn't tell based on packaging                                 2 Doesn't appear to be the same company                                 3 How can I tell with the information provided                       2   Packaging not similar and different names                           3 I wouldn't know based on what I see                                   865   1   2   5   32    3
they are very different from each other                            2 two different brand names                                             1 they have similar ingredients                                      1   they have similar ingredients                                                                                                               865   1   2   2   21    2

I did not recall the names.                                        2 They both have different names on the product.                        3 I really have no idea if they are associated.                      2 They have different names on the package or bottle.                   3 I am not sure at all if they are affiliated.                          865   1   2   5   35    2
i dont know who the parent companies are                           2 different name brands                                                 3 dont know parents companies                                        2 different names                                                       3 d/k                                                                   865   1   2   3   38    6

                                                                   1 both deal with CBD                                                                                                                         2 they have a totally different POV                                     1 similar outcomes; different ingredients                               865   1   2   3    5    3
Not sure how I would know                                          2 They have very different color and styled packaging                   3 I would have no idea to base it on                                 2 They have different brand names                                       3 I have no information to assume that                                  865   1   2   6    5    9
Never heard of either one.                                         2 Wildkat vs Thrive. Different.                                         3 Never heard of either one.                                         2 Wildkat and Ursa Major are different to me.                           3 I have never heard of either one of them.                             865   1   2   5    6    8

                                                                   3 same type of product but different packaging                                                                                               2 one is a serum and the other is a balm which both look different      3 they could be on some of the products                                 865   1   2   3    5    3
                                                                     They don't appear to be affiliated but could have the same                                                                                   They do not appear to be affiliated but they could always have
                                                                     parent company with branding geared towards different                                                                                        the same parent company with different branding geared to
                                                                   3 demographics. I'm not really sure.                                                                                                         3 appeal to different demographics.                                                                                                             865   1   2   6    5    8
                                                                     The packaging styles of the two products are very different so                                                                               The products share the same value and they could be from the
I have no idea if those two companies are affiliated or not.       2 they are from two different companies.                                3 I am not sure if those two companies are affiliated or not.        1 same companies.                                                                                                                               865   1   2   5   32    6

no apparent affiliation listed on package                          2 The packaging looks so different                                      3 I have never heard of these products before.                       2 nothing on packaging looks similar                                    2 no apparent affiliation listed on package                             865   1   2   6   40    5
                                                                   1 They would be from the same company                                                                                                        1 They would be from the same company                                                                                                           865   1   2   6   25    9
                                                                     I believe the two products are very different from different
                                                                   2 sources...                                                            3 I am just not sure that is all.                                    2 It is what it is...no more, no less...just what I feel and observe.   2 It is what it is...no more, no less...just what I saw and observed.   865   3   1   5   41    3
There is no indication that they are made by the same                                                                                        There is no indication that they are made by the same                There is no indication that they are made by the same                   There is no indication that they are made by the same
company!!                                                          2 There is no indication that they are made by the same company!        2 company!!                                                          2 company!! x                                                           2 company!!                                                             865   1   1   6   38    3
Not the same company.                                              2 Not the same company.                                                 2 I do not see the same company.                                     2 They are totally different brands.                                    2 I do not see the same company.                                        865   1   1   2    5    6
                                                                                                                                                                                                                                                                                          THere's no way to tell. If I had to guess, I'd say they're not
                                                                   2 Different brands and different websites                               2 They are different products and different websites.                2 Different brand names, different websites                             3 connected                                                             865   1   2   6    5    3
The way the product is displayed                                   2 Completely different branding                                         2 They don't look alike                                              2 Different branding                                                    2 Because they look different                                           865   1   2   4   35    1


                                                                     really hard to know parent company/manufacturer from these                                                                                   I've never heard of either of these companies/products... so
                                                                     tiny blurbs. often these little companies are just offshoots of big                                                                          many big companies manufacturer these smaller brands so it's
                                                                   3 manufactueres                                                                                                                              3 totally possible these are actually produced by the same big co.                                                                              865   3   2   6   43   10

                                                                   3 i am not sure if they are made by the same company                                                                                         3 i am not sure if they are made by the same company                                                                                            865   1   2   1   43    1
the web sites for the 2 examples were different.                   2 web sites did not look the same.                                      2 the web site for the 2 examples were different.                    2 different brand names, different web sites.                           2 different brand names, different web sites.                           865   3   2   4    9    6
                                                                   2 Different web designs                                                 3 Similar products/names diff web designs                            2 Different site names                                                  1 Similar products                                                      865   1   2   5    8   10


                                                                   2 different names on bottles                                            3 didn't want to guess and I wasn't totally sure                     2 the name on the bottle is different                                   3 I am not really sure about it                                         865   1   2   5   35    4
Not sure                                                           2 Different companies                                                   2 Different companies                                                2 Different names on website                                            3 Not sure                                                              865   1   2   3   36    5
They don't have the same 'look' to them. The brands look totally
different                                                          2   the one is a CBD, an the other is not                               2 CBD tend to have their own company                                 2   The websites again are very different                               2   The products look too different                                     865   1   2   3   38    6
different logo                                                     2   different company name                                              2 different logos                                                    2   different company name                                              2   different logo                                                      865   3   2   3   18    1
diferents                                                          2   both is diferrentes brands                                          2 diferents brands                                                   2   diferents brands                                                    2   diferents                                                           865   2   2   5   43    3
                                                                   3   don't know                                                                                                                               2   different                                                           2   different                                                           865   3   2   5   16    5

                                                                   2 They have different names and a different look                        3 I don't know how to tell                                           2 They have different names and a different style                       3 It's hard to tell                                                     865   3   2   5   46   10
                                                                   3 could be, both have cbd but unsure                                                                                                         3 don't see a name in common                                                                                                                    865   1   2   6   28    4
Unknown                                                            3 unclear                                                                                                                                    2 Couldnt make out the bottle name                                      2 Couldnt make out the bottle name                                      865   1   2   3   32    3
Not sure                                                           1 It looks to be of the same quality                                                                                                         3 Looks to be of different companies                                                                                                            865   1   2   6    8    4
                                                                     They have the same goals; however, the manufacturers are not                                                                                 The image does not provide the company or manufacturer
Because I didn't read that much into it.                           3 listed on the image being shown.                                                                                                           3 details.                                                                                                                                      865   1   2   3   46    1
do not know                                                        2 differents companies                                                  2 I have not read anything that have connection                      3 Do not know                                                                                                                                   865   1   2   5    9    4

                                                                                                                                             I have never heard of either company, so I would have no idea if
Different names                                                    2 Different names                                                       3 they might possibly be affiliated to one another.                  2 Names are different                                                   2 Different names                                                       865   1   2   3   46    6

they could be separate product lines from the same parent                                                                                                                                                         they don't seem to be similar, but could be different product
company, but they don't look to be associated with each other      1 both use CBD, and the bottle top dispensers look the same                                                                                  3 lines from the same company                                                                                                                   865   1   2   5    7    4
Different logos                                                    2 Different names, logos                                                2 Different logos                                                    2 Different name and logo                                               2 Different logo                                                        865   3   2   5   22    5

the auto ship company is seperate                                  3 they could come from the same company. they are similar                                                                                    2 one is a USRA product                                                 2 there are so many makers that I think they each make their own        865   1   2   2   23    3

                                                                   3 Could have different lines from the same company                                                                                           2 ONe is ursa major and one is wldkat                                   3 Could be different branding of the same company                       865   1   2   6   47    5




                                                                                                                                                                                                                                                                                                                           Thrive Final Raw Data.xlsx
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Thrive Natural Care - Likelihood of Confusion Study


Q1 - What is your age?


                                      Total
                                    ----------


Total                                  600
                                      100%
Younger than 18                         -


18-20                                  12
                                       2%
21-29                                  91
                                      15%
30-39                                  160
                                      27%
40-49                                  152
                                      25%
50-59                                  110
                                      18%
60-65                                  75
                                      13%
66 or older                             -




Thrive Natural Care - Likelihood of Confusion Study


QA - Are you fluent in English?


                                      Total
                                    ----------


Total                                  600
                                      100%
Yes                                    600
                                      100%
No                                      -




Thrive Natural Care - Likelihood of Confusion Study


Q2 - In the last 6 months have you purchased skin care products for your own use?


                                      Total
                                    ----------


Total                                  600
                                      100%
Yes                                    600
                                      100%
No                                      -




Thrive Natural Care - Likelihood of Confusion Study


Q3 - In the past 6 months, where have you purchased skin care products?


                                      Total
                                    ----------


Total                                  600
                                      100%
Internet                               600
                                      100%
Beauty supply store                    208
                                      35%
Retail outlet                          321
                                      54%
Other                                  25
                                       4%




Thrive Natural Care - Likelihood of Confusion Study


Q4 - In the next 6 months do you plan to purchase skin care products for your own use?


                                      Total
                                    ----------


Total                                  600
                                      100%
Yes                                    600
                                      100%
No                                      -




Thrive Natural Care - Likelihood of Confusion Study




                                                                                         Thrive Tabs.xlsx
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Q5 - In the next 6 months, where do you plan to purchase skin care products?


                                       Total
                                     ----------


Total                                   600
                                      100%
Internet                                600
                                      100%
Beauty supply store                     244
                                       41%
Retail outlet                           340
                                       57%
Other                                   28
                                        5%




Thrive Natural Care - Likelihood of Confusion Study


Q6 - In the last 6 months have you purchased dental care products for your own use?


                                       Total
                                     ----------


Total                                   600
                                      100%
Yes                                     558
                                       93%
No                                      42
                                        7%




Thrive Natural Care - Likelihood of Confusion Study


Q7 - In the last 6 months, where did you purchased dental care products?


                                       Total
                                     ----------


Total                                   558
                                      100%
Internet                                323
                                       58%
Beauty supply store                     83
                                       15%
Retail outlet                           386
                                       69%
Other                                   56
                                       10%




Thrive Natural Care - Likelihood of Confusion Study


Q8 - In the next 6 months do you plan to purchase dental care products for your own use?


                                       Total
                                     ----------


Total                                   600
                                      100%
Yes                                     574
                                       96%
No                                      26
                                        4%




Thrive Natural Care - Likelihood of Confusion Study


Q9 - In the next 6 months, where do you plan to purchase dental care products?


                                       Total
                                     ----------


Total                                   574
                                      100%
Internet                                370
                                       64%
Beauty supply store                     96
                                       17%
Retail outlet                           413
                                       72%
Other                                   53
                                        9%




Thrive Natural Care - Likelihood of Confusion Study


Q10 - In the past month have you used the Internet to search for products or services?


                                       Total
                                     ----------


Total                                   600




                                                                                           Thrive Tabs.xlsx
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                                          100%
Yes                                         600
                                          100%
No                                           -




Thrive Natural Care - Likelihood of Confusion Study


Q11 - Have you or anyone in your household ever worked for... An advertising agency


                                           Total
                                         ----------


Total                                       600
                                          100%
Yes                                          -


No                                          600
                                          100%




Thrive Natural Care - Likelihood of Confusion Study


Q11 - Have you or anyone in your household ever worked for... A consumer research firm


                                           Total
                                         ----------


Total                                       600
                                          100%
Yes                                          -


No                                          600
                                          100%




Thrive Natural Care - Likelihood of Confusion Study


Q11 - Have you or anyone in your household ever worked for... A personal care product manufacturer, retailer or distributor


                                           Total
                                         ----------


Total                                       600
                                          100%
Yes                                          -


No                                          600
                                          100%




Thrive Natural Care - Likelihood of Confusion Study


Q11 - Have you or anyone in your household ever worked for... A dental care product manufacturer or retailer


                                           Total
                                         ----------


Total                                       600
                                          100%
Yes                                          2
                                            0%
No                                          598
                                          100%




Thrive Natural Care - Likelihood of Confusion Study


Q12 - Are you taking this survey on...


                                           Total
                                         ----------


Total                                       600
                                          100%
A laptop or desktop computer                600
                                          100%
A tablet                                     -


A phone                                      -




Thrive Natural Care - Likelihood of Confusion Study


Q13 - Will you agree to answer the questions without help or assistance, answer truthfully and do not guess?


                                           Total
                                         ----------


Total                                       600
                                          100%




                                                                                                                              Thrive Tabs.xlsx
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Yes                                        600
                                         100%
No                                          -




Thrive Natural Care - Likelihood of Confusion Study


Q14 - Do you need contacts or glasses for reading?


                                          Total
                                        ----------


Total                                      600
                                         100%
Yes                                        307
                                          51%
No                                         293
                                          49%




Thrive Natural Care - Likelihood of Confusion Study


Q15 - If so, will you be wearing them when completing the survey?


                                          Total
                                        ----------


Total                                      307
                                         100%
Yes                                        307
                                         100%
No                                          -




Thrive Natural Care - Likelihood of Confusion Study


Q16 - Do you agree not to guess or get information from anyone else, from the internet or any other source?


                                          Total
                                        ----------


Total                                      600
                                         100%
Yes                                        600
                                         100%
No                                          -




Thrive Natural Care - Likelihood of Confusion Study


Q17 - What type of products were shown in the images you just reviewed?


                                          Total
                                        ----------


Total                                      600
                                         100%
Detergent                                   -


Shampoo                                     -


Skin care products                         600
                                         100%
Pet food                                    -


Don’t know / No opinion                     -




Thrive Natural Care - Likelihood of Confusion Study


Q18a - Do you believe that these two products come from the same company/manufacturer/source? Thrive v. THRIVE SKIN


                                          Total
                                        ----------


Total                                      600
                                         100%
Yes, same company/manufacturer/source      397
                                          66%
No, different                              100
companies/manufacturer/source             17%
Not sure / Don't know                      103
                                          17%




Thrive Natural Care - Likelihood of Confusion Study


Q20a - If you said different companies, do you believe that these companies are affiliated, connected, or associated with each other? Thrive v. THRIVE SKIN




                                                                                                                                                              Thrive Tabs.xlsx
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                                                Total
                                              ----------


Total                                            100
                                               100%
Yes, companies are affiliated, connected or      14
associated                                      14%
No, companies are not affiliated, connected      56
or associated                                   56%
Not sure / Don't know                            30
                                                30%




Thrive Natural Care - Likelihood of Confusion Study


Q18b - Do you believe that these two products come from the same company/manufacturer/source? Thrive v. Ursa Major


                                                Total
                                              ----------


Total                                            600
                                               100%
Yes, same company/manufacturer/source            40
                                                 7%
No, different                                    418
companies/manufacturer/source                   70%
Not sure / Don't know                            142
                                                24%




Thrive Natural Care - Likelihood of Confusion Study


Q20b - If you said different companies, do you believe that these companies are affiliated, connected, or associated with each other? Thrive v. Ursa Major


                                                Total
                                              ----------


Total                                            418
                                               100%
Yes, companies are affiliated, connected or      22
associated                                       5%
No, companies are not affiliated, connected      231
or associated                                   55%
Not sure / Don't know                            165
                                                39%




Thrive Natural Care - Likelihood of Confusion Study


Q18c - Do you believe that these two products come from the same company/manufacturer/source? Thrive v. WLDKAT


                                                Total
                                              ----------


Total                                            600
                                               100%
Yes, same company/manufacturer/source            61
                                                10%
No, different                                    407
companies/manufacturer/source                   68%
Not sure / Don't know                            132
                                                22%




Thrive Natural Care - Likelihood of Confusion Study


Q20c - If you said different companies, do you believe that these companies are affiliated, connected, or associated with each other? Thrive v. WLDKAT


                                                Total
                                              ----------


Total                                            407
                                               100%
Yes, companies are affiliated, connected or      28
associated                                       7%
No, companies are not affiliated, connected      215
or associated                                   53%
Not sure / Don't know                            164
                                                40%




Thrive Natural Care - Likelihood of Confusion Study


Q18d - Do you believe that these two products come from the same company/manufacturer/source? THRIVE SKIN v. Ursa Major


                                                Total
                                              ----------


Total                                            600
                                               100%
Yes, same company/manufacturer/source            68
                                                11%
No, different                                    383
companies/manufacturer/source                   64%
Not sure / Don't know                            149




                                                                                                                                                             Thrive Tabs.xlsx
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                                                25%




Thrive Natural Care - Likelihood of Confusion Study


Q20d - If you said different companies, do you believe that these companies are affiliated, connected, or associated with each other? THRIVE SKIN v. Ursa Major


                                                Total
                                              ----------


Total                                            383
                                               100%
Yes, companies are affiliated, connected or      26
associated                                       7%
No, companies are not affiliated, connected      206
or associated                                   54%
Not sure / Don't know                            151
                                                39%




Thrive Natural Care - Likelihood of Confusion Study


Q18e - Do you believe that these two products come from the same company/manufacturer/source? THRIVE SKIN v. WLDKAT


                                                Total
                                              ----------


Total                                            600
                                               100%
Yes, same company/manufacturer/source            60
                                                10%
No, different                                    420
companies/manufacturer/source                   70%
Not sure / Don't know                            120
                                                20%




Thrive Natural Care - Likelihood of Confusion Study


Q20e - If you said different companies, do you believe that these companies are affiliated, connected, or associated with each other? THRIVE SKIN v. WLDKAT


                                                Total
                                              ----------


Total                                            420
                                               100%
Yes, companies are affiliated, connected or      27
associated                                       6%
No, companies are not affiliated, connected      225
or associated                                   54%
Not sure / Don't know                            168
                                                40%




Thrive Natural Care - Likelihood of Confusion Study


Q18f - Do you believe that these two products come from the same company/manufacturer/source? Ursa Major v. WLDKAT


                                                Total
                                              ----------


Total                                            600
                                               100%
Yes, same company/manufacturer/source            38
                                                 6%
No, different                                    420
companies/manufacturer/source                   70%
Not sure / Don't know                            142
                                                24%




Thrive Natural Care - Likelihood of Confusion Study


Q20f - If you said different companies, do you believe that these companies are affiliated, connected, or associated with each other? Ursa Major v. WLDKAT


                                                Total
                                              ----------


Total                                            420
                                               100%
Yes, companies are affiliated, connected or      26
associated                                       6%
No, companies are not affiliated, connected      232
or associated                                   55%
Not sure / Don't know                            162
                                                39%




Thrive Natural Care - Likelihood of Confusion Study


Q21g - Please enter the number 865 in the box below.




                                                                                                                                                                  Thrive Tabs.xlsx
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                                                      Total
                                                    ----------


Total                                                  600
                                                     100%
865                                                    600
                                                     100%




Thrive Natural Care - Likelihood of Confusion Study


Q21h - Based on these emails, do you believe that the two products you ordered are from the same company or companies that are affiliated, connected or associated or from different
companies that are not affiliated, connected, or associated?

                                                      Total
                                                    ----------


Total                                                  600
                                                     100%
Yes, the products I ordered are from the               505
same company or companies that are                    84%
 ffilithe
No,    t dproducts tI ordered
                      d       arei from
                                    t d different      49
companies that are not affiliated, connected,          8%
Not surei /tDon't
             d    know                                 46
                                                       8%




Thrive Natural Care - Likelihood of Confusion Study


Q22 - Are you...


                                                      Total
                                                    ----------


Total                                                  600
                                                     100%
Male                                                   129
                                                      22%
Female                                                 471
                                                      79%
Rather not say                                          -




Thrive Natural Care - Likelihood of Confusion Study


Q23 - What is the highest level of school you have completed or the highest degree you have received?


                                                      Total
                                                    ----------


Total                                                  600
                                                     100%
Less than high school degree                           13
                                                       2%
High school degree or equivalent (e.g., GED)           56
                                                       9%
Some college but no degree                             101
                                                      17%
Associate degree                                       65
                                                      11%
Bachelor degree                                        231
                                                      39%
Graduate degree                                        134
                                                      22%




Thrive Natural Care - Likelihood of Confusion Study


Q24 - What state do you live in?


                                                      Total
                                                    ----------


Total                                                  600
                                                     100%
Alabama                                                 9
                                                       2%
Alaska                                                  1
                                                       0%
Arizona                                                16
                                                       3%
Arkansas                                                3
                                                       1%
California                                             43
                                                       7%
Colorado                                                9
                                                       2%
Connecticut                                            12
                                                       2%
Delaware                                                3
                                                       1%
Florida                                                34
                                                       6%
Georgia                                                21
                                                       4%
Idaho                                                   3
                                                       1%




                                                                                                                                                                   Thrive Tabs.xlsx
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Illinois                              26
                                      4%
Indiana                                8
                                      1%
Iowa                                   3
                                      1%
Kansas                                 4
                                      1%
Kentucky                              15
                                      3%
Louisiana                              5
                                      1%
Maine                                  4
                                      1%
Maryland                              10
                                      2%
Massachusetts                         15
                                      3%
Michigan                              14
                                      2%
Minnesota                             10
                                      2%
Mississippi                            2
                                      0%
Missouri                              15
                                      3%
Montana                                2
                                      0%
Nebraska                               4
                                      1%
Nevada                                 7
                                      1%
New Hampshire                          4
                                      1%
New Jersey                            17
                                      3%
New Mexico                             4
                                      1%
New York                              50
                                      8%
North Carolina                        26
                                      4%
Ohio                                  28
                                      5%
Oklahoma                               3
                                      1%
Oregon                                10
                                      2%
Pennsylvania                          32
                                      5%
South Carolina                         8
                                      1%
South Dakota                           3
                                      1%
Tennessee                             11
                                      2%
Texas                                 41
                                      7%
Utah                                   5
                                      1%
Vermont                                1
                                      0%
Virginia                              24
                                      4%
Washington                            14
                                      2%
West Virginia                          2
                                      0%
Wisconsin                             15
                                      3%
Wyoming                                2
                                      0%
District of Columbia                   2
                                      0%




Thrive Natural Care - Likelihood of Confusion Study


Q25 - What is your approximate average household income?


                                     Total
                                   ----------


Total                                 600
                                    100%
$0-$24,999                            50
                                      8%
$25,000-$49,999                       111
                                     19%
$50,000- $74,999                      118
                                     20%
$75,000- $99,999                      108
                                     18%
$100,000- $124,999                    64
                                     11%
$125,000- $149,999                    43
                                      7%
$150,000- $174,999                    25
                                      4%
$175,000- $199,999                    21
                                      4%
$200,000 and up                       27




                                                                      Thrive Tabs.xlsx
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                 5%
Rather not say   33
                 6%




                                                                     Thrive Tabs.xlsx
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Thrive Natural Care - Likelihood of Confusion Study


Q18a - Do you believe that these two products come from the same company/manufacturer/source?


                                           Thrive v.                                        THRIVE        THRIVE
                                            THRIVE         Thrive v.     Thrive v.          SKIN v.       SKIN v.         Ursa Major
                                             SKIN         Ursa Major     WLDKAT           Ursa Major     WLDKAT           v. WLDKAT
                                           ----------      ----------    ----------        ----------    ----------        ----------
                                              (A)            (B)            (C)              (D)            (E)                (F)


Total                                               600            600            600              600            600             600
                                                100%           100%           100%             100%           100%             100%
Yes, same                                           397             40             61               68             60              38
company/manufacturer/source                         66%            7%             10%            11%              10%             6%
                                               BCDEF                               BF              BF              bF
No, different                                       100            418            407              383            420             420
companies/manufacturer/source                       17%            70%            68%            64%              70%            70%
                                                                   AD                 A             A             AD              AD
Not sure / Don't know                               103            142            132              149            120             142
                                                    17%            24%            22%            25%              20%            24%
                                                                    Ae                a            Ae                               A
Comparison Groups: ABCDEF
T-Test for Means, Z-Test for Percentages
Uppercase letters indicate significance at the 99% level.
Lowercase letters indicate significance at the 95% level.



Thrive Natural Care - Likelihood of Confusion Study


Q20a - If you said different companies, do you believe that these companies are affiliated, connected,
or associated with each other?

                                           Thrive v.                                        THRIVE        THRIVE
                                            THRIVE         Thrive v.     Thrive v.          SKIN v.       SKIN v.         Ursa Major
                                             SKIN         Ursa Major     WLDKAT           Ursa Major     WLDKAT           v. WLDKAT
                                           ----------      ----------    ----------        ----------    ----------        ----------
                                              (A)            (B)            (C)              (D)            (E)                (F)


Total                                               100            418            407              383            420             420
                                                100%           100%           100%             100%           100%             100%
Yes, companies are affiliated,                       14             22             28              26              27              26
connected or associated                             14%            5%             7%               7%             6%              6%
                                                bcdef
No, companies are not affiliated,                    56            231            215              206            225             232
connected or associated                             56%            55%            53%            54%              54%            55%
Not sure / Don't know                                30            165            164              151            168             162
                                                    30%            39%            40%            39%              40%            39%
                                                                     a                a             a                 a
Comparison Groups: ABCDEF
T-Test for Means, Z-Test for Percentages
Uppercase letters indicate significance at the 99% level.
Lowercase letters indicate significance at the 95% level.




                                                                                                                                        Thrive Compare Tabs
